Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 1 of 169




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

     HAVANA DOCKS CORPORATION,
          Plaintiff,
                                                          Case No. 19-cv-21724
     v.                                                   BLOOM/MCALILEY
     CARNIVAL CORPORATION,
          Defendant.
                                                  /

    HAVANA DOCKS CORPORATION,
          Plaintiff,
                                                          Case No. 19-cv-23588
     v.                                                   BLOOM/LOUIS
    MSC CRUISES SA,
    MSC CRUISES SA CO, and
    MSC CRUISES (USA) INC.,
          Defendants.
                                                  /

    HAVANA DOCKS CORPORATION,
          Plaintiff,
                                                          Case No. 19-cv-23590
     v.                                                   BLOOM/LOUIS
    ROYAL          CARIBBEAN
    CRUISES, LTD.,

          Defendant.
                                                  /

     HAVANA DOCKS CORPORATION,
          Plaintiff,                                      Case No.: 19-cv-23591
                                                          BLOOM/LOUIS
     v.
    NORWEGIAN CRUISE LINE
    HOLDINGS, LTD.,

          Defendant.

   ___________________________________________/
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 2 of 169




                                                          TABLE OF CONTENTS

   I.        STATUTORY AND REGULATORY BACKGROUND .................................................... 6
        A.         Relevant Statutes .............................................................................................................. 7
             1. International Claims Settlement Act ................................................................................ 7
             2. Cuban Democracy Act ..................................................................................................... 8
             3. LIBERTAD Act ................................................................................................................ 8
             4. Trade Sanctions Reform and Export Enhancement Act ................................................. 10
        B.         Relevant Regulations...................................................................................................... 10
             1. Cuban Asset Control Regulations .................................................................................. 10
             2. OFAC’s CACR Amendments ..........................................................................................11
   II. PROCEDURAL BACKGROUND .................................................................................... 16
        A.         Havana Docks’ Allegations ............................................................................................ 16
        B.         The Omnibus Summary Judgment Motions................................................................... 19
             1. Defendants’ Omnibus Motion ........................................................................................ 19
             2. Havana Docks’ Omnibus Motion ................................................................................... 19
        C.         The Individual Summary Judgment Motions ................................................................. 21
             1. Havana Docks ................................................................................................................ 21
             2. Carnival .......................................................................................................................... 22
             3. MSC ............................................................................................................................... 23
             4. Royal Caribbean ............................................................................................................. 23
             5. Norwegian ...................................................................................................................... 24
   III. MATERIAL FACTS ........................................................................................................... 24
        A.         Havana Docks ................................................................................................................ 25
        B.         Confiscation of the Terminal by the Cuban Government .............................................. 29
        C.         The Concession and the Certified Claim........................................................................ 30
        D.         Defendants and Related Entities .................................................................................... 33
             1. Carnival .......................................................................................................................... 33
             2. MSC ............................................................................................................................... 34
             3. Royal Caribbean ............................................................................................................. 35
             4. Norwegian ...................................................................................................................... 35
        E.         Specific and/or General Licenses ................................................................................... 36
             1. Carnival .......................................................................................................................... 36
             2. MSC ............................................................................................................................... 39
             3. Royal Caribbean ............................................................................................................. 40
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 3 of 169




             4. Norwegian ...................................................................................................................... 42
        F. Defendants’ Use of the Terminal ....................................................................................... 43
             1. Carnival .......................................................................................................................... 43
             2. MSC ............................................................................................................................... 44
             3. Royal Caribbean ............................................................................................................. 45
             4. Norwegian ...................................................................................................................... 45
        G.         Defendants’ Contracts and Payments to Cuban Entities ................................................ 46
             1. Carnival .......................................................................................................................... 46
             2. MSC ............................................................................................................................... 47
             3. Royal Caribbean ............................................................................................................. 48
             4. Norwegian ...................................................................................................................... 49
        H.         Defendants’ Shore Excursions ....................................................................................... 50
             1. Carnival .......................................................................................................................... 50
             2. MSC ............................................................................................................................... 55
             3. Royal Caribbean ............................................................................................................. 59
             4. Norwegian ...................................................................................................................... 63
        I.     Havana Docks’ Notice ....................................................................................................... 69
        J.     Defendants’ Knowledge of the LIBERTAD Act and the Certified Claim ........................ 69
        K.         Defendants’ Revenues and Profits ................................................................................. 69
             1. Carnival .......................................................................................................................... 69
             2. MSC ............................................................................................................................... 70
             3. Royal Caribbean ............................................................................................................. 71
             4. Norwegian ...................................................................................................................... 71
        L.         Other Cruises to Cuba .................................................................................................... 72
        M.         Defendants’ Experts ....................................................................................................... 72
             1. Ambar Diaz .................................................................................................................... 72
             2. Julian Ackert ................................................................................................................... 73
   IV. LEGAL STANDARD .......................................................................................................... 75
        A.         Summary Judgment Standard ........................................................................................ 75
        B.         Daubert Standard ........................................................................................................... 78
        C.         Review of Report and Recommendation Standard ........................................................ 79
   V.        DISCUSSION ...................................................................................................................... 80
        A.         “Person” ......................................................................................................................... 80
        B.         “Traffics” ........................................................................................................................ 80


                                                                              2
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 4 of 169




           1. Scope of Havana Docks’ Claim ..................................................................................... 82
                    Carnival ...................................................................................................................... 82
                    Royal Caribbean ......................................................................................................... 83
                    Norwegian .................................................................................................................. 83
                    MSC ............................................................................................................................ 85
           2. Trafficking Activity ........................................................................................................ 86
           3. “Knowingly and Intentionally” ...................................................................................... 90
      C.        Property Confiscated by Cuban Government................................................................. 98
      D.        United States National .................................................................................................... 99
      E.        Ownership of Claim to Confiscated Property .............................................................. 105
      F. Trafficking After November 1, 1996 ............................................................................... 112
      G.        Defendants’ Affirmative Defenses ............................................................................... 113
           1. Lawful Travel Exception ...............................................................................................113
                    “Lawful Travel” Prong ............................................................................................. 113
                    “Necessary to the conduct of such travel” Prong ..................................................... 145
           2. Ex Post Facto Clause .................................................................................................... 151
           3. The Fifth Amendment’s Due Process Clause ............................................................... 152
           4. Expiration of the Concession ....................................................................................... 152
           5. Failure to State a Claim ................................................................................................ 153
           6. Lack of Knowledge and Intent ..................................................................................... 153
           7. Lack of Standing Due to Lack of Injury-in-Fact .......................................................... 154
           8. Lack of Indemnity Right .............................................................................................. 155
           9. Lack of Causation......................................................................................................... 156
           10. Lack of Use of Claimed Property ................................................................................. 156
           11. Article II of the United States Constitution.................................................................. 157
           12. Act of State Doctrine .................................................................................................... 158
           13. Extraterritorial Application of United States Law........................................................ 159
           14. Election of Remedies under Title III ............................................................................ 159
           15. Failure to Join an Indispensable Party ......................................................................... 160
           16. Purpose of Certified Claim........................................................................................... 161
           17. Statute of Limitations or Repose .................................................................................. 161
           18. Eighth Amendment ....................................................................................................... 163
           19. Non-U.S. Sailings......................................................................................................... 165
   VI. CONCLUSION ................................................................................................................. 165


                                                                           3
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 5 of 169




                                        OMNIBUS ORDER

          THIS CAUSE is before the Court upon ten (10) pending summary judgment motions filed

   in the four (4) above-styled cases. The Court conducted a hearing on each summary judgment

   motion over the course of two (2) days. See, e.g., Havana Docks Corporation v. Carnival

   Corporation, No. 19-cv-21724, ECF Nos. [442], [449]. The Court has reviewed the parties’

   memoranda and statements of facts, the record in each case, the applicable law, and is otherwise

   fully advised.

          Plaintiff Havana Docks Corporation (“Havana Docks”) filed separate actions to recover

   damages against Defendants Carnival Corporation d/b/a Carnival Cruise Line (“Carnival”); MSC

   Cruises S.A. (“MSC SA”), MSC Cruises SA Co. (“MSC Co.”), and MSC Cruises (USA) Inc.

   (“MSC USA”) (collectively, “MSC”); Royal Caribbean Cruises Ltd. (“Royal Caribbean”); and

   Norwegian Cruise Line Holdings Ltd. (“Norwegian”). The Defendants are four cruise operators

   whose ships used the Havana Cruise Port Terminal, also called the Sierra Maestra Terminal (the

   “Terminal”), when traveling to Havana, Cuba. Havana Docks claims each Defendant unlawfully

   trafficked in property confiscated by the Cuban Government—the Terminal and its piers—in

   violation of the Cuban Liberty and Democratic Solidarity Act of 1996, 22 U.S.C. §§ 6021, et seq.,

   referred to as the LIBERTAD Act or Helms-Burton Act.

          Pending before the Court are the following motions for summary judgment:

          (1)       Defendants’ Omnibus Motion for Summary Judgment, Havana Docks Corporation

   v. Carnival Corporation, No. 19-cv-21724, ECF No. [330]; Havana Docks Corporation v. MSC

   Cruises, SA, et al., No. 19-cv-23588, ECF No. [216]; Havana Docks Corporation v. Royal

   Caribbean Cruises Ltd., No. 19-cv-23590, ECF No. [137]; Havana Docks Corporation v

   Norwegian Cruise Line Holdings, Ltd., No. 19-cv-23591, ECF No. [227];


                                                  4
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 6 of 169




          (2)    Plaintiff Havana Docks Corporation’s Omnibus Motion for Partial Summary

   Judgment, Havana Docks Corporation v. Carnival Corporation, No. 19-cv-21724, ECF No. [336];

   Havana Docks Corporation v. MSC Cruises, SA, et al., No. 19-cv-23588, ECF No. [222]; Havana

   Docks Corporation v. Royal Caribbean Cruises Ltd., No. 19-cv-23590, ECF No. [143]; Havana

   Docks Corporation. v Norwegian Cruise Line Holdings, Ltd., No. 19-cv-23591, ECF No. [232];

          (3)    Carnival Corporation’s Individual Motion for Summary Judgment, Havana Docks

   Corporation v. Carnival Corporation, No. 19-cv-21724, ECF No. [324];

          (4)    Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

   against Carnival Corporation, Havana Docks Corporation v. Carnival Corporation, No. 19-cv-

   21724, ECF No. [333];

          (5)    MSC Cruises’ Individual Motion for Summary Judgment, Havana Docks

   Corporation v. MSC Cruises, SA, et al., No. 19-cv-23588, ECF No. [209];

          (6)    Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

   against MSC Cruises, SA & MSC Cruise (USA). Inc., Havana Docks Corporation v. MSC Cruises,

   SA, et al., No. 19-cv-23588, ECF No. [225];

          (7)    Defendant’s [Royal Caribbean Cruises, Ltd.] Individual Motion for Summary

   Judgment, Havana Docks Corporation v. Royal Caribbean Cruises Ltd., No. 19-cv-23590, ECF

   No. [132];

          (8)    Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

   Against Royal Caribbean Cruises, Ltd., Havana Docks Corporation v. Royal Caribbean Cruises

   Ltd., No. 19-cv-23590, ECF No. [142];

          (9)    Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

   against Defendant Norwegian Cruise Line, Ltd., Havana Docks Corporation v Norwegian Cruise




                                                 5
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 7 of 169




   Line Holdings, Ltd., No. 19-cv-23591, ECF No. [229]; and

            (10)   Norwegian’s Individual Motion for Summary Judgment, Havana Docks

   Corporation. v Norwegian Cruise Line Holdings, Ltd., No. 19-cv-23591, ECF No. [230].

            Also before the Court, and pertinent to the summary judgment motions, is Havana Docks’

   Motion to Exclude the Expert Opinions of Julian Ackert and Pablo Spiller. Havana Docks

   Corporation v. Carnival Corporation, No. 19-cv-21724, ECF No. [328]; Havana Docks

   Corporation v. MSC Cruises, SA, et al., No. 19-cv-23588, ECF No. [214]; Havana Docks

   Corporation v. Royal Caribbean Cruises Ltd., No. 19-cv-23590, ECF No. [138]; Havana Docks

   Corporation v Norwegian Cruise Line Holdings, Ltd., No. 19-cv-23591, ECF No. [226].

   Magistrate Judge Chris M. McAliley issued a Report and Recommendation regarding Julian

   Ackert only. Havana Docks Corporation v. Carnival Corporation, No. 19-cv-21724, ECF No.

   [425]. Havana Docks filed partial Objections to the Report and Recommendation. Havana Docks

   Corporation v. Carnival Corporation, No. 19-cv-21724, ECF No. [430].1 The Court has conducted

   a de novo review of the Report and Recommendation, the record in this case, and is otherwise fully

   advised. See Williams v. McNeil, 557 F.3d 1287, 1291 (11th Cir. 2009) (citing 28 U.S.C.

   § 636(b)(1)).

            Each Motion is ripe for the Court’s consideration.

       I.   STATUTORY AND REGULATORY BACKGROUND

            Since Fidel Castro seized power in Cuba in 1959, “communist tyranny and economic

   mismanagement” has plagued the island nation, substantially deteriorating the welfare and health

   of the Cuban people. See 22 U.S.C. § 6021(1)(A), (2). The communist Cuban Government has

   systematically repressed the Cuban people through, among other things, “massive and systemic


   1
    In the interest of brevity and clarity, the Court will refer to each respective case as Carnival, MSC, Royal
   Caribbean, and Norwegian in place of its case number.


                                                        6
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 8 of 169




   violations of human rights” and deprivations of fundamental freedoms. Id. § 6021(4), (24). In

   response, the United States has consistently sought to impose international sanctions against the

   Castro regime. Id. § 6021(8)–(10).

          The result is a “pervasive” economic embargo against Cuba. Odebrecht Const., Inc. v.

   Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268, 1277 (11th Cir. 2013). But the federal regime

   governing the embargo “contains numerous exceptions, permitting certain kinds of transactions

   with Cuba through licensing as well as through complete exemptions.” Id. The federal scheme “is

   designed to sanction strongly the Castro regime while simultaneously permitting humanitarian

   relief and economic transactions that will benefit the Cuban people.” Id. at 1278. A brief

   description of the relevant legislative acts and executive regulations follows.

          A. Relevant Statutes

               1. International Claims Settlement Act

          The International Claims Settlement Act (“Settlement Act”), 22 U.S.C. §§ 1621, et seq.,

   established the Foreign Claims Settlement Commission (“FCSC”) (formerly called the

   International Claims Commission) to adjudicate claims against foreign governments that involve

   the expropriation of property belonging to nationals of the United States. See Dames & Moore v.

   Regan, 453 U.S. 654, 680–81 (1981) (discussing history of FCSC). In 1964, Congress amended

   the Settlement Act “to provide for the determination of the amount and validity of claims against

   the Government of Cuba . . . which have arisen since January 1, 1959[.]” 22 U.S.C. § 1643. The

   Settlement Act tasks the FCSC with determining “the amount and validity of claims by nationals

   of the United States against the Government of Cuba . . . arising since January 1, 1959 . . . for

   losses resulting from the nationalization . . . [of] property including any rights or interests therein

   owned wholly or partially, directly or indirectly at the time by nationals of the United States.” 22




                                                     7
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 9 of 169




   U.S.C. § 1643b(a). A claim certified by the FCSC under the Settlement Act serves as both

   conclusive proof of ownership of a property interest and as the presumptive measure of damage

   under the LIBERTAD Act. 22 U.S.C. §§ 6082(a)(2), 6083(a)(1). Since February 9, 2015, all FCSC

   Commission decisions issued under its Cuba claims program have been available online.2

               2. Cuban Democracy Act

          In 1992, Congress passed the Cuban Democracy Act of 1992 (“CDA”), 22 U.S.C. §§ 6001,

   et seq., which “ramped up economic sanctions against the Cuban government while

   simultaneously permitting humanitarian relief to the Cuban people.” Odebrecht, 715 F.3d at 1276.

   Four years later, following an unprovoked attack by Cuban military jets on an American civilian

   aircraft, see 22 U.S.C. § 6046 (Congressional condemnation of the Brothers to the Rescue

   incident), Congress passed the Cuban Liberty and Democratic Solidarity Act of 1996, 22 U.S.C.

   §§ 6021, et seq., referred to as the LIBERTAD Act or Helms-Burton Act.

               3. LIBERTAD Act

          The LIBERTAD Act, effective March 12, 1996, aimed to address “the 36 years of

   communist tyranny and economic mismanagement by the Castro government” and improve “the

   welfare and health of the Cuban people.” 22 U.S.C. § 6021(1), (2). Among the LIBERTAD Act’s

   goals were “to assist the Cuban people in regaining their freedom and prosperity,” § 6022(1), “to

   strengthen international sanctions against the Castro government,” § 6022(2), and “to protect

   United States nationals against confiscatory takings and the wrongful trafficking in property

   confiscated by the Castro regime.” § 6022(6).

          To accomplish those goals, the LIBERTAD Act codified “[t]he economic embargo of

   Cuba” and “the regulatory sanctions that were in place on March 1, 1996.” Odebrecht, 715 F.3d at


   2
    Final Opinions and Orders, United States Department of Justice, https://www.justice.gov/fcsc/final-
   opinions-and-orders-5#Cuba. (last visited Mar. 16, 2022).


                                                    8
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 10 of 169




   1277; see 22 U.S.C. § 6032(h) (stating that “[t]he economic embargo of Cuba, as in effect on

   March 1, 1996, including all restrictions under part 515 of title 31, Code of Federal Regulations,

   shall be in effect on March 12, 1996, and shall remain in effect, subject to section 6064 of this

   title.”); see also 22 U.S.C. § 6023(7)(A) (defining “economic embargo of Cuba” as “the economic

   embargo (including all restrictions on trade or transactions with, and travel to or from, Cuba, and

   all restrictions on transactions in property in which Cuba or nationals of Cuba have an interest)

   that was imposed against Cuba pursuant to section 2370(a) of this title, section 4305(b) of Title

   50, the Cuban Democracy Act of 1992 (22 U.S.C. 6001 and following), or any other provision of

   law or any other provision of law[.]”).

          Title III of the LIBERTAD Act provides a private cause of action to victims of confiscations

   by the Cuban Government. Glen v. Club Mediterranee, S.A., 450 F.3d 1251, 1255 (11th Cir. 2006).

   Specifically, the LIBERTAD Act states that “any person that . . . traffics in property which was

   confiscated by the Cuban Government on or after January 1, 1959, shall be liable to any United

   States national who owns the claim to such property for money damages” and attorneys’ fees and

   costs. 22 U.S.C. § 6082(a)(1)(A). But the LIBERTAD Act excludes from trafficking acts

   “transactions and uses of property incident to lawful travel to Cuba.” 22 U.S.C. § 6023(13)(B)(iii).

   The LIBERTAD Act defines a “United States national” as “any United States citizen” or “any other

   legal entity which is organized under the laws of the United States, or of any State, the District of

   Columbia, or any commonwealth, territory, or possession of the United States, and which has its

   principal place of business in the United States.” 22 U.S.C. § 6023(15)(A)–(B).

          The LIBERTAD Act grants the President the authority to suspend the right to bring a cause

   of action under Title III at six-month intervals. Glen, 450 F.3d at 1255; see 22 U.S.C. § 6085(c).

   Every President has done so from 1996 to May 2019, until President Donald J. Trump allowed the




                                                    9
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 11 of 169




   suspension to expire. N. Am. Sugar Indus. Inc. v. Xinjiang Goldwind Sci. & Tech. Co., No. 20-CV-

   22471, 2021 WL 3741647, at *2 (S.D. Fla. Aug. 24, 2021).

               4. Trade Sanctions Reform and Export Enhancement Act

          In 2000, Congress passed the Trade Sanctions Reform and Export Enhancement Act

   (“TSRA”) of 2000, 22 U.S.C. §§ 7201, et seq., which “loosened the restrictions on exporting

   agricultural and medical products to Cuba.” Odebrecht, 715 F.3d at 1277; see 22 U.S.C. § 7209(a).

   At the same time, the TSRA reinforced the “[p]rohibition on travel relating to tourist activities.”

   § 7209(b)(1). The TSRA clarified that:

          Notwithstanding any other provision of law or regulation, the Secretary of the
          Treasury, or any other Federal official, may not authorize the travel-related
          transactions listed in subsection (c) of section 515.560 of title 31, Code of Federal
          Regulations, either by a general license or on a case-by-case basis by a specific
          license for travel to, from, or within Cuba for tourist activities.

   Id.

          The TSRA defines “tourist activities” as:

          any activity with respect to travel to, from, or within Cuba that is not expressly
          authorized in subsection (a) of this section, in any of paragraphs (1) through (12)
          of section 515.560 of title 31, Code of Federal Regulations, or in any section
          referred to in any of such paragraphs (1) through (12) (as such sections were in
          effect on June 1, 2000).

   § 7209(b)(2).

          B. Relevant Regulations

               1. Cuban Asset Control Regulations

          In 1963, under the Trading with the Enemy Act (“TWEA”), 50 U.S.C. §§ 4301–41, the

   Treasury Department’s Office of Foreign Assets Control (“OFAC”) issued the Cuban Assets

   Control Regulations (“CACR”), 31 C.F.R. § 515.101. “Broadly speaking, the regulations prohibit,

   unless specifically authorized, any dealing in any property in which Cuba or a Cuban national has




                                                   10
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 12 of 169




   an interest of any nature.” Odebrecht, 715 F.3d at 1276; see 31 C.F.R. § 515.201(a)–(b).

          As of 1996, when the LIBERTAD Act was enacted, the CACR permitted travel to Cuba

   under a general license to government officials, regularly employed journalists, and family

   members visiting “close relatives” with an “extreme humanitarian need,” but for a limited period.

   31 C.F.R. § 515.560(a)(1)(i)–(iii) (1996). The CACR also authorized travel to Cuba via specific

   licenses to family members outside the general limits, for other humanitarian needs, for

   “professional research and similar activities,” to freelance journalists, for “clearly defined

   educational activities,” for “religious activities,” to “human rights organizations investigating

   human rights violations,” and “for purposes related to the exportation, importation, or transmission

   of information or informational materials.” § 515.560(b) (1996). The CACR clarified that no

   provision “authorizes transactions in connection with tourist travel to Cuba.” § 515.560(a)(2),

   (b)(2) (1996).

               2. OFAC’s CACR Amendments

          In 1999, OFAC amended the CACR to authorize travel to Cuba via general or specific

   license under twelve (12) travel categories of activities. § 515.560 (1999). Those categories—in

   effect in 2000 when the TSRA was enacted—were: (1) “Family visits”; (2) “Official business of

   the U.S. government, foreign governments, and certain intergovernmental organizations”; (3)

   “Journalistic activity”; (4) “Professional research”; (5) “Educational activities”; (6) “Religious

   activities”; (7) “Public performances, clinics, workshops, athletic and other competitions, and

   exhibitions”; (8) “Support for the Cuban people”; (9) “Humanitarian projects”; (10) “Activities of

   private foundations or research or educational institutes”; (11) “Exportation, importation, or

   transmission of information or informational materials”; and (12) “Certain export transactions that

   may be considered for authorization under existing Department of Commerce regulations and




                                                   11
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 13 of 169




   guidelines with respect to Cuba or engaged in by U.S.-owned or controlled foreign firms.”

   § 515.560(a)(1)–(12) (2000). The CACR also underscored that “[n]othing in this section

   authorizes transactions in connection with tourist travel to Cuba.” § 515.560(g) (2000).

           In January 2011, OFAC amended § 515.565—the “educational activities” travel

   regulation—to authorize travel, under a specific license, for “exchanges not involving academic

   study pursuant to a degree program when those exchanges take place under the auspices of an

   organization that sponsors and organizes such programs to promote people-to-people contact.” 76

   Fed. Reg. 5072-01, (Jan. 28, 2011); 31 C.F.R. § 515.565(b)(2) (2011). Section 515.565 clarified,

   however, that “[t]ransactions related to activities that are primarily tourist-oriented, including self-

   directed educational activities that are intended only for personal enrichment, will not be

   authorized pursuant to this section.” § 515.565(c) (2011).

           In January 2015, OFAC amended the CACR “to authorize travel-related transactions and

   other transactions incident to activities within the 12 existing travel categories in OFAC’s

   regulations . . . without the need for case-by-case specific licensing, while continuing not to

   authorize travel for tourist activities, which is prohibited by statute.” 80 Fed. Reg. 2291-01 (Jan.

   16, 2015); see § 515.560(a) (2015). Under those amendments, travel “meant to promote people-

   to-people contact” (commonly referred to as people-to-people travel), could be done by general

   license, but under certain conditions:

           (1) The exchanges take place under the auspices of an organization that is a person
           subject to U.S. jurisdiction and that sponsors such exchanges to promote people-to-
           people contact;

           (2) Travel-related transactions pursuant to this authorization must be for the
           purpose of engaging, while in Cuba, in a full-time schedule of activities intended
           to enhance contact with the Cuban people, support civil society in Cuba, or promote
           the Cuban people’s independence from Cuban authorities;

           (3) Each traveler has a full-time schedule of educational exchange activities that



                                                     12
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 14 of 169




           will result in meaningful interaction between the traveler and individuals in Cuba;

           (4) An employee, paid consultant, or agent of the sponsoring organization
           accompanies each group traveling to Cuba to ensure that each traveler has a full-
           time schedule of educational exchange activities; and

           (5) The predominant portion of the activities engaged in by individual travelers is
           not with individuals or entities acting for or on behalf of a prohibited official of the
           Government of Cuba . . . or a prohibited member of the Cuban Communist Party[.]

   § 515.565(b)(1)–(5) (2015).

           The amended regulations in § 515.565 stated that “[t]ransactions related to activities that

   are primarily tourist-oriented, including self-directed educational activities that are intended only

   for personal enrichment, are not authorized pursuant to this section.” § 515.565(c) (2015). Section

   515.560 also stated that “[n]othing in this section authorizes transactions in connection with tourist

   travel to Cuba.” § 515.560(f) (2015).

           Given that OFAC had removed the requirement to apply for a specific license to engage in

   people-to-people travel under § 515.565, OFAC added examples within § 515.565 of what

   activities would qualify for a general license. For instance, an organization would satisfy the

   general license if it sponsored an exchange “for individuals to learn side-by-side with Cuban

   individuals in areas such as environmental protection or the arts” where “[t]he travelers will have

   a full-time schedule of educational exchange activities that will result in meaningful interaction

   between the travelers and individuals in Cuba.” § 515.565 (2015) (example). By contrast, “[a]n

   organization that sponsors and organizes trips to Cuba in which travelers engage in individually

   selected and/or self-directed activities would not qualify for the general license.” Id. Rather,

   “[a]uthorized trips are expected to be led by the organization and to have a full-time schedule of

   activities in which the travelers will participate.” Id.

           In January 2015, OFAC also amended § 515.572 to allow common carrier services by




                                                      13
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 15 of 169




   aircraft to and from Cuba by general license. § 515.572(a)(2) (Jan. 2015). In September 2015,

   OFAC removed the limitation by aircraft, effectively covering vessels. See § 515.572(a)(2) (Sept.

   2015). OFAC also authorized common carrier vessels “to provide lodging services onboard such

   vessels to persons authorized to travel to or from Cuba pursuant to this part during the period of

   time the vessel is traveling to, from, or within Cuba, including when docked at a port in Cuba.”

   § 515.572(a)(4) (Sept. 2015). OFAC added a note to the regulation, clarifying that common carrier

   vessels could transport “[p]ersons subject to U.S. jurisdiction who are traveling to or from Cuba

   pursuant to a general license under one of the 12 categories of travel listed in § 515.560 or under

   a specific license from [OFAC].” § 515.572 (Sept. 2015) (note). This note is still part of the

   regulation in the present version of § 515.572. See § 515.572 (note).

          In March 2016, OFAC expanded § 515.565 to remove the requirement of a sponsoring

   organization for people-to-people travel, thus allowing self-guided people-to-people travel. 81

   Fed. Reg. 13989-01 (Mar. 16, 2016); see § 515.565(b) (2016). People-to-people travel, however,

   still required “a full-time schedule of activities intended to enhance contact with the Cuban people,

   support civil society in Cuba, or promote the Cuban people’s independence from Cuban

   authorities,” and “a full-time schedule of educational exchange activities that will result in

   meaningful interaction between the traveler and individuals in Cuba.” § 515.565(b)(1)–(2) (2016).

   OFAC also added a note to § 515.565 stating that “[a]n organization that sponsors and organizes

   trips to Cuba in which travelers engage in individually selected and/or self-directed activities

   would not qualify for the general license.” § 515.565(b) (2016) (note). Rather, “[a]uthorized trips

   are expected to be led by the organization and to have a full-time schedule of activities in which

   the travelers will participate.” Id. Moreover, § 515.565 reiterated that “[t]ransactions related to

   activities that are primarily tourist-oriented are not authorized pursuant to this section.”




                                                    14
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 16 of 169




   § 515.565(c) (2016). The regulation set forth specific examples:

          Example 1 to § 515.565(b): An organization wishes to sponsor and organize
          educational exchanges not involving academic study pursuant to a degree program
          for individuals to learn side-by-side with Cuban individuals in areas such as
          environmental protection or the arts. The travelers will have a full-time schedule of
          educational exchange activities that will result in meaningful interaction between
          the travelers and individuals in Cuba. The organization’s activities qualify for the
          general license, and the individual may rely on the entity sponsoring the travel to
          satisfy his or her recordkeeping requirement.

          Example 2 to § 515.565(b): An individual plans to travel to Cuba to participate in
          discussions with Cuban artists on community projects, exchanges with the founders
          of a youth arts program, and to have extended dialogue with local city planners and
          architects to learn about historical restoration projects in Old Havana. The traveler
          will have a full-time schedule of such educational exchange activities that will
          result in meaningful interaction between the traveler and individuals in Cuba. The
          individual’s activities qualify for the general license, provided that the individual
          satisfies the recordkeeping requirement.

          Example 3 to § 515.565(b): An individual plans to travel to Cuba to participate in
          discussions with Cuban farmers and produce sellers about cooperative farming and
          agricultural practices and have extended dialogue with religious leaders about the
          influence of African traditions and religion on society and culture. The traveler fails
          to keep any records of the travel. Although the traveler will have a full-time
          schedule of educational exchange activities that will result in meaningful
          interaction between the traveler and individuals in Cuba, the traveler’s failure to
          keep records means that the individual’s activities do not qualify for the general
          license.

          Example 4 to § 515.565(b): An individual plans to travel to Cuba to rent a bicycle
          to explore the streets of Havana, engage in brief exchanges with shopkeepers while
          making purchases, and have casual conversations with waiters at restaurants and
          hotel staff. None of these activities are educational exchange activities that will
          result in meaningful interaction between the traveler and individuals in Cuba, and
          the traveler’s trip does not qualify for the general license.

          Example 5 to § 515.565(b): An individual plans to travel to Cuba to participate in
          discussions with Cuban farmers and produce sellers about cooperative farming and
          agricultural practices and have extended dialogue with religious leaders about the
          influence of African traditions and religion on society and culture. The individual
          also plans to spend a few days engaging in brief exchanges with Cuban food
          vendors while spending time at the beach. Only some of these activities are
          educational exchange activities that will result in meaningful interaction between
          the traveler and individuals in Cuba, and the traveler therefore does not have a full-
          time schedule of such activities on each day of the trip. The trip does not qualify



                                                    15
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 17 of 169




          for the general license.

   § 515.565 (2016).

          In October 2017, the Trump Administration issued a National Security Presidential

   Memorandum that sought, among other objectives, to ensure “adherence to the statutory ban on

   tourism to Cuba” and “that engagement between the United States and Cuba advances the interests

   of the United States and the Cuban people.” 82 Fed. Reg. 48875-04 (Oct. 20, 2017). In response,

   OFAC amended the CACR to remove self-guided people-to-people travel, emphasizing that such

   travel was only authorized if it constituted “a full-time schedule of activities that enhance contact

   with the Cuban people, support civil society in Cuba, or promote the Cuban people’s independence

   from Cuban authorities; and result[s] in meaningful interactions with individuals in Cuba.” 82 Fed.

   Reg. 51998-01 (Nov. 9, 2017); see § 515.565(b)(1)–(4) (2017). The regulation maintined that,

   “[t]ransactions related to activities that are primarily tourist-oriented are not authorized pursuant

   to this section.” § 515.565(f) (2017).

          In June 2019, following a foreign policy address from National Security Advisor

   Ambassador John Bolton “that the Department of the Treasury would further restrict non-family

   travel,” OFAC “remove[d] the authorization for group people-to-people educational travel in

   § 515.565(b).” 84 Fed. Reg. 25992-01 (June 5, 2019); see § 515.565(b) (2019).

    II.   PROCEDURAL BACKGROUND

          A. Havana Docks’ Allegations

          Havana Docks filed separate actions for damages under Title III of the LIBERTAD Act

   against each cruise operator (and some affiliates): (1) Carnival; (2) MSC SA, MSC Co., and MSC

   USA; (3) Royal Caribbean; and (4) Norwegian. Carnival, ECF No. [149]; MSC, ECF No. [104];

   Royal Caribbean, ECF No. [46]; Norwegian, ECF No. [56]. In each case, Havana Docks alleges




                                                    16
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 18 of 169




   that it is “a U.S. national as defined by 22 U.S.C. § 6023(15)” and “the rightful owner of an interest

   in and certified claim to certain commercial waterfront real property in the Port of Havana, Cuba

   identified specifically by [Cuba] as the Havana Cruise Port Terminal.” E.g., Carnival, ECF

   No. [149] ¶ 6. Havana Docks claims that it “and its predecessor in interest constructed and

   managed the [Terminal],” and that Havana Docks “owned, possessed, used and managed” the

   Terminal until its confiscation by the Cuban Government in 1960. Id. ¶ 7.

          The picture below depicts the Terminal. Id., ECF Nos. [337] ¶ 18, [367] ¶ 18.




          The first pier is the San Francisco, the second pier is the Machina, and the third is the Santa

   Clara. Id., ECF Nos. [331] ¶ 22, [331-1] at 3 n.1, [388] ¶ 22.

          Havana Docks alleges that the FCSC certified its ownership interest in the Terminal under

   Certified Claim No. CU-2492 (the “Certified Claim”). E.g., id., ECF No. [149] ¶ 12. The most

   significant portion of the Certified Claim’s valuation is a concession (“Concession”) from the

   Cuban Government, which “granted [Havana Docks] a term of 99 years for the use of,

   improvement, construction upon, operation and management of the [Terminal].” E.g., id., ECF No.


                                                    17
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 19 of 169




   [149] ¶ 15. Havana Docks contends that upon confiscation, 44 years remained on the Concession.

   Id. The Concession states that Havana Docks would be entitled to indemnification if its property

   was expropriated under Article 50 of the Law of Ports, but the Cuban Government did not pay the

   indemnity. Id. ¶¶ 15–18.

          Havana Docks claims that Defendants “knowingly and intentionally commenced,

   conducted, and promoted [their] commercial cruise line business to Cuba using the [Terminal] by

   regularly embarking and disembarking its passengers on the [Terminal] without the authorization

   of Plaintiff.” Carnival, ECF No. [149] ¶ 40; Royal Caribbean, ECF No. [46] ¶ 22; Norwegian,

   ECF No. [56] ¶ 21. Havana Docks’ claim relative to MSC is slightly different; it alleges that MSC

   “knowingly and intentionally commenced, conducted, and promoted their commercial cruise line

   business from Miami to Cuba using the [Terminal][.]” MSC, ECF No. [104] ¶ 23. Havana Docks

   alleges that Defendants “knowingly and intentionally participated in and profited from the

   communist Cuban Government’s possession of the [Terminal] without the authorization of

   Plaintiff.” Carnival, ECF No. [149] ¶ 41; MSC, ECF No. [104] ¶ 24; Royal Caribbean, ECF No.

   [46] ¶ 23; Norwegian, ECF No. [56] ¶ 22.

          Havana Docks alleges that (1) Carnival used the Terminal from 2016 to 2019, Carnival,

   ECF No. [149] ¶¶ 40–44; (2) MSC used the Terminal from November 1, 1996, to June 2019, MSC,

   ECF No. [104] ¶¶ 23–29; (3) Royal Caribbean used the Terminal for two years beginning on April

   23, 2017, Royal Caribbean, ECF No. [46] ¶ 22; and (4) Norwegian used the Terminal for two years

   beginning March 2017, Norwegian, ECF No. [56] ¶ 21.

          Havana Docks further alleges that Carnival “knowingly and intentionally caused, directed,

   participated in, and/or profited from” trafficking by Airtours Plc (“Airtours”), or “otherwise

   engaged in” trafficking through Airtours, which used the Terminal from 1996 through 2001.




                                                  18
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 20 of 169




   Carnival, ECF No. [149] ¶¶ 24–30. Havana Docks similarly contends that Carnival engaged in the

   same conduct with Costa Crociere S.p.A. (“Costa”), a wholly-owned subsidiary that used the

   Terminal in 1997 and renovated and managed the Terminal in a joint venture with the Cuban

   Government. Id. ¶¶ 31–39. In addition, Havana Docks alleges that Royal Caribbean controlled and

   operated four cruise brands, including Silversea Cruises. Royal Caribbean, ECF No. [46] ¶ 2.

          B. The Omnibus Summary Judgment Motions

               1. Defendants’ Omnibus Motion

          Defendants’ Omnibus Motion seeks summary judgment on Havana Docks’ claims based

   on four grounds: (1) Havana Docks did not own the Terminal but only a “limited right to operate

   a cargo business in which Defendants did not and could not have trafficked”; (2) Defendants’

   cruises to Cuba fall within the lawful travel exception; (3) Havana Docks lacks statutory standing

   because it is not a United States national; and (4) Havana Docks’ interpretation of Title III violates

   the United States Constitution in several ways. Carnival, ECF No. [330] at 2–3.

               2. Havana Docks’ Omnibus Motion

          Havana Docks’ Omnibus Motion seeks summary judgment on Defendants’ common

   affirmative defenses: (1) the lawful travel exception,3 (2) the Ex Post Facto Clause of the United

   States Constitution,4 (3) The Fifth Amendment Due Process Clause,5 (4) expiration of the




   3
    Carnival, ECF No [160] at 18 (Def. Nos. 1 and 2); MSC, ECF No. [115] at 16 (MSC USA and MSC Co.
   Def. Nos. 1 and 2), [133] at 15 (MSC SA Def. Nos. 1 and 2; Royal Caribbean, ECF No. [59] at 5 (Def. No.
   1), Norwegian, ECF No. [107] at 14 (Def. Nos. 1 and 2).
   4
    Carnival, ECF No. [160] at 19 (Def. No. 6); MSC, ECF Nos. [115] at 17 (MSC USA and MSC Co. Def.
   No. 6), [133] at 16 (MSC SA Def. No. 6), Royal Caribbean, ECF No. [59] at 6 (Def. No. 10), Norwegian,
   ECF No. [107] at 14 (Def. No. 4).
   5
    Carnival, ECF No. [160] at 18 (Def. No. 4), MSC, ECF Nos. [115] at 16 (MSC USA and MSC Co. Def.
   No. 4), [133] at 15 (MSC S.A. Def. No. 4), Royal Caribbean, ECF No. [59] at 5, 6, 9 (Def. Nos. 3, 4, 11,
   25, 26); Norwegian, ECF No. [107] at 18 (Def. No. 21).



                                                     19
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 21 of 169




   Concession,6 (5) failure to state a claim,7 (6) lack of knowledge and intent,8 (7) lack of standing

   due to lack of injury-in-fact,9 (8) lack of indemnity right,10 (9) lack of causation,11 (10) lack of use

   of claimed property,12 (11) Article II of the United States Constitution,13 (12) extraterritorial

   application of United States law,14 (13) Act of State Doctrine,15 (14) election of remedies under




   6
    Carnival, ECF No. [160] at 20 (Def. No. 14); MSC, ECF Nos. [115] at 18 (MSC USA and MSC Co. Def.
   No. 13), [133] at 17 (MSC SA Def. No. 13); Royal Caribbean, ECF No. [59] at 5 (Def. No. 2); Norwegian,
   ECF No. [107] at 16 (Def. No. 12).
   7
    Carnival, ECF No. [160] at 20 (Def. No. 15); MSC, ECF Nos. [115] at 18 (MSC USA and MSC Co. Def.
   No. 14), [133] at 17 (MSC SA Def. No. 14); Royal Caribbean, ECF No. [59] at 9 (Def. Nos. 22 and 28);
   Norwegian, ECF No. [107] at 16 (Def. No. 13).
   8
    MSC, ECF No. [115] at 18 (MSC USA and MSC Co. Def. No. 12), [133] at 17 (MSC SA Def. No. 12);
   Royal Caribbean, ECF No. [59] at 9 (Def. Nos. 21 and 27); Norwegian, ECF No. [107] at 16 (Def. No. 11).
   Carnival withdrew this defense. See Carnival, ECF No. [279] at 4.
   9
    Carnival, ECF No. [160] at 19 (Def. No. 8); MSC, ECF Nos. [115] at 17 (MSC USA and MSC Co. Def.
   No. 8), [133] at 18 (MSC SA Def. No. 8); Royal Caribbean, ECF No. [59] at 6 (Def. No. 8); Norwegian,
   ECF No. [107] at 15 (Def. No. 6).
    Carnival, ECF No. [160] at 22 (Def. No. 24); MSC, ECF Nos. [115] at 20 (MSC USA and MSC Co. Def.
   10

   No. 20), [133] at 19 (MSC SA’s Def. No. 21); Royal Caribbean, ECF No. [59] at 8 (Def. No. 24);
   Norwegian, ECF No. [107] at 17 (Def. No. 19).
   11
    Carnival, ECF No. [160] at 21 (Def. No. 18); MSC, ECF Nos. [115] at 19 (MSC USA and MSC Co. Def.
   No. 17), [133] at 18 (MSC SA Def. No. 17); Royal Caribbean, ECF No. [59] at 9 (Def. No. 29); Norwegian,
   ECF No. [107] at 17 (Def. No. 16).
   12
    Carnival, ECF No. [160] at 20 (Def. No. 8); MSC, ECF Nos. [115] at 19 (MSC USA and MSC Co. Def.
   No. 15), [133] at 17–18 (MSC SA Def. No. 15); Royal Caribbean, ECF No. [59] at 7 (Def. No. 13);
   Norwegian, ECF No. [107] at 16 (Def. No. 14).
    Carnival, ECF No. [160] at 19 (Def. No. 7); MSC, ECF Nos. [115] at 17 (MSC USA and MSC Co. Def.
   13

   No. 7), [133] at 16 (MSC SA’s Def. No. 7); Royal Caribbean, ECF No. [59] at 8 (Def. No. 19); Norwegian,
   ECF No. [107] at 15 (Def. No. 5).
   14
     Carnival, ECF No. [160] at 19 (Def. No. 5); MSC, ECF Nos. [115] at 17 (MSC USA and MSC Co. Def.
   5); [133] at 16 (MSC SA Def. No. 5); Royal Caribbean, ECF No. [59] at 8 (Def. No. 9); Norwegian, ECF
   No. [107] at 14 (Def. No. 3).

    Carnival, ECF No. [160] at 21 (Def. No. 19); MSC, ECF Nos. [115] at 19 (MSC USA and MSC SA Def.
   15

   No. 18), [133] at 18 (MSC SA Def. No. 18); Royal Caribbean, ECF No. [59] at 7 (Def. No. 16); Norwegian,
   ECF No. [107] at 17 (Def. No. 17).


                                                     20
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 22 of 169




   Title III,16 (15) failure to join an indispensable party,17 and (16) purpose of Certified Claim.18

   Carnival, ECF No. [336] at 10–31. Havana Docks also seeks summary judgment on the issue of

   its statutory standing, including that it is a United States national under the LIBERTAD Act. Id. at

   5, 8–10.

          C. The Individual Summary Judgment Motions

               1. Havana Docks

          In each of its Individual Summary Judgment Motions, Havana Docks argues that it has

   established the elements under Title III of the LIBERTAD Act as a matter of law: (1) the Cuban

   Government confiscated its property on or after January 1, 1959; (2) Havana Docks owns the claim

   to the confiscated property; (3) Havana Docks acquired the ownership of that claim before the

   statutory date; (4) Havana Docks is a United States national; (5) Defendants knowingly and

   intentionally trafficked in the confiscated property; and (6) the trafficking occurred after November

   1, 1996. Carnival, ECF No. [333] at 2–9; MSC, ECF No. [225] at 2–8; Royal Caribbean, ECF No.

   [142] at 2–10; Norwegian, ECF No. [229] at 2–9.

          Havana Docks also moves for summary judgment on the affirmative defenses raised by

   Defendants. As to Carnival, Havana Docks seeks summary judgment regarding Carnival’s first

   and second affirmative defenses (lawful travel exception), third affirmative defense (statute of

   limitations or repose), twelfth affirmative defense (Eighth Amendment), and twenty-ninth



   16
    Carnival, ECF No. [160] at 20–21 (Def. No. 17); MSC, ECF Nos. [115] at 19 (MSC USA and MSC Co.
   Def. No. 16), [133] at 18 (MSC SA Def. No. 16); Royal Caribbean, ECF No. [59] at 7 (Def. No. 14);
   Norwegian, ECF No. [107] at 16 (Def. No. 15).
   17
    Carnival, ECF No. [160] at 21 (Def. No. 21); MSC, ECF Nos. [115] at 18 (MSC USA and MSC Co. Def.
   No. 11), [133] at 17 (MSC SA Def. No. 11); Royal Caribbean, ECF No. [59] at 7 (Def. No. 15); Norwegian,
   ECF No. [107] at 18–19 (Def. No. 22).
   18
    Carnival, ECF No. [160] at 23 (Def. No. 28); MSC, ECF Nos. [115] at 20 (MSC USA and MSC Co. Def.
   No. 20); ECF No. [133] at 19 (MSC SA Def. No. 20); Royal Caribbean, ECF No. [59] at 8 (Def. No. 18).


                                                     21
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 23 of 169




   affirmative defense (non-U.S. sailings). Carnival, ECF No. [333] at 10–19.

            As to MSC, Havana Docks seeks summary judgment on MSC’s first and second affirmative

   defenses (lawful travel exception), third affirmative defense (statute of limitations or repose),

   twenty-third affirmative defense (licensing), twenty-fourth affirmative defense (waiver), and

   twenty-fifth affirmative defense (equitable estoppel), and twenty-sixth affirmative defense

   (laches). MSC, ECF No. [225] at 9–21.

            As to Royal Caribbean, Havana Docks seeks summary judgment on Royal Caribbean’s

   first affirmative defense (lawful travel exception), ninth affirmative defense (foreign government

   conduct), twelfth affirmative defense (venue), twentieth affirmative defense (Eighth Amendment),

   and twenty-third affirmative defense (statute of limitations). Royal Caribbean, ECF No. [142] at

   10–21.

            As to Norwegian, Havana Docks seeks summary judgment on Norwegian’s first and

   second affirmative defenses (lawful travel exception), tenth affirmative defense (Eighth

   Amendment), and twentieth affirmative defense (statute of limitations/repose). Norwegian, ECF

   No. [229] at 9–20.

                2. Carnival

            Carnival moves for summary judgment on three grounds. First, Carnival argues that it is

   not liable for its ownership interest in Costa and Airtours. Carnival, ECF No. [324] at 7–14.

   Second, Carnival contends that the use of the Terminal by Costa, Airtours, and Carnival was

   incident to and necessary for the conduct of lawful travel. Id. at 7–14, 18–21. Third, Carnival

   maintains that any claim based on pre-2004 conduct is time-barred, and the “continuing violation”

   theory is inapplicable. Id. at 14–18.




                                                  22
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 24 of 169




               3. MSC

          MSC moves for summary judgment on three grounds. First, MSC contends that they meet

   the lawful travel exception. MSC, ECF No. [209] at 8–13. Second, MSC argues that MSC Co. and

   MSC USA did not engage in commercial activity or benefit from the use of the Terminal to

   constitute trafficking. Id. at 13–14. Third, MSC submits that there is no evidence that they

   trafficked knowingly and intentionally. Id. at 15–18.

          As a preliminary matter, Havana Docks has abandoned any claim that MSC Co. trafficked

   under the LIBERTAD Act. See Cusick v. Yellowbook, Inc., 607 F. App’x 953, 954 n.1 (11th Cir.

   2015) (holding that district court may deem abandoned claims not addressed in response to a

   motion for summary judgment). MSC argues in its individual summary judgment motion that MSC

   Co. is “an inactive Florida corporation which has never had any employees, office and has never

   performed any business activities,” and did not commit a trafficking act. MSC, ECF No. [209]

   at 14 (emphasis in original). Havana Docks does not address that contention in its response. Id.,

   ECF No. [258]. Notably, Havana Docks’ individual summary judgment motion is directed only

   against MSC SA and MSC USA. Id., ECF No. [225]. In its Response, MSC correctly points out

   that the omission shows that Havana Docks has dropped its claim against MSC Co. Id., ECF No.

   [256] at 22. Given Havana Docks’ lack of argument, MSC Co. is entitled to summary judgment.

   See Cusick, 607 F. App’x at 954 n.1.

               4. Royal Caribbean

          Royal Caribbean moves for summary judgment on four grounds. First, Royal Caribbean

   argues that it is not liable for cruises to Cuba conducted by its subsidiary, Silversea Cruises. Royal

   Caribbean, ECF No. [132] at 2–6. Second, Royal Caribbean contends that it meets the lawful

   travel exception. Id. at 6–9. Third, Royal Caribbean submits that there is no evidence that it acted




                                                    23
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 25 of 169




   with the requisite knowledge and intent. Id. at 9–11. Fourth, Royal Caribbean maintains that

   Havana Docks’ time-limited Concession expired in 2004, precluding a finding of trafficking for

   cruises that used the Terminal after that date. Id. at 12.

                5. Norwegian

           Norwegian moves for summary judgment on two grounds. First, Norwegian contends that

   it is legally entitled to the lawful travel exception. Norwegian, ECF No. [230] at 6–15. Second,

   Norwegian submits that there is no evidence that it acted with knowledge and intent. Id. at 15–19.

   III.    MATERIAL FACTS

           Based on the parties’ respective statements of material facts, along with the evidence in the

   record, the following facts are not genuinely in dispute unless otherwise noted.19


   19
     Havana Docks filed a statement of facts in support of its omnibus motion for partial summary judgment.
   Carnival, ECF No. [337], Carnival filed a counter statement, id., ECF No. [367], and Havana Docks filed
   a reply statement, id., ECF No. [396]. Defendants filed a statement of facts in support of their omnibus
   motion for summary judgment, id., ECF No. [331], Havana Docks filed a counter statement, id. at ECF No.
   [388], and Defendants filed a reply statement, id., ECF No. [401].

   Havana Docks filed a statement of facts in support of its individual motion for summary judgment against
   Carnival, Carnival, ECF No. [332]. Carnival responded. Id., ECF No. [374]. Carnival also filed a statement
   of facts in support of its individual summary judgment motion. Id., ECF No. [326]. Havana Docks
   responded, id., ECF No. [377], and Carnival filed a reply, id., ECF No. [404].

   Havana Docks filed a statement of facts in support of its individual motion for summary judgment against
   MSC, MSC, ECF No. [224]. MSC filed a response. Id., ECF No. [253]. MSC also filed a statement of facts
   in support of its individual motion for summary judgment. Id., ECF No. [210]. Havana Docks responded,
   adding additional facts, id., ECF No. [259], to which MSC filed a reply, id., ECF No. [273].

   Havana Docks filed a statement of facts in support of its individual motion for summary judgment against
   Royal Caribbean, Royal Caribbean, ECF No. [141]. Royal Caribbean filed a response, adding additional
   facts, id., ECF No. [172], to which Havana Docks filed a reply, id., ECF No. [205]. Royal Caribbean also
   filed a statement of facts in support of its individual motion for summary judgment. id., ECF No. [133].
   Havana Docks responded, adding additional facts, id., ECF No. [183], to which Royal Caribbean filed a
   reply, id., ECF No. [202].

   Havana Docks filed a statement of facts in support of its individual motion for summary judgment against
   Norwegian, Norwegian, ECF No. [228]. Norwegian filed a response, adding additional facts, id., ECF No.
   [282], to which Havana Docks filed a reply, id., ECF No. [310]. Norwegian also filed a statement of facts
   in support of its individual motion for summary judgment. Id., ECF No. [234]. Havana Docks filed a



                                                      24
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 26 of 169




          A. Havana Docks

          The following facts relate to this issue of Havana Docks’ statutory standing as a United

   States national:

          Havana Docks was incorporated in Delaware in 1917. Carnival, ECF Nos. [337] ¶ 1, [331]

   ¶ 29, [367] ¶ 1, [388] ¶ 29. Pursuant to its articles of incorporation, Havana Docks’ stated purpose

   was to acquire the Concession from the Port of Havana Docks Company. Id., ECF No. [318-27] at

   4. Since the Cuban Government confiscated its property, part of Havana Docks’ business has been

   to maintain its corporate existence in the event it is able to recover on its Certified Claim. Id., ECF

   Nos. [388] ¶ 114, [401] ¶ 114. Havana Docks also manages some income-producing marketable

   assets. Id., ECF Nos. [388] ¶ 115, [401] ¶ 115. In April 2021, the Delaware Secretary of State

   certified that Havana Docks has remained in good standing and is authorized to transact business.

   Id., ECF No. [318-29].

          Havana Docks’ corporate address is 215 Southland Drive, Lexington, Kentucky. Id., ECF

   Nos. [331-118] at 9, [388] ¶ 113, [401] ¶ 113. The address also corresponds to Bank of the

   Bluegrass & Trust Company. Id., ECF Nos. [318-1] at 54, [331-113] at 7. Defendants contend that

   Havana Docks is not registered to do business in Kentucky. Id., ECF No. [331] ¶ 44. Havana Docks

   does not dispute this; rather, it contends that Kentucky law allows Havana Docks to engage in

   significant activities without registering to do business. Id., ECF No. [388] ¶ 44.

          In 2011, Mickael Behn, then Havana Docks’ Vice President, Secretary, and a director, and

   Aphra Behn, then also Havana Docks’ Vice President and a director, engaged Jerry Johnson to

   maintain Havana Docks’ corporate status as active and in good standing and to manage Havana

   Docks’ investments. Id., ECF Nos. [337] ¶ 50, [367] ¶ 50. Jerry Johnson is a banker with a prior


   response, adding additional facts, id. at ECF No. [284], to which Norwegian filed a reply, id., ECF No.
   [309].


                                                     25
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 27 of 169




   banking relationship with the Behn family. Id., ECF No. [318-1] at 5. He works at Bank of the

   Bluegrass & Trust Company. Id., ECF No. [318-1] at 5.

          In 2018, Johnson became Havana Docks’ Secretary and Treasurer. Id., ECF Nos. [337]

   ¶ 51, [367] ¶ 51; see id., ECF No. [331-112] (Johnson deposition). Havana Docks states that

   Johnson also became Havana Docks’ Vice President and Comptroller; Defendants dispute those

   additional titles. Id., ECF Nos. [337] ¶ 51, [367] ¶ 51.

          In 2019, when Havana Docks filed these actions, Havana Docks had two directors and

   officers: Mickael Behn and Jerry Johnson. Id., ECF Nos. [331] ¶ 30, [388] ¶ 30. In 2019, Mickael

   Behn was Havana Docks’ President, a director, and a shareholder, and Jerry Johnson was Havana

   Docks’ Secretary and Treasurer, but not a shareholder. Id., ECF Nos. [331] ¶¶ 31, 33, [388] ¶¶ 31,

   33. Since 1999, Mickael Behn’s primary residence is in London, United Kingdom. Id., ECF Nos.

   [331] ¶ 36, [388] ¶ 36. At the time these lawsuits were filed, Johnson’s primary place of residence

   was Lexington, Kentucky. Id., ECF Nos. [331] ¶ 37, [388] ¶ 37. As of December 2020, Behn had

   not been to Kentucky since he was a child. Id., ECF Nos. [331] ¶ 45, [388] ¶ 45. Havana Docks’

   historical corporate records are kept in Behn’s family home in Miami. Id., ECF Nos. [331] ¶ 58,

   [388] ¶ 58.

          Havana Docks has no employees. Id., ECF Nos. [388] ¶ 111, [401] ¶ 111. Mickael Behn

   receives a monthly distribution of $250.00 for “work on Havana Docks.” See id., ECF No. [331-

   135]. Jerry Johnson received no stipend. Id., ECF Nos. [331] ¶ 61, [388] ¶ 61.

          Under Havana Docks’ by-laws, Havana Docks’ directors are tasked with the authority to

   manage Havana Docks’ business, and the directors have assigned that responsibility to Mickael

   Behn and Jerry Johnson. Id., ECF Nos. [331] ¶ 38, [388] ¶ 38. Defendants do not dispute that

   between 2011 and January 2021, Johnson has at one point:




                                                    26
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 28 of 169




          •   performed duties to maintain Havana Docks’ corporate status active and in good
              standing to protect Havana Docks’ rights under the Certified Claim, id., ECF Nos. [337]
              ¶ 52, [367] ¶ 52;

          •   coordinated with Havana Docks’ CPA each year for the filing of Havana Docks’ Form
              1120 tax filing to the IRS and annual franchise tax filing to the state of Delaware, id.,
              ECF Nos. [337] ¶ 54, [367] ¶ 54;

          •   maintained Plaintiff’s ledger, balance sheets, income statements, id., ECF Nos. [337]
              ¶ 55, [367] ¶ 55;

          •   updated and maintained Havana Docks’ stockholders’ registry and coordinated and
              distributed information to stockholders for annual meetings, id., ECF Nos. [337] ¶ 56,
              [367] ¶ 56;

          •   recorded results from annual stockholders’ meetings, id., ECF Nos. [337] ¶ 57, [367]
              ¶ 57; and

          •   exercised his responsibilities from Lexington, Kentucky. Id., ECF Nos. [337] ¶ 59,
              [367] ¶ 59.

          Havana Docks asserts that Jerry Johnson also engaged lawyers, lobbyists, and consultants

   to pursue Havana Docks’ rights under the LIBERTAD Act, including these actions. Id., ECF No.

   [337] ¶ 58. Defendants agree but assert that Johnson engaged these individuals with Mickael

   Behn’s approval from London. Id., ECF No. [367] ¶ 58.

          When asked at deposition who decided to hire Havana Docks’ attorney, Mickael Behn

   testified, “[a]ll decisions are executed by Jerry Johnson,” and, “Jerry and I always talked about it,

   what we might do . . . [s]o I would have approved it with Jerry at the same time.” Id., ECF No.

   [331-113] at 26. When asked the same question later in his deposition, Mickael Behn responded,

   “[i]t would have been Jerry. I mean, in consultation with me. We always made decisions together.”

   Id., ECF No. [331-113] at 40. Mickael Behn was also asked, “Are there any decisions that Mr.

   Johnson can make on behalf of Havana Docks Corporation that didn’t require your input? Id.

   Mickael Behn answered, “I think paying taxes, investments, administration. Pretty much

   everything, I would say.” Id. Mickael Behn further testified that decisions relating to Havana



                                                    27
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 29 of 169




   Docks’ Certified Claim “would involve all the directors for compensation of the certified claim,”

   and he could not recall a decision Johnson made about Havana Docks’ Certified Claim that did not

   involve Mickael Behn’s input. Id. Mickael Behn testified that Johnson “has authority . . . to do

   what he needs to do for Havana Docks. It’s a certified claim. And to keep the company running.”

   Id.

          Jerry Johnson testified that he is “largely responsible” for “the day-to-day business

   decisions for Havana Docks,” but that he “report[s] to Mickael Behn who is the president of

   Havana Docks.” Id., ECF No. [331-102] at 29; see also id., ECF No. [331-112] at 13. Johnson also

   testified that Mickael Behn approved the hiring of Havana Docks’ CPA and corporate lawyer while

   Mickael Behn was in London. Id., ECF No. [331-112] at 61. Johnson explained that it was his own

   idea to hire the CPA and corporate lawyer, that he spoke with Mickael Behn on the telephone about

   it, and that Mickael Behn agreed with Johnson’s decision. Id. Johnson testified that Mickael Behn

   does not conduct any Havana Docks business in England, but “as president of the corporation, Mr.

   Behn is apprised of all of our actions.” Id., ECF No. [318-1] at 54.

          Defendants contend that “Mickael Behn is the officer who reviews and provides approval

   for payments, such as occasional consulting fees paid to Aphra Behn, Mickael Behn’s mother,

   Jerry Johnson, and Aaron Johnson (Jerry Johnson’s son).” Id., ECF No. [331] ¶ 55. As support,

   Defendants provide a printout of the “Disbursement Transactions” for Havana Docks showing

   three distributions made to Jerry Johnson (in 2018) and Aphra Behn (in February 2019) “PER

   REQUEST OF MICKAEL BEHN FOR CONSULTING FEE.” Id., ECF No. [331-135] at 7–8.

   Defendants also point to a May 2018 email where Jerry Johnson instructed his son to forward “to

   Mickael for his review and approval with [a] copy to me” an invoice for “time” Aaron Johnson

   had charged to Havana Docks. Id., ECF No. [331-136]. Aaron Johnson testified that his father




                                                   28
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 30 of 169




   wanted Mickael Behn to look at the invoice because his father “didn’t want to raise an issue with

   Mickael since I am my dad’s son.” Id., ECF No. [331-137] at 11. Havana Docks disputes that the

   referenced evidence supports Defendants’ assertion. Id., ECF No. [388] ¶ 55.

          Defendants also assert that “Mickael Behn is the officer who reviews and provides approval

   of drafts of corporate governance records.” Id., ECF No. [331] ¶ 56. As support, Defendants

   provide an email from August 1, 2018, with the subject line, “Consent in lieu documents,” in which

   Jerry Johnson instructed his son to forward to Mickael Behn “for his final approval” drafts of

   certain documents—the documents are not attached to the filed email. Id., ECF No. [331-138].

   Defendants also filed as part of their Omnibus Summary Judgment Motion, email communications

   from August 1 and August 2, 2018, in which Jerry Johnson sent to Mickael Behn “for final review”

   a PDF titled “Final - 2017 HDC Financial” and a Word document titled “Consent in Lieu of

   Stockholders Meeting.” Id., ECF No. [331-139]. The documents are not attached to the filed email.

   Id.

          Defendants submit that “Mickael Behn is the ultimate decision-making officer for Plaintiff

   with respect to lobbying and legal strategy.” Id., ECF No. [331] ¶ 57. As support, Defendants also

   filed a January 2019 email with the subject line, “Havana Docks Corp Letter for title III partial,”

   in which Jerry Johnson writes to Mickael Behn, “See what you think of the attached edited draft.”

   Id., ECF No. [331-140]. The referenced draft is not attached to the filed email. Id. Defendants also

   rely on an email dated March 5, 2019, in which Mickael Behn relates “some suggestions from the

   HDC camp” to Jerry Johnson, Aaron Johnson, and third parties, to language in an email detailing

   “Title III: Next Steps.” Id., ECF No. [331-141].

          B. Confiscation of the Terminal by the Cuban Government

          On October 24, 1960, under Resolution No. 3, the Fidel Castro-led Cuban Government




                                                   29
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 31 of 169




   naturalized all property located in Cuba of United States nationals, including Havana Docks’

   assets. Carnival, ECF Nos. [337] ¶¶ 27–28, [367] ¶¶ 27–28; see Carnival, ECF No. [73-6]; MSC,

   ECF No. [41-6]; Royal Caribbean, ECF No. [31-6]; Norwegian, ECF No. [43-6].

           Havana Docks contends that the Cuban Government never compensated Havana Docks for

   confiscating the Terminal. Carnival, ECF No. [337] ¶ 31. Defendants do not dispute this; instead,

   Defendants contend that the Cuban Government has always owned the Terminal and thus did not

   confiscate it from Havana Docks by continuing to own it. Id., ECF No. [367] ¶ 31.

           C. The Concession and the Certified Claim

           The Concession was established in 1905 when the Cuban Government awarded it to

   Compañía del Puerto for a term of 50 years. Carnival, ECF Nos. [337] ¶ 3, [367] ¶ 3. The

   Concession was published in 1905 in the Gaceta Oficial of the Republic of Cuba. Carnival, ECF

   No. [73-3]; MSC, ECF No. [41-3]; Royal Caribbean, ECF No. [31-3]; Norwegian, ECF No. [43-

   3]. The Concession was “for the construction of a jetty pier with machinery, a building for the

   Customs Department, a special department to be used by customs inspectors, and devices for

   loading and offloading, and all other accessory works in the port of this capital city.” Carnival,

   ECF No. [73-3] at 2. Per the Concession, “[t]he State assigns in usufruct 20 during the term of the

   concession that part of the San Francisco docks, as well as the public domain area, that will be

   occupied by the project’s works.” Id. at 3. The Concession states that

           [i]f at any time during the term of the concession the works were to be
           expropriated . . . by virtue of the application of the aforesaid Article 50 of the Ports
           Act, the Government or its agencies shall indemnify the concession holder for the
           value of all works built by the latter, including the Customs Inspectors Department
           and the dock on the north side of the jetty[.]

   Id. at 5.

   20
     “A right for a certain period to use and enjoy the fruits of another’s property without damaging or
   diminishing it, but allowing for any natural deterioration in the property over time.” Usufruct, Black’s Law
   Dictionary (11th ed. 2019).


                                                       30
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 32 of 169




           In addition, the Concession states:

           During the term of the concession, the concession holder shall, for its own account,
           maintain in good repair and in such condition the foundations, streets, buildings,
           and all other plant facilities that, upon the conclusion of said term, it may surrender
           the works to the Government in perfectly serviceable condition.

   Id.

           The Concession further provides:

           This concession is understood to be granted with no prejudice to third parties,
           except as regards the right of ownership, and on the understanding that the
           concession holder is bound by such laws of a general nature as have been, or may
           in the future be, issued with respect to this class of concessions.

   Id. at 8.

           In 1911, the Cuban Government recognized Compañía del Puerto’s transfer of the

   Concession to the Port of Havana Docks Company. Id., ECF Nos. [337] ¶ 9, [367] ¶ 9. The Port of

   Havana Docks Company sold the Concession and all rights and interests in the Concession to

   Havana Docks. Id., ECF Nos. [337] ¶ 11, [367] ¶ 11. In December 1920, the Cuban Government

   agreed to extend the Concession to 99 years. Id., ECF Nos. [337] ¶ 14, [367] ¶ 14. In September

   1934, the Cuban Government recognized the transfer of the Concession from the Port of Havana

   Docks Company to Havana Docks. Id., ECF Nos. [337] ¶ 20, [367] ¶ 20. The Cuban Government

   confiscated Havana Docks’ assets, which included the Concession, on October 24, 1960. Id., ECF

   Nos. [337] ¶¶ 27–28, [367] ¶¶ 27–28.

           On April 28, 1967, Havana Docks submitted a claim to the FCSC pursuant to the Settlement

   Act. Id., ECF Nos. [318-10], [337] ¶ 33, [367] ¶ 33. Havana Docks argued to the FCSC “that on

   the basis of a concession granted by the Government of Cuba, it owned and operated, at the

   entrance of the harbor of Havana three piers: the ‘San Francisco’, ‘Machina’ and ‘Santa Clara’

   linked with a large marginal building.” Id., ECF No. [73-8] at 6. Havana Docks claimed losses of




                                                     31
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 33 of 169




   more than $9 million, submitting as evidence (1) a trial balance as of the end of 1958; (2) balance

   sheets for years 1956 through 1959; (3) an auditor’s report from the end of 1958; (4) an evaluation

   from a civil engineer and professional appraiser in Cuba; and (5) and an inventory of the

   equipment, furniture, and fixtures as of the end of 1959. Id. at 8.

          On April 21, 1971, the FCSC issued its Final Decision No. CU-6165, Havana Docks’

   Certified Claim. Carnival, ECF No. [73-8]; MSC, ECF No. [41-8]; Royal Caribbean, ECF No.

   [31-8]; Norwegian, ECF No. [43-8]. The Certified Claim includes the following findings:

          •   Havana Docks was a “national of the United States” within § 1643a(1) because U.S.
              nationals owned more than 50 percent of the capital stock and, at the time of filing the
              claim, only approximately 3 percent of the shares were held by persons who were not
              U.S. nationals. E.g., Carnival, ECF No. [73-8] at 6.

          •   In 1934, the Cuban Government granted Havana Docks a “renewal of a concession for
              the construction and operation of wharves and warehouses in the harbor of Havana,
              formerly granted to its predecessor concessionaire, the Port of Havana Docks
              Company.” Id. at 7.

          •   Havana Docks “acquired at the same time the real property with all improvements and
              appurtenances located on the Avenida del Puerto between Calle Amargura and Calle
              Santa Clara in Havana, facing the Bay of Havana.” Id.

          •   In June 1946, “the property was encumbered with a mortgage in favor of certain
              bondholders for the amount of $1,600,000.00.” Id.

          •   Havana Docks “also owned the mechanical installations, loading and unloading
              equipment, vehicles and machinery, as well as furniture and fixtures located in the
              offices of the corporation.” Id.

          •   “[T]he Cuban assets of [Havana Docks] were nationalized by Resolution No. 3,
              published in the Official Gazette of October 24, 1960.” Id.

          The FCSC certified that Havana Docks suffered a loss as a result of the actions of the

   Government of Cuba in the amount of $9,179,700.88, plus six percent annual interest from the

   date of the loss. Id. at 4. The certified loss amount accounted for four categories: (1) “Concession

   and tangible assets” ($8,684,360.18); (2) “Securities” ($184,005.70); (3) “Accounts Receivable”

   ($301,055.00); and (4) “Debt of Cuban Government” ($10,280.00). Id. at 3.


                                                    32
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 34 of 169




          In determining that amount, the FCSC determined that Havana Docks’ balance sheet for

   the year ending in 1959 represented “the valuation most appropriate to the property and equitable

   to the claimant.” Id. at 9. The balance sheet provided a book value for “Land and Concession”

   ($2,000,000.00), “San Francisco and Machina Piers” ($4,758,829.00), and “Santa Clara Pier”

   ($2,110,845.00). Id. When describing the Concession, the FCSC stated: “[t]he terms of the

   concession granted by the Cuban Government were to expire in the year 2004, at which time the

   corporation had to deliver the piers to the government in good state of preservation.” Id. at 9.

          Havana Docks has always been the owner of the Certified Claim. Carnival, ECF Nos. [337]

   ¶¶ 40–41, [367] ¶¶ 40–41. The Certified Claim has been in the public records of the FCSC since

   1971. Id., ECF Nos. [337] ¶ 43, [367] ¶ 43.

          D. Defendants and Related Entities

               1. Carnival

          Carnival is a foreign corporation with its principal place of business in Miami-Dade

   County, Florida. Carnival, ECF Nos. [332] ¶ 1, [374] ¶ 1. Carnival Cruise Lines (“CCL”) is a

   division and brand of Carnival. Id., ECF Nos. [332] ¶ 2, [374] ¶ 2. HAL Nederland N.V. (“HAL”),

   Costa, and Fathom Travel Ltd. (“Fathom”) are subsidiaries of Carnival. Id., ECF Nos. [332] ¶¶ 3–

   5, [374] ¶¶ 3–5.

          In 1996, Carnival acquired a 29.6% equity interest in Airtours, a publicly-traded United

   Kingdom tour operator of cruise ships under the “Sun Cruises” brand. Id., ECF Nos. [326] ¶ 1,

   [332] ¶ 6, [374] ¶ 6, [377] ¶ 1. From 1997 to 2000, Carnival and Airtours each owned a 50% equity

   interest in Costa, an Italian company. Id., ECF Nos. [326] ¶¶ 8–9, [332] ¶ 10, [374] ¶ 10, [377]

   ¶¶ 8–9. In 2000, Carnival acquired Airtours’ 50% interest in Costa. Id., ECF Nos. [332] ¶ 11, [374]

   ¶ 11. In 2001, Carnival sold its interest in Airtours. Id., ECF Nos. [332] ¶ 9, [374] ¶ 9.




                                                    33
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 35 of 169




           Before June 1997, when Carnival made its first acquisition in Costa, Costa was in a joint

   venture with the Cuban Government to manage operations at the Terminal, and Costa was

   operating a cruise ship that used the Terminal. Id., ECF No. [326] ¶¶ 13, 15, [377] ¶¶ 13, 15.

   Carnival represents that its acquisition in Costa was authorized by a specific OFAC license. Id.,

   ECF No. [326] ¶¶ 16–18. Carnival’s Rule 30(b)(6) Corporate Representative, Arnaldo Perez,

   testified that as part of Carnival’s acquisition of Costa, OFAC issued a specific license in February

   1997 requiring that Costa abandon the joint venture and unwind operations in Cuba within six

   months. Id., ECF No. [326-2] at 71–75. Neither Carnival nor OFAC has been able to locate and

   produce the 1997 license. Id. at 72, 77–78.

                 2. MSC

           MSC SA is chartered and located in Geneva, Switzerland. MSC, ECF Nos. [224] ¶ 1, [253]

   ¶ 1. Between 2015 and 2019, MSC SA owned and operated the MSC Opera and MSC Armonia

   cruise ships, which sailed to Cuba. Id., ECF Nos. [224] ¶ 11, [253] ¶ 11. MSC is the parent

   company of MSC USA, which is based in Fort Lauderdale, Florida. Id., ECF Nos. [224] ¶¶ 12–

   15, [253] ¶¶ 12–15. MSC USA transacted business on behalf of MSC SA by selling and marketing

   MSC SA’s cruises from Miami to Cuba. Id., ECF Nos. [224] ¶¶ 16–18, [253] ¶¶ 16–18. MSC USA

   received revenue from marketing and selling tickets for cruises to Cuba. Id., ECF Nos. [224] ¶ 19,

   [253] ¶ 19.

           MSC SA was also the parent company of MSC Co., another Fort Lauderdale-based

   subsidiary. Id., ECF Nos. [224] ¶¶ 12, 22, 24, [253] ¶¶ 12, 22, 24. MSC Co. was administratively

   dissolved during the pendency of this lawsuit, in September 2020. Id., ECF Nos. [224] ¶ 23, [253]

   ¶ 23.




                                                    34
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 36 of 169




               3. Royal Caribbean

          Royal Caribbean is a foreign corporation that maintains its principal executive office in

   Miami, Florida. Royal Caribbean, ECF Nos. [141] ¶ 1, [172] ¶ 1. Royal Caribbean operated cruises

   to Cuba under at least two brands: Azamara and Royal Caribbean International. Id., ECF Nos.

   [141] ¶ 2, [172] ¶ 2. Havana Docks contends that Royal Caribbean also operated under the brand

   Silversea. Id., ECF No. [141] ¶ 2. Royal Caribbean disputes this, stating that although it owned a

   two-thirds interest in Silversea, it did not control Silversea or provide Silversea services for its

   cruises to Cuba. Id., ECF No. [172] ¶ 2. Royal Caribbean acquired its interest in Silversea in 2018.

   Id., ECF Nos. [133] ¶ 44, [183] ¶ 44.

          Royal Caribbean operated The Majesty of the Seas and the Nordic Empress (also known as

   the Empress of the Seas) ships under the Royal Caribbean International brand. Id., ECF Nos. [141]

   ¶ 3, [172] ¶ 3. Royal Caribbean also operated the Journey and the Quest ships under the Azamara

   brand. Id., ECF Nos. [141] ¶ 6, [172] ¶ 6.

               4. Norwegian

          Norwegian is a foreign corporation that maintains its principal executive office in Miami,

   Florida. Norwegian, ECF Nos. [228] ¶ 1, [282] ¶ 1. Norwegian operated three brands that traveled

   to Cuba: Norwegian Cruise Line, Oceania Cruises, and the Regent Seven Seas. Id., ECF Nos. [228]

   ¶ 2, [282] ¶ 2. Norwegian Cruise Line operated the Norwegian Sky and the Norwegian Sun ships;

   Oceania Cruises operated the MS Marina, MS Insignia, MS Regatta, MS Sirena, and MS Riviera

   ships; and Regent Seven Seas operated the MS Seven Seas Mariner, MS Seven Seas Navigator,

   and the MS Seven Seas Voyager ships. Id., ECF Nos. [228] ¶¶ 3–5, [282] ¶¶ 3–5.




                                                   35
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 37 of 169




            E. Specific and/or General Licenses

                1. Carnival

            In May 2015, Carnival submitted an authorization request to OFAC to conduct carrier

   services to Cuba. Carnival, ECF Nos. [326] ¶ 33, [377] ¶ 33; see id., ECF No. [326-26] at 5–15.

   In the request, Carnival proposed that “each day ashore will be programmed with at least 8 hours

   of P2P activity” for its passengers. Id., ECF No. [326-26] at 9. Carnival represented that “[a]ll of

   the on-shore activities organized and lead by Carnival personnel and its contractors or P2P

   Licensees are designed to be educational in nature and to provide opportunities for meaningful

   interaction between the traveler and individuals in Cuba,” and that “[t]he on-shore programs will

   not be individually selected or self-directed and will provide a full-time schedule of activities.” Id.

   at 11.

            Carnival provided to OFAC an “Illustrative Cuba Itinerary,” consisting of one-and-half

   days in Havana, stops in Cienfuegos and Santiago de Cuba, and two-and-a-half days at sea. Id. at

   16. Carnival represented that “[a]ll shore activities and onboard programming will be included in

   the trip fare and prepaid in the USA” and “[e]ach day of the trip will have sufficient capacity of

   organized P2P shore activities to accommodate all 740 passengers in motor coaches, vans or other

   conveyances with English speaking Cuban guides leading the activity.” Id. at 17. For the first day

   in Havana, Carnival outlined six activities: “Old City Walking Experience (Cultural Heritage and

   Micro-Enterprise Development),” “Afro-Cuban Community Meeting (Cultural Exchange and

   Artistic Impact),” “Cuba Art’s Today: Muraleando, La Colmenita (Arts History and the

   Humanitarian Impact of Arts + Music),” “Journalistic Perspective (Journalism + Documentary),”

   “Hemingway (Literature and Micro-enterprise History),” and “Alamar: Planned Soviet-style

   Community (Infrastructure + Community Gardens).” Id. at 17–18. For the second day in Havana,




                                                     36
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 38 of 169




   Carnival also outlined six activities: (1) “Rural Cuba (Micro-Enterprise, Community Health +

   Medical Workshop),” “Old Havana Booksellers (literacy, literature + micro-enterprise),” “Casa

   Fuster and Fusterlandia (Art + Immersion + Micro-enterprise Development),” “Interaction with

   Cuban Professionals (Professional Exchange, Meeting and Research, Economic Development),”

   “Organic Farm: Visit an organoponico (Urban Organic Farm and Agriculture + Microenterprise),”

   and “Paladares: The Entrepreneurs of Modern Cuba (Economic Development, Entrepreneurship

   and Micro-Enterprise).” Id. at 19–20.

           Carnival set forth similar activities for the days ashore in Cienfuegos and Santiago de Cuba.

   Id. at 21–24. In addition, Carnival stated that there would be an on-board film series, lecture series,

   and entertainment during the days at sea. Id. at 19, 21, 25.

           Shortly after Carnival submitted its request, a Sanctions Licensing Officer from OFAC’s

   Licensing Division sent an email to Carnival seeking “additional clarification on a few matters

   before continuing to process the Application.” Id. at 27. The Licensing Officer asked, among other

   questions, “Could passengers decide to opt out of the on-the-ground P2P / other authorized

   activities altogether at certain destinations?” Id. Carnival answered,

           Passengers will be expected to participate in the on-the-ground P2P programs. As
           discussed below, on-the-ground P2P programs will be included in the voyage fare.
           Carnival will take steps to identify and monitor the passengers that sign up for the
           full-time programming onshore provided by Carnival. Specifically, all passengers
           will be expected to participate in one or more of the authorized onshore P2P
           programs. Carnival will obtain certifications from passengers and will advise them
           that should they disembark the ship to go on an unauthorized excursion, such
           activity may be a violation of the OFAC rules.

   Id. at 26.

           In a supplemental letter to OFAC, Carnival stated that it had “launched its new brand,

   Fathom, dedicated to purpose-driven social impact,” and that it would be “using the Fathom

   program to provide meaningful social impact travel for authorized passengers, and such program



                                                     37
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 39 of 169




   [could] be easily tailored to meet the requirements of the full-time schedule for people-to-people

   travel pursuant to the [CACR].” id., ECF No. [326-26] at 2–3.

          In July 2015, OFAC granted Carnival a specific license to provide “carrier services” to

   Cuba and lodging, “including when docked at a port in Cuba.” Id., ECF Nos. [326] ¶ 37, [377]

   ¶ 37; see id., ECF Nos. [326-26] at 32, [326-35] at 4.21 OFAC’s letter granting the carrier-services

   specific license stated that it was not granting a further specific license for people-to-people travel,

   because the CACR already authorized people-to-people travel by general license. Id., ECF No.

   [326-26] at 32–33. OFAC explained, “[p]rovided that the organization sponsoring and organizing

   the program and individuals participating in the program comply with the requirements of the

   general license, no further authorization would be required.” Id. at 33.

          The letter advised that “OFAC does not view onboard lectures while in port as satisfying

   the requirements of the general license at section 515.565(b)(2).” Id. The letter stated “[t]hat

   general license authorizes educational exchanges to promote people-to-people contact, namely

   contact between the traveler and nationals of Cuba, which would not occur in the case of an

   onboard lecture or similar activity.” Id. (emphasis in original). Moreover, OFAC stated in the letter

   that “[t]he enclosed specific license does not authorize Carnival to transport any person who will

   disembark in Cuba and who is not authorized by a general license or a separate specific license.”

   Id. Finally, the letter warned that “compliance with the requirements of the CACR does not excuse

   a U.S. person from the need to comply with other provisions of 31 C.F.R. chapter V, and with other

   applicable provisions of law.” Id.

          The license itself similarly cautioned that it “does not excuse compliance with any law or

   regulation (including reporting requirements) administered by [OFAC] or any other agency


   21
     The CACR did not allow common carrier services by vessel to and from Cuba by general license until
   September 2015. See § 515.572(a)(2) (Sept. 2015).


                                                     38
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 40 of 169




   applicable to the transactions herein licensed, nor does it release the Licensees or third parties from

   civil or criminal liability for violation of any law or regulation.” Id., ECF No. [326-35] at 4. The

   license also stated, “nothing in this License authorizes any person subject to the jurisdiction of the

   United States to engage in any transaction or activity prohibited by the CACR, or by any other

   laws and regulations administered by [OFAC].” Id. at 5. Moreover, the license stated that it

   “appl[ies] only to the laws and regulations administered by OFAC and should not be interpreted

   to excuse the Licensees from compliance with other laws, regulations, orders, or rulings to which

   they may be subject[.]” Id.

          The U.S. Government did not require Carnival to cruise to Havana. Id., ECF Nos. [332]

   ¶ 46, [374] ¶ 46. The U.S. Government did not direct Carnival where to dock its ships in Cuba.

   Id., ECF Nos. [332] ¶ 47, [374] ¶ 47. It was not necessary for a Carnival cruise ship to dock at the

   Terminal to cruise to Santiago de Cuba, Cuba, or Cienfuegos, Cuba. Id., ECF Nos. [332] ¶ 50,

   [374] ¶ 50. Carnival could, and did, dock its ships and embark and disembark its passengers at

   Santiago de Cuba and Cienfuegos. Id., ECF Nos. [332] ¶ 53, [374] ¶ 53. Carnival’s ships could,

   and did, anchor offshore and tender passengers in Cienfuegos and Santiago de Cuba. Id., ECF Nos.

   [332] ¶ 54, [374] ¶ 54.

               2. MSC

          OFAC did not give MSC SA a specific license to use, operate, and embark and disembark

   passengers on the Terminal. MSC, ECF Nos. [224] ¶ 81, [253] ¶ 81. OFAC never provided a

   specific license to MSC SA with regard to any of its cruises to Cuba. Id., ECF Nos. [224] ¶ 82,

   [253] ¶ 82. The OFAC general license did not specify the use of the Terminal. Id., ECF Nos. [224]

   ¶ 78, [253] ¶ 78. OFAC did not provide any specific approval of a specific port to be used by the

   MSC ships during their cruises to Cuba. Id., ECF Nos. [224] ¶ 80, [253] ¶ 80.




                                                     39
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 41 of 169




          The U.S. Government did not require MSC SA to cruise to Havana. Id., ECF Nos. [224]

   ¶ 70, [253] ¶ 70. The U.S. Government did not instruct, direct or designate MSC SA, whether

   orally or in writing, to use the Terminal in its cruises to Cuba. Id., ECF Nos. [224] ¶ 73, [253] ¶ 73.

   The U.S. Government did not inform MSC SA that it could not go to another port in Cuba besides

   Havana. Id., ECF Nos. [224] ¶ 74, [253] ¶ 74. And MSC SA was not required to cruise to Cuba.

   Id., ECF Nos. [224] ¶ 75, [253] ¶ 75.

          The Cuban Government authorized MSC ships to sail to Punta Frances, Isla de la Juventud,

   Cuba, and to transport passengers to and from shore by tender boats. Id., ECF Nos. [224] ¶ 93,

   [253] ¶ 93. MSC SA could and did embark and disembark passengers in Punta Frances. Id., ECF

   Nos. [224] ¶ 94, [253] ¶ 94.

               3. Royal Caribbean

          Neither Havana Docks nor Royal Caribbean address whether Royal Caribbean was ever

   issued a specific license to travel to Cuba. In any event, Havana Docks and Royal Caribbean agree

   that the U.S. Government did not direct Royal Caribbean where to sail in Cuba. Royal Caribbean,

   ECF Nos. [141] ¶ 59, [172] ¶ 59. Nor did the U.S. Government require Royal Caribbean to dock

   at the Terminal. Id., ECF Nos. [141] ¶ 60, [172] ¶ 60. The Cuban Government likewise did not

   require Royal Caribbean to cruise to Havana. Id., ECF Nos. [141] ¶ 61, [172] ¶ 61. The Cuban

   Government did not require that Royal Caribbean use the Terminal to cruise to Cuba. Id., ECF

   Nos. [141] ¶ 62, [172] ¶ 62.

          In December 2014, Royal Caribbean identified six ports in Havana that could

   accommodate its cruise ships: Matanzas, Holguin, Santiago, Manzanillo, Cienfuegos, and Havana.

   From at least 2017 to 2019, the Cuban authorities allowed Royal Caribbean to operate cruises that

   called in Cienfuegos and Santiago de Cuba. Id., ECF Nos. [141] ¶ 63, [172] ¶ 63. The ports of




                                                     40
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 42 of 169




   Cienfuegos and Santiago de Cuba have immigration, customs, and medical screening capabilities.

   Id., ECF Nos. [141] ¶ 75, [172] ¶ 75. The Royal Caribbean ships did not need to use the Terminal

   to sail to Cienfuegos or Santiago. Id., ECF Nos. [141] ¶ 74, [172] ¶ 74. In 2018 and 2019,

   Cienfuegos, Cuba, was the first port of call in Cuba for nine cruises on the Empress of the Seas.

   Id., ECF Nos. [141] ¶ 71, [172] ¶ 71. The Empress of the Seas, Azamara Quest, and Azamara

   Journey called at Cienfuegos between 2017 and 2019 and called at Santiago de Cuba between

   2018 and 2019. Id., ECF Nos. [141] ¶¶ 72–73, [172] ¶¶ 72–73. The Royal ships did not need to

   use the Terminal to sail to Cienfuegos or Santiago. Id., ECF Nos. [141] ¶ 74, [172] ¶ 74.

          In 2018, OFAC audited, by way of a subpoena and an on-site visit, Royal Caribbean’s

   “provision of travel, carrier, and other transportation-related services in connection with travel-

   related transactions involving Cuba.” Id., ECF No. [122-23] at 2, 3. Following the audit, in June

   2019, OFAC sent Royal Caribbean a “Cautionary Letter.” Id., ECF No. [122-23]. The Cautionary

   Letter informed Royal Caribbean that “[t]ravel-related transactions involving Cuba are authorized

   by general license only if the travel falls into one of the [12] categories” for travel under the CACR.

   Id. at 4. The letter further emphasized that “[t]ravel-related transactions to, from, or involving Cuba

   for any other purpose, or that do not meet the full criteria and conditions of one or more of the [12]

   categories of general licenses, including recordkeeping requirements, are prohibited.” Id.

          The Cautionary Letter advised that the audit had “revealed areas of concern related to

   [Royal Caribbean’s] compliance with its recordkeeping obligations.” Id. at 5. Specifically, a

   sampling of passenger affidavits showed that “12 paper certifications failed to either select a

   general travel license or provide a specific license number” and “five certifications . . . had hand

   written comments indicating that the individual traveler did not intend to disembark in Cuba,”

   which was contrary to Royal Caribbean’s “policy that passengers could not embark on a voyage




                                                     41
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 43 of 169




   to Cuba without providing the general license number that authorized their travel.” Id. The

   Cautionary Letter advised that it “represents a final enforcement response to the apparent

   violations, but does not constitute a final agency determination as to whether violations have

   occurred.” Id.

               4. Norwegian

          On July 14, 2015, Norwegian submitted a License Application to OFAC to

          [r]equest authorization (1) to provide carrier services by vessel to, from, and within
          Cuba in connection with the travel or transportation between the United States and
          Cuba of persons, baggage, and cargo authorized pursuant to the Cuban Assets
          Control Regulations, and (2) to provide lodging aboard vessels to passengers and
          crew while the vessel is traveling to and from Cuba, docked at port (or otherwise
          stationary) in Cuban waters, and while traveling from location to location within
          Cuba.

   Norwegian, ECF Nos. [234] ¶ 1, [284] ¶ 1. On August 3, 2015, Norwegian submitted an Export

   License Application to the United States Department of Commerce Bureau of Industry and

   Security (“BIS”) to request authorization for the “[t]emporary sojourn of Oceania and Regent

   Seven Seas vessels to Cuba, along with accompanying passengers, crew, and ship stores, in

   connection with OFAC authorized provision of carrier services by vessel to, from, and within

   Cuba.” Id., ECF Nos. [234] ¶ 2, [284] ¶ 2. BIS granted Norwegian’s August 3, 2015, specific

   license application. Id., ECF Nos. [234] ¶ 3, [284] ¶ 3. From OFAC, Norwegian received a letter

   dated October 5, 2015, informing Norwegian that “[i]n light of the recent regulatory amendments.”

   Id., ECF Nos. [234] ¶ 4, [284] ¶ 4. Neither the U.S. Government nor OFAC directed Norwegian

   where to sail in Cuba. Id., ECF Nos. [228] ¶¶ 51–52, [282] ¶¶ 51–52.

          The Cuban Government did not require that Norwegian stop at a particular port in Cuba on

   any particular day. Id., ECF Nos. [228] ¶ 54, [282] ¶ 54. The Cuban Government authorized

   Norwegian to berth at Santiago de Cuba, Cienfuegos, and Havana. Id., ECF Nos. [228] ¶ 55, [282]




                                                   42
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 44 of 169




   ¶ 55. Norwegian could, and did, dock its ships and embark and disembark its passengers at

   Santiago and Cienfuegos. Id., ECF Nos. [228] ¶ 59, [282] ¶ 59. Norwegian’s ships also anchored

   offshore and tendered passengers to shore in Santiago de Cuba and Cienfuegos. Id., ECF Nos.

   [228] ¶ 60, [282] ¶ 60. The port facilities in the Cuban ports of Santiago and Cienfuegos housed

   medical screening, immigration, and customs services for cruise passengers. Id., ECF Nos. [228]

   ¶ 62, [282] ¶ 62. Norwegian acknowledges that persons could satisfy then-existing OFAC travel-

   category restrictions by visiting cities in Cuba other than Havana. Id., ECF Nos. [228] ¶ 58, [282]

   ¶ 58.

           F. Defendants’ Use of the Terminal

           Carnival’s, MSC SA’s, Royal Caribbean’s, and Norwegian’s ships docked at the Terminal’s

   first pier, the San Francisco Pier, when they traveled to Havana. Carnival, ECF Nos. [331] ¶ 22,

   [388] ¶ 22. The following is a summary of the Defendants’ activities:

               1. Carnival

           From May 2016 to April 2017, Fathom ship Adonia docked at the Terminal 31 times, listing

   20,999 passengers on the manifests. Id., ECF Nos. [332] ¶¶ 23–24, [374] ¶¶ 23–24. From

   December 2017 to April 2019, HAL ship Veendam docked at the Terminal 19 times, listing 30,401

   passengers on the manifests. Id., ECF Nos. [332] ¶¶ 25–26, [374] ¶¶ 25–26. From June 2017 to

   May 2019, CCL ships Paradise and Sensation docked at the Terminal 33 times, listing 76,213

   passengers on the manifests. Id., ECF Nos. [332] ¶¶ 27–28, [374] ¶¶ 27–28.

           Carnival’s ships docked at the Terminal to disembark and embark passengers. Id., ECF

   Nos. [332] ¶ 17, [374] ¶ 17. Carnival intentionally traveled to Havana, but Carnival submits that

   the Cuban Government required Carnival to embark and disembark passengers at the Terminal and

   repeatedly denied Carnival’s requests to dock at other ports in Havana or to anchor and tender in




                                                   43
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 45 of 169




   Havana. Id., ECF No. [374] ¶ 18. Havana Docks further contends that from 2018 to 2020, Carnival

   provided “recommendations and advice” for the renovation and enhancement of the Terminal. Id.,

   ECF No. [332] ¶ 34. Carnival disputes Havana Docks’ characterization but admits that it “provided

   technical information about requirements for Carnival ships to safely dock at the Terminal.” Id.,

   ECF No. [374] ¶ 34.

               2. MSC

          Between 2016 and 2018, the Armonia made 65 voyages that started and ended in Havana

   and docked at Terminal. MSC, ECF Nos. [224] ¶ 41, [253] ¶ 41. From December 2018 through

   June 2019, the Armonia made 25 voyages from Miami to Havana, docking at the Terminal on 50

   calendar days and listing in its manifests 51,908 passengers. Id., ECF Nos. [224] ¶¶ 40, 48, [253]

   ¶¶ 40, 48. Between 2015 and 2019, the Opera made 100 voyages that began and ended in Havana

   and docked at the Terminal. Id., ECF Nos. [224] ¶ 45, [253] ¶ 45. The Opera averaged 2,000

   passengers for each call to Havana. Id., ECF Nos. [224] ¶ 61, [253] ¶ 61.

          Between 2015 and 2019, the MSC ships docked at the Terminal on all their voyages to

   Havana. MSC, ECF Nos. [224] ¶ 34, [253] ¶ 34. During that period, the Opera docked at the

   Terminal to embark and disembark passengers in Havana in connection with Cuba-to-Cuba

   cruises. Id., ECF Nos. [224] ¶ 35, [253] ¶ 35. The Opera used the Terminal as a homeport from

   2015 to 2019. Id., ECF Nos. [224] ¶ 37, [253] ¶ 37.

          Between December 2018 and June 2019, the Armonia docked at the Terminal to embark

   and disembark passengers in Havana in connection with Miami-to-Cuba cruises. Id., ECF Nos.

   [224] ¶¶ 36, 40, [253] ¶¶ 36, 40. The Armonia used the Terminal as a homeport in 2016, 2017, and

   2018. Id., ECF Nos. [224] ¶ 38, [253] ¶ 38. The Opera homeporting at the Terminal from 2015

   through March 2019 in connection with Cuba-to-Cuba cruises overlapped with the Armonia’s




                                                  44
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 46 of 169




   Miami-to-Cuba cruises. Id., ECF Nos. [224] ¶ 39, [253] ¶ 39. The Armonia was the only MSC SA

   ship to cruise from the U.S. to Cuba. Id., ECF Nos. [210] ¶ 15, [259] ¶ 15.

          MSC SA disembarked passengers from the Armonia at the Terminal for shore excursions

   in Havana. Id., ECF Nos. [224] ¶ 49, [253] ¶ 49. The shore excursions offered in Havana to

   passengers on the MSC ships began and ended at the Terminal. Id., ECF Nos. [224] ¶ 50, [253]

   ¶ 50. MSC cruise passengers also cleared customs and immigration on the first floor of the

   Terminal. Id., ECF Nos. [259] ¶ 48, [273] ¶ 48.

               3. Royal Caribbean

          Between 2017 and 2019, the Quest, Journey, Empress of the Seas, and Majesty of the Seas

   docked at the Terminal on 193 voyages for a total of 334 days, carrying a total of 347,008

   passengers. Royal Caribbean, ECF Nos. [141] ¶¶ 29–30, [172] ¶¶ 29–30. The first ship to dock at

   the Terminal was the Quest on March 31, 2017. Id., ECF No. [141] ¶ 28, [172] ¶ 28. The Empress

   of the Seas last docked at the Terminal on June 5, 2019. Id., ECF No. [141] ¶ 32, [172] ¶ 32.

          Royal Caribbean intentionally docked at the first pier of the Terminal to disembark and

   embark its passengers. Id., ECF Nos. [141] ¶ 27, [172] ¶ 27. Many of Royal Caribbean’s passengers

   boarded buses parked on the ground floor of the Terminal to take them on excursions, which Royal

   Caribbean claims are “people-to-people excursions.” Id., ECF Nos. [141] ¶ 34, [172] ¶ 34. Most

   shore excursions began and ended at the Terminal. Id., ECF Nos. [141] ¶ 93, [172] ¶ 93.

               4. Norwegian

          Between 2017 and 2019, 10 different Norwegian ships collectively provided passenger

   carrier services to Havana 166 times, docking at the Terminal for a collective total of 299 calendar

   days. Norwegian, ECF Nos. [228] ¶ 15, [282] ¶ 15. Norwegian intended to travel to Havana, and

   Norwegian docked at Pier 1 of the Terminal to disembark and embark its passengers. Id., ECF




                                                     45
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 47 of 169




   Nos. [228] ¶ 14, [282] ¶ 14. Norwegian docked its ships at the Terminal on every voyage to Cuba.

   Id., ECF Nos. [284] ¶ 71, [309] ¶ 71. Some of Norwegian’s passengers boarded buses parked on

   the ground floor of the Terminal to take them on shore excursions, which Norwegian states were

   people-to-people shore excursions. Id., ECF Nos. [228] ¶ 18, [282] ¶ 18.

          G. Defendants’ Contracts and Payments to Cuban Entities

               1. Carnival

          From 2016 to 2018, Carnival contracted with three Cuban Government agencies to use the

   Terminal. Carnival, ECF Nos. [332] ¶¶ 29–31, [374] ¶¶ 29–31; see id., ECF Nos. [311-29], [311-

   32], [322-6], [322-7], [322-8]. First, Carnival entered into a series of commercial contracts with

   Aries Transportes, S.A. (“Aries”), part of the Cuban Government’s Ministry of Transportation

   serving as its port authority, for Carnival’s ships to dock at the Terminal. Id., ECF Nos. [332] ¶ 29,

   [374] ¶ 29. Second, Carnival entered into a series of commercial contracts with Empresa

   Consignatoria Mambisa (“Mambisa”), part of the Cuban Government Ministry of Transportation

   serving as its port agent, for Carnival’s ships to use the Terminal. Id., ECF Nos. [332] ¶ 30, [374]

   ¶ 30. Third, Carnival entered into a series of commercial contracts with Grupo Internacional de

   Turoperadores y Agencias de Viajes, Havanatur S.A. (“Havanatur”),22 part of the Cuban

   Government’s Ministry of Tourism serving as its tour operator, related to Carnival’s use of the

   Terminal. Id., ECF Nos. [332] ¶ 31, [374] ¶ 31; see id., ECF Nos. [311-33], [322-7].

          Carnival paid a total of $18,629,807.71 related to its cruises to Cuba, with $12,461,542.99

   paid to Havanatur; $3,480,380.40 paid to Mambisa; and $2,605,429.34 paid to the Aries. Id., ECF

   Nos. [332] ¶ 32, [374] ¶ 32. Carnival never made any payments in Cuba to anyone or any entity


   22
     Carnival identifies Havanatur as “Havanatur Celimar ABG.” Carnival, ECF No. [332] ¶ 31. The service
   contracts between Carnival and Havanatur, however, identified Havanatur as “Grupo Internacional de
   Turoperadores y Agencias de Viajes, Havanatur S.A.” See id., ECF Nos. [311-33], [322-7]. The name under
   the service contracts is also consistent with how other Defendants refer to the Cuban company.


                                                     46
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 48 of 169




   that was not affiliated with the Cuban Government. Id., ECF Nos. [332] ¶ 33, [374] ¶ 33.

               2. MSC

           From 2015 to 2019, MSC SA entered into contracts with Aries to dock at the Terminal.

   MSC, ECF Nos. [224] ¶ 51, [253] ¶ 51; see id., ECF Nos. [202-30], [202-31], [218-13]. In 2015,

   MSC SA entered into contracts with Agencia Maritima Mapor S.A. (“Mapor”) 23 to act as its port

   agent in Havana. Id., ECF Nos. [224] ¶ 52, [253] ¶ 52; see id., ECF No. [218-14]. MSC SA paid

   Aries indirectly through Mapor for fees charged for the use of the Terminal by MSC ships for

   docking and the embarkation and disembarkation of passengers. Id., ECF Nos. [224] ¶ 53, [253]

   ¶ 53. MSC SA paid Mapor at least $9,314,386.41 related to Mapor’s services as ship agent for

   MSC SA and for the use of the Terminal. Id., ECF Nos. [224] ¶ 55, [253] ¶ 55.

           In 2018, MSC SA contracted with Agencia Viajes Cubanacan S.A. (“Cubanacan”) to

   operate shore excursions in Havana that MSC SA sold to passengers. Id., ECF Nos. [224] ¶ 56,

   [253] ¶ 56; see id., ECF No. [218-9]. Cubanacan was a part of the Cuban Government’s Ministry

   of Tourism. Id., ECF Nos. [224] ¶ 57, [253] ¶ 57. Cubanacan provided ground and transportation

   services to and from the Terminal for MSC SA passengers going on excursions. Id., ECF Nos.

   [224] ¶ 58, [253] ¶ 58. MSC SA paid Cubanacan $7,623,480.37 for shore excursions offered to

   MSC ship passengers. Id., ECF Nos. [224] ¶ 59, [253] ¶ 59.

           According to the Shore Excursion Agreement between MSC SA and Cubanacan, “VIAJES

   CUBANACAN is engaged in the business of organizing, promoting and selling tourist excursions



   23
      There is some dispute in the record as to whether the Cuban Government owns Mapor. In answers to
   requests for admissions, MSC could neither admit nor deny that Mapor is owned, or is a part of, the Cuban
   Government. MSC, ECF No. [218-4] at 44–45. Luigi Pastena, Vice President of Port Operations at an MSC-
   affiliated entity, id., ECF No. [201-8] at 5, testified that Mapor was “a private agency,” id. at 18. But
   Massimiliano Mio, MSC SA’s chief legal officer, id., ECF No. [201-6] at 4, testified at deposition that
   Mapor was one of the Cuban entities with which MSC SA contracted, id. at 38. The dispute does not change
   the analysis given that MSC SA paid Aries, a Cuban entity, through Mapor.


                                                      47
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 49 of 169




   in the Cuban national territory.” Id., ECF No. [218-9] at 3. The agreement states that Cubanacan

   is “capable and willing to assume the organization, promotion and sale of tourist excursions in the

   Cuban national territory,” and that it would provide “tourist services described below . . . during

   the term of the operation of THE VESSELS [defined as the Opera and Armonia], between

   December 1, 2018 and November 30, 2019.” Id. at 3–4. Part of Cubanacan’s responsibilities

   included “[t]o assist . . . the tourists before the authorities of the country and in all the necessary

   legal procedures during the agreed season, for the realization of [MSC SA’s] shore excursions in

   Cuba.” Id. at 5. MSC SA, in turn, had to, among other things, ensure that it communicated to

   Cubanacan the “[l]anguage of the tourists” who bought excursions and “guarantee that the tourists

   traveling on THE VESSELS and taking the tourist excursions with [Cubanacan] have a valid

   insurance policy.” Id. at 7.

          The only persons or entities in Cuba to which MSC SA made payments in connection with

   its U.S.-to-Cuba cruises were Comar (Cuba-based lawyers24), Mapor, and Cubanacan. Id., ECF

   Nos. [259] ¶ 81, [273] ¶ 81.

               3. Royal Caribbean

          From 2016 to 2017, Royal Caribbean contracted with three Cuban Government agencies

   related to the use of the Terminal. Royal Caribbean, ECF Nos. [141] ¶¶ 37, 41, 45, [172] ¶¶ 37,

   41, 45; see also id., ECF Nos. [128-17], [128-20], [128-21]. First, Royal Caribbean entered into

   contracts with Aries to dock its ships at the first pier at the Terminal. Id., ECF Nos. [141] ¶ 37,

   [172] ¶ 37. Second, Royal Caribbean entered into a series of contracts with Mambisa to act as port

   agent in Havana. Id., ECF Nos. [133] ¶ 23, [141] ¶ 41, [172] ¶ 41, [183] ¶ 23. Third, Royal

   Caribbean entered into a series of contracts with Havanatur to operate shore excursions in Havana


   24
    MSC SA paid Comar, a Cuban law firm, $27,000.00 for legal services in connection with cruises to Cuba.
   MSC, ECF Nos. [201-6] at 38–39, [218-4] at 42.


                                                     48
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 50 of 169




   that were sold by Royal Caribbean to its passengers. Id., ECF Nos. [141] ¶ 45, [172] ¶ 45. The

   Cuban Government owns Aries, Mambisa, and Havanatur. Id., ECF Nos. [141] ¶¶ 39, 43, 46, [172]

   ¶¶ 39, 43, 46.

          Royal Caribbean paid Aries $6,982,902.88 related to cruises to Cuba that sailed from

   March 2017 to June 2019. Id., ECF Nos. [141] ¶ 40, [172] ¶ 40. Royal Caribbean also paid

   Mambisa $3,583,630.00 for its port agent services. Id., ECF Nos. [141] ¶ 44, [172] ¶ 44. Royal

   Caribbean paid Havanatur $19,314,276.21 in connection with shore excursions for passengers in

   Cuba, most of which began and ended at the Terminal. Id., ECF Nos. [141] ¶ 47, [172] ¶ 47. Royal

   Caribbean made payments only to Aries, Mambisa, Comar, and Havanatur. Id., ECF Nos. [141]

   ¶ 36, [172] ¶ 36.

               4. Norwegian

          From 2016 to 2019, Norwegian contracted with three Cuban Government agencies related

   to the use of the Terminal. Norwegian, ECF Nos. [228] ¶¶ 21–23, 27–29, 31–32, [282] ¶¶ 21–22,

   27–28, 31–32; see id., ECF Nos. [282-2], [282-3], [282-4]. First, Norwegian entered into various

   agreements and supplements with Aries to provide port berthing operations services for

   Norwegian’s passenger cruises at the Terminal’s Pier 1. Id., ECF Nos. [228] ¶ 21, [282] ¶ 21. Aries

   was the port authority that operated the Terminal, and it acted on behalf of the Cuban Government.

   Id., ECF Nos. [228] ¶¶ 22–23, [282] ¶¶ 22–23. Second, Norwegian entered into an agreement and

   supplements with Mambisa to provide port agent services for Norwegian’s passenger cruises the

   Terminal’s Pier 1. Id., ECF Nos. [228] ¶ 27, [282] ¶ 27. Mambisa is the port agent that operated

   the Terminal when Norwegian provided passenger carrier services to Cuba, and Mambisa acted on

   behalf of the Cuban Government. Id., ECF Nos. [228] ¶¶ 28–29, [282] ¶¶ 28–29. Third, Norwegian

   entered into agreements and amendments/supplements with Havanatur—the excursion operator




                                                   49
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 51 of 169




   the Cuban Government assigned to Norwegian. Id., ECF Nos. [228] ¶ 31, [282] ¶ 31. Havanatur

   provided excursions sold by Norwegian related to its passenger carrier services to Havana, which

   left from, and returned to, the Terminal. Id.

          Norwegian signed the initial contracts with Aries, Mambisa, and Havanatur at Pier 1 of the

   Terminal. Id., ECF Nos. [228] ¶ 36, [282] ¶ 36. Norwegian paid Aries and Mambisa through a

   third-party, Fuego Enterprises, Inc. (“Fuego”). Id., ECF Nos. [228] ¶ 25, [282] ¶ 25. From August

   2015 to July 2019, Norwegian paid Fuego $7,481,302.52 related to Norwegian’s use of the

   Terminal, which included payments made to Aries and Mambisa related to Norwegian’s use of the

   Terminal. Id., ECF Nos. [228] ¶ 26, [282] ¶ 26. From February 2017 to July 2019, Norwegian also

   directly paid Mambisa $1,824,387.44 for its port agent operations services in Cuba, including

   services to be rendered at the Terminal. Id., ECF Nos. [228] ¶ 30, [282] ¶ 30. Norwegian directly

   paid Havanatur $6,262,367.00 for Havanatur to provide shore excursions and other travel-related

   services to passengers in Cuba, including for shore excursions that left from and returned to the

   Terminal. Id., ECF Nos. [228] ¶ 35, [282] ¶ 35.

          H. Defendants’ Shore Excursions

               1. Carnival

          Carnival contends that it “developed an OFAC compliance program for its passengers, staff

   and crew members” and “offered day-long shore excursions for social and educational enrichment

   exchanges” that complied with the people-to-people travel guidelines. Carnival, ECF No. [326]

   ¶¶ 41–42. Carnival also submits that it “required its passengers to swear in affidavits that they

   traveled to Cuba pursuant to one of the categories of travel licensed and authorized by the U.S.

   Government (one of which included educational, people-to-people travel), and complied with

   those requirements.” Id., ECF No. [374] ¶ 78. Havana Docks disputes those facts, contending that




                                                     50
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 52 of 169




   there is no evidence that passengers, staff, and crew complied with Carnival’s OFAC compliance

   program or that Carnival’s excursions were people-to-people travel compliant. Id., ECF No. [377]

   ¶¶ 41–42.

          The shore excursions that Carnival offered to its passengers included “Tropicana Cabaret:

   Rhythms of the Night,” “Parisien Cabaret at Hotel Nacional,” and “El Canonazo: An Evening Out

   in Havana.” Id., ECF Nos. [332] ¶ 78, [374] ¶ 78. Havana Docks describes these excursions as

   “tourist shows,” incompatible with people-to-people travel. Id., ECF No. [332] ¶ 78. Carnival does

   not dispute that description but argues: “Carnival offered OFAC compliant fulltime programming

   for P2P travel, and only offered evening excursions . . . as additional and optional experiences to

   passengers who completed the full-time schedule. Id., ECF No. [374] ¶ 78.

          In the Tropicana Cabaret excursion, Carnival invited guests to “[e]njoy an evening under

   the beautiful Cuban sky with a performance at the Tropicana Cabaret -- Cuba’s largest nightclub.”

   Id., ECF No. [311-38] at 4. Carnival’s excursion included: “Elaborate costumes, entertaining

   performers and a live orchestra -- you’ll enjoy it all and much more in this Vegas-style

   extravaganza. Your cabaret package includes admission, assigned seating, a welcome drink, plus

   ¼ bottle of rum with mixers.” Id. Carnival described the Parisien Cabaret excursion as follows:

   “Hosted at the famed Hotel Nacional, the Parisian Cabaret showcases the soul of Cuba. Inspired

   by Indo-American, Hispanic and African cultures, the Parisian tells the story of Cuba in traditional

   cabaret fashion. Your outing includes transportation by motorcoach, entrance and a cocktail.” Id.

   at 8. The El Canonazo excursion involved a visit to “El Cristo -- an impressive . . . 55-foot-tall

   statue of Christ sculpted from Italian marble,” which gave travelers “beautiful photo opportunities

   of the statue and the Havana skyline,” as well as the opportunity to watch a “cannon ceremony” at

   a former Spanish fortress. Id. at 6.




                                                   51
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 53 of 169




           All three evening excursions had a disclaimer stating, “This evening shore excursion does

   not comply with the People-to-People guidelines and cannot be considered to be part of the

   required full schedule of activities.” Id. at 4, 6, 8.

           One of Carnival’s excursions marketed as people-to-people travel compliant was “Explore

   Havana by American Classic Car.” Id. at 5. Carnival described the excursion as follows:

           Experience a meeting of the ages as you travel in ‘60s style through Havana’s
           modern neighborhoods. This two-hour joyride in an American classic vehicle
           shows you the sights and introduces you to Havana. Begin with a transfer to the
           Plaza de la Revolucion, where pastel-colored classic Fords, Chevys and
           Oldsmobiles greet you with bright chrome smiles that belong to a different era. Feel
           the breeze in your hair as you ride along the Malecon and through the Vedado and
           Miramar districts, seeing some of the city’s most famous hotels and embassies.

           Visit the Almacenes San Jose market to enjoy free time to interact with the local
           souvenir vendors and take home your very own piece of Cuban memorabilia.

   Id. (emphasis in original). The tour description further stated:

           After guests have completed their required full time [sic] schedule of people to
           people activities, they are welcome to explore Cuba on their own or participate in
           evening HAL excursions (not designed to be people to people programs).

           This tour is designed to be in compliance with People to People guidelines.

   Id.

           Carnival’s corporate representative, Giora Israel, testified as follows regarding the evening

   excursions:

           The person that comes to Havana on the people-to-people, whether by land or by
           ship, had to be engaged in a day’s long activity. It doesn’t mean that he couldn’t do
           other things in the evening.

           So we -- the only thing we can do is to provide a day long, a[n] eight-hour or so --
           and our tours were eight hours or two tours of four hours. And if the ship stayed
           until midnight and they wanted to do a Havana Tropicana tour, they could do that,
           and so we would sell them that tour. There’s nothing wrong with that.

   Id., ECF No. [308-4] at 60.




                                                       52
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 54 of 169




           Israel also testified:

           We did operate strictly in accordance to [sic] US OFAC regulations that applied to
           us, and I can tell you that people-to-people can be done in various places. But what
           the people wanted to see, what the people demanded is Havana, and that’s it.
           Nobody would have operated -- we would have not planned for it, nor did any other
           cruise line, to go to Cuba without going to Havana. Havana is Cuba and Cuba is
           Havana notwithstanding the restrictions that it has to be people-to-people.

   Id. at [326-32] at 88–89.

           Israel explained how excursions were offered on Carnival ships. Id., ECF No. [326-32] at

   172–74. Initially, tours were provided to Adonia passengers free of charge. Id. at 172. Once other

   Carnival ships began sailing to Cuba, passengers had to purchase “people-to-people elements from

   us” and “satisfy us by issuing the appropriate people-to-people certifications that they have

   acquired/purchased from us.” Id. at 173. Carnival had, in turn, “bought those from Havanatur tour

   elements that qualify under people-to-people that in total had to fill at least an eight-hour day of

   engaging in people-to-people activities.” Id. As Israel described it, “we were the seller, and we had

   bought it from Havanatur which was the only entity we could buy those tours [from].” Id. at 174.

   “After a relaxation of the regs,” passengers “did not need to buy tours from us anymore,” although

   Carnival “encouraged them to buy the tours from us -- mainly so they are protected to be under

   the people-to-people.” Id. at 173.

           According to Carnival’s Fathom Travel Ltd. Cuba Operations Compliance Plan,25

   “Passengers have two options for participating in qualifying P2P [people-to-people] exchange

   programs: (i) participation in a ‘Fathom-Guided’ group program fully arranged and sponsored by

   Fathom; or (ii) participation in a ‘self-guided’ P2P program arranged individually by the

   passenger.” Id., ECF No. [326-45] at 7. The plan further stated that “[a]ll guests must participate


   25
     As stated earlier, when applying for a specific license to travel to Cuba, Carnival informed OFAC that it
   would be “using the Fathom program . . . to meet the requirements of the full-time schedule for people-to-
   people travel pursuant to the [CACR].” Carnival, ECF No. [326-26] at 3.


                                                       53
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 55 of 169




   in a people-to-people program on each day in Cuba,” and that “[a]ll daytime Carnival Adventure

   excursions fulfill this requirement.” Id. at 45.

          Carnival’s Shore Excursion Manager Tour Operations Guide (“Guide”), dated March 2019,

   listed four evening excursions lasting 2.5 to 3 hours: (1) “Tropicana Cabaret - Rhythms of the

   Night,” beginning at 8:00 p.m. and lasting 3.5 hours; (2) “El Canonazo Evening Tour,” beginning

   at 7:30 p.m. and lasting 2.5 hours; (3) “The Parisien Cabaret at the Hotel Nacional,” beginning at

   9:15 p.m. and lasting 3 hours; and (4) “Buenavista Social Club at Havana Cafe,” beginning at 8:00

   p.m. and lasting 3.5 hours. Id., ECF No. [326-46] at 8–9. Carnival also offered several excursions

   that took place during the day, including “Explore Modern Havana in an American Classic.” Id. at

   8–9. The guide states that the daytime excursions were part of “Community Projects where guests

   have the People to People cultural interaction with the people from Cuba that is required per law.”

   Id. at 12. By contrast, “[n]ight tours [did] not have these Community projects” and “therefore [were

   not] in compliance with the P2P guidelines.” Id.

          One section of the Guide, labeled “People to People guidelines,” addressed whether it is

   “mandatory to have an excursion to exit the ship.” Id. (emphasis in original). The guide

   cautioned that this “sensitive question” must be “answered with honesty in order to avoid future

   conflicts, complaints and being involved in bad situation with guests.” Id. The guide stated that

   “[t]he answer is NO, [it] is not mandatory to have an excursion to leave the ship.” Id. (emphasis

   in original). The guide continued that “[g]uests without excursions can come in and out as much

   they want” but “they will not be in COMPLIANCE with the P2P guidelines (unless they claim

   they have 3rd party P2P experience . . . but once again we cannot vouch for that to be valid).” Id.

   (emphasis in original).




                                                      54
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 56 of 169




               2. MSC

          MSC contends that it “developed a program to ensure all passengers who disembarked

   from the Armonia in Havana were in compliance with the General Licenses.” MSC, ECF No. [210]

   ¶ 19. According to MSC, its website informed passengers about governmental regulations. Id. ¶ 20.

   Before boarding, every passenger was required to submit a certification that they were traveling

   under one of the twelve permissible OFAC categories. Id. ¶ 21. While on board the Armonia, MSC

   provided passengers “with information regarding compliance with the regulations for cruising to

   Cuba, including an on-board presentation about the OFAC regulatory requirements.” Id. ¶ 22.

   Before debarkation, “passengers were required either to purchase a shore excursion compliant with

   people-to-people regulations or to participate in another of the 12 categories of authorized travel

   permitted by OFAC.” Id. ¶ 23. And “[a]ll shore excursions offered by MSC [SA] were vetted to

   ensure that they complied with the requirements of the people-to-people regulations.” Id. ¶ 24.

          Havana Docks concedes that MSC’s website informed passengers of the Armonia that they

   had to either participate in a people-to-people program or qualify under another permissible

   category of travel. Id., ECF No. [259] ¶ 20. But Havana Docks contends that MSC SA did not have

   a policy to ensure that its passengers and the excursions provided complied with the people-to-

   people guidelines. Id. ¶¶ 19, 24. Havana Docks further submits that MSC SA did not require

   people-to-people programming in all aspects of the cruises or require that Armonia passengers

   purchase excursions. Id. ¶¶ 21, 23. Moreover, Havana Docks argues that no competent evidence

   shows that passengers received onboard OFAC training. Id. ¶ 22.

          It is undisputed that MSC SA, in consultation with Cubanacan, chose and approved the

   shore excursions that could be offered to passengers on the cruise ships and contracted with

   Cubanacan for these excursions. Id., ECF Nos. [224] ¶ 101, [253] ¶ 101. The parties also agree




                                                   55
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 57 of 169




   that MSC SA sold its passengers shore excursions that were designed and marketed as complying

   with the OFAC regulations. Id., ECF Nos. [259] ¶ 68, [273] ¶ 68. MSC adds that the excursions

   were implemented as marketed. Id., ECF No. [273] ¶ 68.

          On Cuba-to-Cuba cruises, MSC SA provided excursions entitled “Sun, Sea and Sand at

   Varadero Beach,” “Beach Time at Santa Maria del Mar,” and “Tropicana Cabaret.” Id., ECF Nos.

   [224] ¶¶ 102–104, [253] ¶¶ 102–104. MSC contends that the Varadero Beach and Santa Maria del

   Mar excursions were not available on U.S.-to-Cuba cruises. Id., ECF No. [253] ¶¶ 102–103. MSC

   does not dispute that the Tropicana Cabaret excursion was offered on U.S.-to-Cuba cruises. Id.,

   ECF No. [253] ¶ 104.

          The excursions available on the Armonia included “Havana City Tour by Vintage American

   Cars,” “Cultural Havana, Rum & Cigars,” and “A Night at the Tropicana Cabaret.” Id., ECF No.

   [253-2] at 30. According to the Armonia’s Shore Excursion Program, the 3.5-hour Havana City

   Tour by Vintage American Cars involved traveling “around Havana’s historical cityscape in a

   vintage car,” “a Cuban cocktail before continuing on down the seafront Malecón boulevard and

   Quinta Avenida,” and visits to landmarks, including “‘Proyecto Comunitario Callejón de Hamel’,

   a colourful street full of murals and surprising sculptures made out of random objects including

   hand pumps or bathtubs.” Id. at 30. The 4-hour Cultural Havana, Rum & Cigars excursion involved

   a “watch[ing] highly-skilled torcedors as they hand-roll the best Cuban cigars”; photos at the

   “Plaza de la Revolución”; and visits to the “Hotel Nacional de Cuba via the Museum of the

   Revolution” and the “Havana Club Museum to find out how freshly cut sugarcane is distilled into

   rum.” Id. The description also stated: “As a final highlight, you’ll be able to enjoy a taste of the

   finished product. Some free time will then be yours to browse for a memento and take more photos

   before you return to the ship.” Id. The 4-hour Tropicana Cabaret excursion featured “dancing girls




                                                   56
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 58 of 169




   wearing scanty costumes and feathered headgear.” Id. Guests would watch a “[a] live orchestra”

   and “some 200 performers, whose only remit is to provide a fascinating insight into the things

   Cubans love most: music, dancing and Havana Club rum, of which you’ll be served a ¼ bottle

   with a suitable mixer to sip during the show.” Id.

           MSC’s instructions to passengers stated that “[a] People to People shore excursion program

   has been designed for these sailings. All guests wishing to go ashore in Cuba, must do so as part

   of an organized P2P excursion.” Id., ECF No. [210-23] at 1. Marialuisa Iaccarino, the Shore

   Excursion Business Development Manager for MSC SA, Id., ECF No. [201-7] at 5, testified:

           The requirement of the American laws and not MSC only. So MSC was just
           informing or trying even under every single possible way -- even before they were
           boarding the ship to get the proper information about the travel restrictions when a
           cruise starting from US and then going to Cuba.

           So it was highly recommended to buy shore excursions or the guests were a select
           -- they had to fill in the declaration that if they were falling under the 12 other
           categories allowed to travel to Cuba, that was their responsibility to do so. It wasn’t
           MSC requirement, although, as I said, highly recommended.

   Id. at 26.

           Iaccarino testified:

           Okay. Let me rephrase it. MSC did anything in any possible way to inform guests
           that it was their responsibility to be part of the shore excursion of MSC or be part
           of any other categories, but it was a separate declaration. It was still under the
           responsibility of the guests itself, whatever they will do in Havana. It’s referring to
           -- the department I’m referring to -- I can tell you that every guest was taking an
           excursion, was proving the ticket that they were taking an excursion, and once
           ashore in Havana, they did the people-to-people excursions.

   Id. Iaccarino also testified: “Our responsibility is not to police guests but to inform them about the

   local regulations and the things to respect when on shore excursions.” Id. at 25.

           Mark Zeller, Vice President of US Hotel Operations for MSC SA, stated in a December

   2018 internal email, “we do not police guests, we do not check whether a guest has purchased a




                                                     57
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 59 of 169




   tour ticket or not, we do not block guests at the gangway.” Id., ECF No. [202-47] at 2. Iaccarino

   testified that Zeller was mistaken about MSC’s policy. Id., ECF No. [201-7] at 27.

           In addition, Iaccarino testified that MSC’s excursions had “a main element a cultural

   exchange, historical visits, and that’s what we have to try to enhance the program that we used to

   have for Havana by adding those aspects in every single excursion we were planned to have.” Id.

   at 15. Iaccarino also stated that MSC relied on Cubanacan to develop the people-to-people

   excursions—”Being our tour operator, that’s practically their job, to sell to us a product”—but that

   MSC “vetted every single excursion content and verify that it was meeting the people-to-people

   criteria.” Id. at 24.

           When asked about the Tropicana Cabaret excursion, Iaccarino testified:

           first of all, it’s a historical part of Cuba that was founded in 1939. The iconic
           celebration of the culture, as you easily mentioned just dancing girls, actually takes
           place in explaining the people the local culture of the famous mulatta girls, and it’s
           also talking and using historical music or languages such as the Yoruba language
           that allows the people not only to -- just to see any cabaret that you will see in any
           other place but really a unique experience in Cuba, hearing what is the music, what
           is the dance -- typical dances of Cuba itself. So it’s not only a cabaret show. It really
           has a historical background, not only because it’s situated in a historical location
           but because the contents of the show are historical itself. And they teach a lesson
           and they explain to tourists even. And it’s also really a way to see the Cuban life
           from another point of view that is not only just going and seeing monuments.

   Id., ECF No. [201-7] at 21.

           Concerning the Vintage Car Tour, Iaccarino testified: “In every excursion we created the

   possibility to interact or to discover some commentary or social so-called project. In this specific

   case, although the experience is not from the buses but is from cars that -- I mean, every single

   tourist would love to be in it.” Id.

           In a declaration filed in support of MSC’s Individual Summary Judgment Motion, Iaccarino

   testified that “[e]very shore excursion that MSC Cruises S.A. provided, with the assistance of local




                                                      58
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 60 of 169




   Cuban tour operator Cubanacan, was vetted internally to ensure that each possessed a predominant

   cultural or historical component.” Id., ECF No. [210-18] ¶ 5. She also states in her declaration that

   “MSC Cruises S.A.’s program also required passengers to show proof of excursion before a

   passenger was permitted to disembark in Havana.” Id. ¶ 11.

           Roberto Fusaro, a director at MSC USA, id., ECF No. [201-2] at 9, testified that his

   “understanding was that under the people-to-people license that we applied while . . . MSC Cruises

   S.A. was offering cruises from the US to Cuba, passengers had to disembark with a shore excursion

   organized under the people-to-people regulations.” Id. at 29. Fusaro further testified that “[t]he

   policy of MSC Cruises S.A. in the past was that no passengers would be allowed to disembark in

   Havana unless they have purchased a shore excursion,” but he did not recall what procedures were

   in place to enforce that policy. Id.

           MSC SA’s CEO, Giovanni Onorato, id., ECF No. [201-3] at 4, testified that he did not

   know whether cruise passengers were educated about the lack of political freedoms in Cuba or met

   with Cuban dissidents. Id. at 53–54.

               3. Royal Caribbean

           Havana Docks states that Royal Caribbean approved, developed, and determined the shore

   excursions that could be offered to passengers on its ships. Royal Caribbean, ECF No. [141] ¶ 91.

   Royal Caribbean does not dispute that fact; instead, it clarifies that Havanatur ran the shore

   excursions that Royal Caribbean developed. Id., ECF No. [172] ¶ 91. The excursions Royal

   Caribbean offered included Cocktail Making Classes (the Art of Cuba Cocktails), Tropicana

   Cabaret, Parisien Cabaret, Arsenio Rodriguez Band, and Old Havana Sightseeing and Walking

   Tour Combination. Id., ECF Nos. [141] ¶ 96, [172] ¶ 96.

           A 2018 shore excursion catalog for Royal Caribbean listed 40 excursions. Id., ECF No.




                                                    59
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 61 of 169




   [131-43] at 4–5. The catalog stated that “[f]or all excursions, the people-to-people component will

   appear with the symbol P2P.” Id. at 6 (emphasis in original).

          The Cocktail Making Classes, which were 3.5 hours long, had the following description:

          • Welcome and group meeting by the guide at the Cruise Terminal (20 min)
          • Depart to the locales for interaction in relation to making Cuban cocktails. (20
          min).
          • Clients will receive explanations from specialists in making cocktails on how to
          make these types of drinks at home. (20 [to] 30 min).
          • Sub-groups will be formed within the locales so the clients can comfortably
          prepare the drinks being taught, and competitions will take place between the
          groups to determine which preparations were the best (25 min).
          • At the end there will be time to interact with the training specialists and hear
          some of their experiences and anecdotes about the profession (P2P). (15 min).
          • Taste some hors d’oeuvres as well as 3 beverages, with a choice of mojito,
          daiquiri, cubalibre, soft drink, beer, water. (45 min).
          • Return to port. (25 min).

   Id. at 29 (emphasis added).

          The catalog listed two Tropicana excursions, one without dinner and a VIP experience,

   both lasting 3.5 hours. Id. at 17–18. None of them have a “P2P” designation. Id. The description

   of the non-VIP version stated that there is a 90-minute “Tropicana performance,” which “[i]ncludes

   [a] welcome cocktail, 1 bottle of rum per table, 1 soft drink, mixed hors d’oeuvre and one tobacco.”

   Id. at 17. The catalog also stated that “[o]ur guides provide the clients a historical summary of the

   locale and the Italian American Mafia’s management of the space prior to 1959.” Id.

          The catalog described the “Cabaret Parisién” excursion as follows:

          Enjoy one of the most well-known typical night cabaret shows of Cuban Culture in
          the world, in the Hotel Nacional de Cuba, renowned worldwide. A night visit to the
          Malecon of Havana and part of the city from the gardens of the Hotel Nacional de
          Cuba. In the Hotel Nacional, they will find historical information about the stays of
          Frank Sinatra, Ava Gardner, Buster Keaton and Winston Churchill, who attended
          the Cabaret Parisien decades before to admire the sensational show “Cubano,
          Cubano”.

   Id. at 19. The description for the Cabaret Parisién does not include a “P2P” designation. Id.




                                                    60
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 62 of 169




           The catalog described the Arsenio Rodriguez Band excursion as follows:

           Treat yourself with one of the most well-known typical night cabaret shows of
           Cuban Culture in the world, the Arsenio Rodriguez Band show, music experienced
           in the US in the first half of the 20th Century, which even has a street named after
           it. Creator of the “Salsa” style in Cuba. Pure Cuban rhythm with traditional musical
           offerings like son, chachacha, montuno, rumba, guaracha, among other surprises.

   Id. at 18. As the “P2P” component, the catalog stated, “[t]he visitor will have the opportunity to be

   not just a spectator, but also actively with [sic] some of the orchestra’s musical instruments. There

   may be a small interaction with some of the musicians to learn about their academic and musical

   training, customs, etc.” Id. at 19.

           The Old Havana Sightseeing and Walking Tour Combination, which lasts 9 hours, includes

   visits to various locations in Havana for photos; explanations of the various sites; and “[t]ime to

   taste an exquisite tobacco, and a rum beverage.” Id. at 32–33. The only “P2P” designation is a 90-

   minute segment that states: “Walking tour through the Plaza de San Francisco de Asis, Plaza de

   Armas, Plaza de la Catedral and Plaza Vieja. There, they will have the opportunity to have ongoing

   exchanges with locals, vendors, artisans, entrepreneurs, and to learn about the customs of the

   residents of Old Havana.” Id. at 33.

           Maria “Megan” Shaw, Royal Caribbean’s Account Manager of Product Development, and

   involved with Royal Caribbean’s shore excursions for 29 years, id., ECF No. [122-4] at 5,

   characterized the Tropicana Cabaret as “one of the most iconic shows that were very popular from

   like the ‘30s through the ‘50s onwards in Havana.” Id. at 28. She described the experience as

   follows:

           It was actually a super neat experience. Guests were taken over. They were put into
           the show area, and then they saw the performers, the music. There was a little bit
           of history on . . . how the styles kind of changed along the way in dancing and
           music. And then at the end, the guests had a chance to participate and come on stage
           and dance [a] little bit with the performers.




                                                    61
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 63 of 169




   Id. When asked about the people-to-people component of the Tropicana Cabaret show, Shaw

   answered that “throughout the show,” there was “an MC kind of giving you a history of Cuba.” Id.

   at 35.

            Regarding the Cabaret Parisién, Shaw testified:

            That’s along the same lines as the Tropicana. So this one took place, if I remember
            correctly, at Hotel Nacional, which is one -- probably one of the most iconic hotels
            in Havana proper. And it’s the same sort of thing -- it had a lot of history, which I
            thought was really neat, of performers in the past that have either performed there
            or stayed at the property. The property was just gorgeous. And then they had the
            same sort of concept. So they would go ahead and talk about the history of Cuba.
            They’ll talk about the performers that had performed at that location. They did
            different musical routines with dancers. And then at the end they would have
            interactivity with our guests before going back to the ship.

   Id. at 29.

            Concerning the “Art of Cuba Cocktails,” Shaw stated:

           So that one we had as kind of a workshop. It was a smaller group of people that
           would actually interact with people that have worked in particular hotels that were
           -- again, had a history of ties with the US in the past. So, you know, there was --
           back in the earlier ‘50s, there were ties with casino people here in the United States
           that maybe would have owned property in Cuba and -- and so they talked about the
           history, and then they also showed them the most popular cocktails. So like the
           mojitos -- other cocktails that they can go ahead and do and at the same time learn
           with them, much like other interactions where I felt it was actually a neat way of
           exposing people through food and beverage, which people really feel much more
           comfortable about and enjoying.
   Id. at 30.

            In January 2019, Jorge Delgado, Vice President of Global Business Development at

   Celebrity Cruises, one of Royal Caribbean’s brands, Id., ECF No. [122-6] at 10, sent an internal

   email to Celebrity’s Director of Strategy & Consumer Insights, three other Celebrity employees,

   regarding current developments in Cuba. Id., ECF No. [123-29] at 3–4. Delgado related that Cuba’s

   socioeconomic and political environment had worsened in the last six months, reaching levels

   unseen since the “special period” in the 1990s, after the collapse of the Soviet Union. Id. at 3.




                                                     62
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 64 of 169




   Havanatur’s tour guides were “tired, hungry, scared, and much like everybody else, don’t believe

   in the regime any longer.” Id. Delgado explained that “many of them are hired from the Cuban

   Ministry of Foreign Relations Academy (because of their language skills) these individuals (after

   being brainwashed for four years) come to work for Havanatur believing our guests are not tourists,

   but the American invaders they were told were coming.” Id. at 4.

          At deposition, Delgado recalled that during the later years of the tours, the tour guides

   would “enter all kinds of nonsensical discussions with our guests on political issues.” Id., ECF No.

   [122-6] at 27. As Delgado put it, “What they were doing basically to our guests was reading the

   communist party bible on whatever they believe in.” Id. Delgado also stated, “I believe that many

   of these guys got those positions and were trained on how to respond to questions from the guests

   in the way they did, basically brainwash[ed].” Id.

               4. Norwegian

          Norwegian sold shore excursions to its passengers that it designed, approved, marketed,

   and guaranteed complied with the “general license for people-to-people travel.” Norwegian, ECF

   Nos. [284] ¶ 73, [309] ¶ 73. Norwegian approved every shore excursion in Cuba that it sold to its

   passengers. Id., ECF Nos. [228] ¶ 78. [282] ¶ 78. Havanatur operated and organized the shore

   excursions approved and sold by Norwegian. Id., ECF Nos. [228] ¶ 80, [282] ¶ 80.

          Norwegian contends that it “implemented a robust program to ensure [OFAC]

   compliance.” Id., ECF No. [234] ¶ 16. Norwegian submits that it maintained an OFAC compliance

   manual, required each passenger to execute an affidavit attesting that they were traveling for a

   permissible reason, and educated passengers regarding OFAC regulations. Id., ECF No. [234]

   ¶¶ 17–19. Havana Docks agrees that Norwegian had an OFAC compliance manual but disputes

   the rest of the facts and raises hearsay objections. Id., ECF No. [284] ¶¶ 16–19.




                                                   63
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 65 of 169




          The shore excursions approved, offered, and sold by Norwegian in Havana included “The

   Legendary Tropicana Cabaret,” “Parisien Cabaret at the Hotel Nacional de Cuba,” “Buena Vista

   Social Club at Habana Café,” “An Evening Stroll in Colonial Havana,” “The Old Colonial

   Havana,” “Modern Havana in an American Classic,” “Colors and Flavors in Havana,” and “Las

   Terrazas and It’s Nature.” Id., ECF Nos. [228] ¶ 85, [282] ¶ 85. Norwegian also approved, offered,

   and sold the excursions “Submerged Pearl,” “Cienfuegos Dolphins,” and “Cienfuegos & Its

   Nature” during cruises to Cienfuegos that included a stop at the Terminal. Id., ECF Nos. [221-16],

   [217-6], [228] ¶ 86, [282] ¶ 86. Havana Docks states that these cruises also docked at the Terminal,

   and Norwegian does not present evidence to the contrary. Id.

          Norwegian’s Shore Excursion Program (“Program”) informed passengers:

          Please be advised that the Cruise tourism in Cuba is operated by a Government
          owned Tour company. Therefore, guides, venues and any means of transportation
          are selected & provided solely at their own discretion. Tour Guides’ English
          competency varies greatly, please expect heavy accents. Tour durations are
          approximate and unforeseen delays may be expected. The American Cruise
          Industry is fairly new to Cuba, therefore, we appreciate your understanding if the
          same quality and standards are not met as to those other more tourism-developed
          cruise destinations.

   Id., ECF No. [217-6] at 6 (emphasis added)

          The Program states that the “Tropicana Cabaret” excursion involves a show but provides

   no detail about its content. Id. For the “Parisien Cabaret,” the program states that guests will

   “[e]njoy the atmosphere of the [Hotel Nacional] while waiting for the show to start” (30 minutes);

   watch “a spectacular Vegas style performance, which blends the Indo-American, Hispanic and

   African cultures that led to the Cuban culture as it is known today” (two hours); and “[e]njoy

   leisure time at the club” (15 minutes). Id. at 7. For the “Buena Vista Social Club,” the program

   states that guests will “[e]njoy the atmosphere of the [Habana Café] while waiting for the show to

   start” (35 minutes) and “[e]njoy the musical performance of Buena Vista Social Club” (an hour



                                                   64
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 66 of 169




   and 40 minutes). Id. at 6.

          For the “An Evening Stroll in Colonial Havana” tour, the Program states that guests will

   visit Cathedral Square, Arms Square, Old Square, and Sloppy Joe’s Bar. Id. at 7. “The Old Colonial

   Havana” excursion had a similar itinerary, adding that passengers could “[v]isit the Almacenes de

   San Jose and have the opportunity to buy [a] Cuban souvenir.” Id. The “Modern Havana in an

   American Classic” is described as encompassing various Havana landmarks in a vintage

   automobile. Id. at 6.

          Norwegian’s January 2019 Program contained a slightly different disclaimer:

          Please be advised that shore excursions in Cuba are operated by a third party,
          therefore guides, venues and any means of transportation are selected and provided
          solely at their discretion. Tour Guides’ English competency varies greatly, please
          expect heavy accents. Tour durations are approximate, content can change and
          unforeseen delays up to 1-2 hours are expected and quite common. The U.S. Cruise
          Industry is new to Cuba; therefore, we appreciate your understanding if the quality
          and standards are not met as compared to other more developed cruise destinations.
          All our shore excursions are OFAC compliant.

   Norwegian, ECF No. [301-2] at 3 (emphasis added).

          The “Modern Havana in an American Classic” excursion added the following disclaimer:

   “The Vintage Car ride is an orientation drive operated by a driver only. Drivers barely [s]peak

   English and are not guides. Information is very limited. However, a tour guide will provide

   explanations to the group at each stop during the bus drive.” Id.

          Disclaimers were also added to the “Tropicana Cabaret” excursion: dinner was not

   included, beverages were an additional charge, and “show may contain sensual dancing.” Id.

          The 2019 Program also included descriptions of excursions in Cienfuegos and Santiago de

   Cuba. Id., ECF No. [301-2] at 5–6. The “Cienfuegos Dolphins” excursion included a visit to

   various sites, a “[d]olphin show and opportunity to talk to the coaches,” and “free time on the

   historical Boulevard Santa Isabel, where you may browse the shops before returning to the pier.”



                                                   65
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 67 of 169




   Id. at 5. The “Cienfuegos & Its Nature” excursion included “1h30min of hiking in the park,” “[f]ree

   time to swim in . . . natural pools,” and a “Creole-style lunch” at a local restaurant. Id.; see also

   id., ECF No. [301-3] at 4 (stating that guests “will have free time for [a] bath in natural settings

   and to take photos”). According to another document describing some of the Norwegian’s

   Cienfuegos shore excursions, “The Submerged Pearl” excursions involved visits to several

   Cienfuegos sites and the opportunity to buy souvenirs in the Boulevard Santa Isabel. Id., ECF No.

   [301-3] at 9.

          In another document describing the Havana excursions, in “Colors and Flavors in Havana,”

   Norwegian passengers would “[d]elve into the local culture by visiting a superb dance company,

   sampling Cuban rum paired with cigars, and learning to make classic cocktails before dining on

   Cuban cuisine.” Id., ECF No. [301-1] at 7. “Las Terrazas and It’s Nature” involved an eight-hour

   tour of “an environmentally conscious small town where most of the activities revolve around

   nature.” Id. at 2. According to the excursion description, “[a]s you meander around the eco-friendly

   town, you will probably see artists in their workshops and encounter hikers on their way to and

   from the many trails surrounding Las Terrazas.” Id. The excursion included a visit to a museum,

   coffee at a café, and a drive to the San Juan River, where travelers were “free to swim in the gently

   flowing waters or simply relax in the shade and gaze out over the tropical landscape.” Id.

          Regarding the Tropicana, Norwegian’s Corporate Representative, Mario Parodi, was asked

   at deposition, “That’s a great tourist attraction; correct, sir?” Id., ECF No. [214-1] at 34. Parodi

   answered, “Yes, it is.” Id. In addition, when asked, “[b]esides the Tropicana Nightclub, what other

   similar type of tourist excursions did Havanatur organize for the NCL passengers?” he answered,

   “I know there are two other shows that we offer through Havanatur, and then there are the

   monuments and the local attractions.” Id. In addition, Parodi was not aware of any Norwegian




                                                    66
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 68 of 169




   excursion that met with religious organizations. Id. at 35. Parodi also confirmed that Havanatur

   did not organize excursions where passengers met with members of the dissident movement in

   Cuba, persons not affiliated with the Cuban Government, or artists not employed by a Cuban

   Government agency. Id.

          Christine Manjencic, who was responsible for shore excursions in Cuba for Norwegian,

   testified that the people-to-people components of the “Buena Vista Social Club” excursion

   included a “meet and greet by maître d’, wait staff” and “a component where our guests met with

   the artists” and “where guests had the opportunity to dance with the artists or partake in the activity

   that was happening at that time.” Id., ECF No. [214-8] at 41. Manjencic testified similarly about

   the Tropicana Cabaret, adding that “guests could have an exchange with the artists, with the

   performers, with the musicians, the presenters -- so they could discuss about the show and about

   their art history,” and learn salsa at the end of the show. Id. Manjencic provided similar testimony

   regarding the “Parisien Cabaret.” Id. at 41–42.

          Norwegian also filed a Declaration of Christine Manjencic in support of its opposition to

   Havana Docks’ Individual Motion for Summary Judgment. Id., ECF No. [282-12]. Manjencic

   described “An Evening Stroll in Colonial Havana” as “a walking tour, led by a Cuban guide, of

   various culturally significant locations throughout the densely populated Old Havana, including a

   local pedestrian street where passengers had an opportunity to interact with locals, such as artists

   and street vendors.” Id. ¶ 3. Manjencic stated that “[t]he excursion concluded with a stop outside

   of the historical Sloppy Joe’s Bar” but did not take place “inside Sloppy Joe’s Bar.” Id. ¶ 4.

   Manjencic describes “The Old Colonial Havana” excursion in the same manner, adding that

   “passengers also had an opportunity to interact with the owners of privately owned businesses at

   the Almacenes de San Jose.” Id. ¶¶ 5–6.




                                                     67
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 69 of 169




           Concerning the “Modem Havana in an American Classic” shore excursion, Manjencic

   stated that “passengers were paired with a local Cuban driver.” Id. ¶ 7. Manjencic testified that

   “Cienfuegos Dolphins” allowed passengers to “interact[] with and learn[] from local Cubans who

   worked with dolphins and interacting with the locals at the historic Boulevard Santa Isabel -- a

   dense urban commercial street for pedestrians to interact with local vendors and artisans.” Id. ¶ 10.

   As to “Cienfuegos & Its Nature,” Manjencic stated that “passengers were led by a local Cuban

   guide through the historically significant Escambray Mountains,” “had an opportunity to

   personally interact with local residents,” and “dined at a privately owned restaurant that served

   Creole-style lunch at which passengers had an opportunity to interact with the chef and

   employees.” Id. ¶¶ 11–12. Manjencic also stated that for “The Submerged Pearl,” “a local Cuban

   guide facilitated exchanges between passengers and locals at various architectural landmarks in

   Cienfuegos” and “passengers had an opportunity to interact with local fishermen about the history

   and significance of this unique area as well as their daily life.” Id. ¶ 13.

           In April 2015, Norwegian’s President and CEO, Frank Del Rio, when publicly speaking at

   the “Inaugural Cuba Opportunity Summit” at the University of Pennsylvania, was asked, “So travel

   restrictions when it comes to non-tourism travel have been eased dramatically, but is there anything

   that President Obama announced in December that allows you to do that?” Id., ECF No. [221-15]

   at 4. Del Rio answered,

           I think it gets us one step closer. It starts the conversation. It starts the wheels
           moving. But today, no cruise line that is American-based -- certainly not a publicly
           traded company like Norwegian – can routinely go to Cuba with tourists. Tourism
           is still illegal under today’s set of rules and policies and guidelines. And it would
           be difficult for us to have a ship with 4,000 tourists -- people let’s call them -- show
           up in Havana and call that people-to-people travel. That would be a stretch of the -
           - of the rules.

   Id.




                                                     68
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 70 of 169




          I. Havana Docks’ Notice

          On February 11, 2019, each Defendant received a letter from Havana Docks’ counsel,

   informing each Defendant of the Certified Claim and accusing each of trafficking under the

   LIBERTAD Act. Carnival, ECF Nos. [332] ¶ 41, [374] ¶ 41; MSC, ECF Nos. [224] ¶ 28, [253]

   ¶ 28; Royal Caribbean, ECF Nos. [141] ¶ 20, [172] ¶ 20; Norwegian, ECF Nos. [228] ¶ 11, [282]

   ¶ 11. No Defendant obtained authorization from Havana Docks to use the Terminal. Carnival, ECF

   Nos. [332] ¶ 43, [374] ¶ 43; MSC, ECF Nos. [224] ¶ 32, [253] ¶ 32; Royal Caribbean, ECF Nos.

   [141] ¶ 24, [172] ¶ 24; Norwegian, ECF Nos. [228] ¶ 12, [282] ¶ 12.

          J. Defendants’ Knowledge of the LIBERTAD Act and the Certified Claim

          Defendants have been aware of the LIBERTAD Act since 1996 or 1997. Carnival, ECF

   Nos. [332] ¶ 14, [374] ¶ 14; MSC, ECF Nos. [224] ¶ 26, [253] ¶ 26; Royal Caribbean, ECF Nos.

   [141] ¶ 8, [172] ¶ 8; Norwegian, ECF Nos. [228] ¶ 6, [282] ¶ 6.

          Carnival had a general awareness since 1996 that there was a Certified Claim concerning

   the Terminal, and Carnival specifically learned of the Certified Claim in 2012. Carnival, ECF Nos.

   [332] ¶¶ 15–16, [374] ¶¶ 15–16. Norwegian learned of the Certified Claim in February 2017.

   Norwegian, ECF Nos. [228] ¶ 9, [282] ¶ 9. MSC and Royal Caribbean learned of the Certified

   Claim from the Havana Docks notice, in February 2019. MSC, ECF Nos. [210] ¶ 45, [259] ¶ 45;

   Royal Caribbean, ECF Nos. [141] ¶ 20, [172] ¶ 20.

          K. Defendants’ Revenues and Profits

               1. Carnival

          Havana Docks states that Carnival earned money, or profited from, its cruises to Cuba.

   Carnival, ECF No. [332] ¶ 36. Carnival disputes that assertion, but Carnival’s only counter-fact is

   that the Adonia was not profitable. Id., ECF No. [374] ¶ 36. Based on Carnival’s answers to




                                                   69
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 71 of 169




   requests for admissions, Havana Docks asserts Carnival earned total net revenue for the CCL ships

   that docked at the Terminal of $67,788,397.00 and revenues for Veendam cruises that docked at

   the Terminal of $44,496,253.86. Id., ECF No. [332] ¶¶ 37, 39; see id., ECF No. [322-2] at 24, 38.

   Carnival disputes that those figures represent monies earned from the use of the Terminal,

   explaining that they represent revenues from every voyage that included a stop in Havana. Id.,

   ECF No. [374] ¶¶ 37–38.

          Havana Docks also claims that Carnival earned $4,047,742.00 in revenue from the Adonia.

   Id., ECF No. [332] ¶ 40. Carnival disputes that claim by stating that the Adonia was not profitable

   and by faulting Havana Docks for citing to 600 pages of documents without providing a pin

   citation. Id., ECF No. [374] ¶ 40.

               2. MSC

          MSC denies that it profited from any of its cruises to Cuba. MSC, ECF No. [253] ¶ 69.

   MSC, however, admits that MSC SA earned approximately €247,000,000.00 in net cruise revenues

   from the Armonia and Opera cruises to the Terminal between 2015 and 2019. Id., ECF Nos. [224]

   ¶ 62, [253] ¶ 62. For cruises from the U.S. to Cuba on the Armonia that docked at the Terminal

   between December 2018 and June 2019, the net cruise revenue was €38,994,000.00, and the net

   ticket revenue was €26,387,000.00. Id., ECF Nos. [224] ¶¶ 63–64, [253] ¶¶ 63–64. MSC SA further

   admits that it earned revenues from Opera cruises that docked at the Terminal between December

   2015 and March 2019, from Opera cruises that used the Terminal as the homeport, Armonia cruises

   that docked at the Terminal between November 2016 and June 2019, and Armonia ships that used

   the Terminal as the homeport, although neither party provides any figures. See id., ECF Nos. [224]

   ¶¶ 65–68, [253] ¶¶ 65–68. In addition, from 2015 to 2019, MSC SA earned €21,614,000.00 from

   the sale of shore excursions to Opera and Armonia passengers. Id., ECF Nos. [259] ¶ 70, [273]




                                                   70
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 72 of 169




   ¶ 70.

               3. Royal Caribbean

           From 2017 to 2018, Royal Caribbean earned $430,925,849.00 in gross revenue for its

   cruises to Cuba, of which $304,461,457.00 was for gross ticket revenue for cruises that docked at

   the Terminal. Royal Caribbean, ECF Nos. [141] ¶ 52, [172] ¶ 52; see also id. ¶¶ 48–50. Havana

   Docks contends that subtracting costs results in net revenues of $329,094,322.00. Id., ECF No.

   [141] ¶ 52. Royal Caribbean disputes that figure, explaining that it “does not track net revenue or

   profit on a cruise-by-cruise basis.” Id., ECF No. [172] ¶ 52.

           When addressing the recission of people-to-people travel in June 2019, Royal Caribbean’s

   Chief Financial Officer, Jason Liberty, described Cuba as a “high yielding destination,” Id., ECF

   No. [131-32] at 6. Liberty added, “The result of this policy change has created a short-term impact

   to our guests, operations and earnings.” Id. Liberty estimated that the regulatory change would

   affect Royal Caribbean’s earnings per share by $0.25 to $0.35 per share. Id. Cruises to Cuba earned

   a “premium”—meaning that they outperformed, on a yield basis, non-Cuba cruises. Id., ECF Nos.

   [141] ¶ 55, [172] ¶ 55.

               4. Norwegian

           Norwegian admits that it earned money, or profited from, providing passenger carrier

   services on the vessels that docked at the Terminal. Norwegian, ECF Nos. [228] ¶ 48, [282] ¶ 48.

   Cruises to Cuba commanded a premium price due to pent-up demand and limited availability. Id.,

   ECF Nos. [228] ¶ 49, [282] ¶ 49. Norwegian earned $299,860,891.00 in total revenue for voyages

   to Cuba. Id., ECF Nos. [228] ¶ 50, [282] ¶ 50. Norwegian adds that its net revenue for voyages to

   Havana and excursions in Havana was $25,139,622.00. Id., ECF No. [282] ¶ 50.




                                                   71
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 73 of 169




          L. Other Cruises to Cuba

          From 2017 to 2019, Viking Cruises offered cruises to Cienfuegos that transported

   passengers to Havana by bus for a one or two-day excursion. MSC, ECF Nos. [224] ¶ 90, [253]

   ¶ 90; Royal Caribbean, ECF Nos. [141] ¶ 81, [172] ¶ 81. Other cruise lines, such as Thomson,

   Fred Olsen, and Noble Caledonia, offered cruises to Cuba that stopped in Cienfuegos, Santiago,

   or Holguin, but did not include a stop in Havana. MSC, ECF Nos. [224] ¶ 98, [253] ¶ 98; Royal

   Caribbean, ECF Nos. [141] ¶ 67, [172] ¶ 67.

          M. Defendants’ Experts

               1. Ambar Diaz

          Defendants retained Ambar Diaz as their expert attorney. Attorney Diaz has been licensed

   to practice law in Florida since 2003, specializing in advising U.S. companies how to navigate the

   Cuban market. Carnival, ECF No. [331-1] at 4. Attorney Diaz was a practicing lawyer in Cuba,

   specializing in maritime and insurance law until she immigrated to the United States in 2000. Id.

   Defendants retained Attorney Diaz to perform two tasks: (1) review the Concession and “opine on

   what rights the Concession provides under the laws of Cuba,” and (2) “opine on Cuban laws and

   regulations applicable to ports in Cuba that were in effect during 2015 to the present,” and their

   relation to “the mooring of cruise ships in the Port of Havana.” Id., ECF No. [331-1] at 3.

          On the first topic, Diaz opines that the Concession, when viewed through the lens of various

   Cuban laws related to marine ports, granted Havana Docks only a non-exclusive, limited right to

   operate cargo services at the Terminal. Id., ECF No. [331-1] at 5–6, 15–17. On the second topic,

   Diaz opines that Cuban laws and regulations mandated that Defendants use the Terminal when

   traveling to Havana. Id. at 23–35.

          Havana Docks moved to preclude Diaz from testifying before a jury and for the Court to




                                                   72
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 74 of 169




   disregard her report and testimony. Id., ECF No. [366]. Magistrate Judge Chris McAliley issued a

   Report and Recommendation, recommending denial of Havana Docks’ motion to preclude. Id.,

   ECF No. [416]. Judge McAliley explained that “[t]o the extent Ms. Diaz offers opinions about

   relevant questions of Cuban law, the Court can then determine, under Rule 44.1, whether Ms.

   Diaz’s opinions are worthy of the Court’s reliance.” Id. at 8. Following no objections from the

   parties, the Court adopted the Report. Id., ECF No. [428].

               2. Julian Ackert

          Defendants also retained Julian Ackert, a computer forensics expert, in support of their

   argument that Havana Docks’ principal place of business is outside the United States. See id., ECF

   No. [325-1]. As such, Defendants contend that Havana Docks is not a United States national

   pursuant to § 6023(15)(B). According to his declaration, Ackert reviewed 801 emails provided by

   Havana Docks in discovery (“Production Set”). Id. ¶ 20. Ackert extracted the geographic location

   of the IP addresses for 675 emails. Id. Ackert does not “opine[] on the geographic location

   information for [the remaining] 126 emails.” Id. at 8 n.2.

          Ackert issued two opinions:

          Based on an analysis of the available email metadata in the Production Set, 41 of
          the 42 (98%) of the emails collected from custodian Mickael Behn that were sent
          from email addresses associated with Mickael Behn routed through computers
          physically located in the United Kingdom (UK) or European Union (EU). The
          email metadata for these 41 emails indicates that at the time the email was sent, the
          sender was geographically located in the UK or EU.

          Based on an analysis of the available email metadata in the Production Set, 114 of
          165 (69%) emails collected from custodians Mickael Behn and Jerry Johnson that
          were communications between email addresses associated with Mickael Behn and
          Jerry Johnson routed through computers physically located in the UK or EU, and
          up to 164 out of 165 emails (99%) were routed from or to an individual located in
          the UK or the EU. The email metadata for these 114 emails indicates that at the
          time the email was sent or received, either the sender or the recipient was
          geographically located in the UK or EU.




                                                   73
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 75 of 169




   Id. ¶¶ 11–12.

          In its Motion, Havana Docks seeks to exclude Ackert’s opinions under Daubert as

   unreliable, unhelpful, and misleading. Id., ECF No. [328] at 6–12. Havana Docks contends that

   Ackert provides no authority to support his methodology of tracing emails from their IP address,

   id. at 7, and Ackert did not account for the myriad ways that remote access to computers may skew

   IP addresses. Id. at 7–9. Havana Docks submits that Ackert’s opinions are unhelpful because,

   among other reasons, he does not know the content of the emails he analyzed. Id. at 9–11.

   Moreover, Havana Docks argues that Ackert’s opinions are misleading and prejudicial given that

   it concerns only a subset of emails. Id. at 11–12.

          Defendants respond that Ackert sufficiently explained his methodology and that expert

   opinion on metadata is generally admissible. Id., ECF No. [364] at 14–16. Defendants contend that

   there is no evidence that Behn or Johnson used remote access systems, and even if there was, that

   evidence would go to the weight of the opinions, not their admissibility. Id. at 17–18. Defendants

   further argue that Ackert’s opinions are helpful because they relate to the issue of Havana Docks’

   statutory standing; moreover, Ackert’s opinions will not confuse the trier of fact or prejudice

   Havana Docks, because Havana Docks may, through effective cross-examination, expose any

   weakness in Ackert’s opinions. Id. at 18–21.

          Magistrate Judge McAliley concluded that Ackert’s methodology is sufficiently reliable.

   Id., ECF No. [425] at 8–9. Judge McAliley further found that Ackert’s inability to rule out whether

   Behn or Johnson used remote access goes to the weight, not admissibility, of the opinions. Id. at

   9–10. Judge McAliley also determined that whether Ackert’s opinions are helpful would depend

   on what provision of § 6023 applies. Id. at 12. If Havana Docks can simply establish that it is a

   United States national under 22 U.S.C. § 6023(15)(A), then Ackert’s opinions are irrelevant. Id.




                                                    74
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 76 of 169




   But if Havana Docks must prove that its principal place of business is in the United States, as set

   forth in 22 U.S.C. § 6023(15)(B), then Ackert’s opinions would be relevant. Id. at 12–13. And

   concerning Ackert’s lack of knowledge regarding the content of the emails, Judge McAliley

   observed that it “may be [a] strong [consideration] when it comes to the weight to be given Ackert’s

   opinions,” but it did not make the opinions inadmissible. Id. at 13. Finally, Judge McAliley

   concluded that exclusion under Federal Rule of Evidence 403 was not warranted, because any

   misleading use of percentages goes to the weight of the opinions. Id. at 13–14.

          Havana Docks’ partial Objection to the Report and Recommendation is based on the fact

   that Ackert did not review or identify the emails that form the basis of his opinions. Id., ECF No.

   [430]. Havana Docks argues that Ackert’s deficiency cannot be cured on cross-examination and

   render his opinion that 98% Havana Docks’ “business” emails came from overseas misleading. Id.

   IV.    LEGAL STANDARD

          A. Summary Judgment Standard

          A district court’s disposition of cross-motions for summary judgment employs the same

   legal standards applied when only one party files a motion. See United States v. Oakley, 744 F.2d

   1553, 1555 (11th Cir. 1984). “Nonetheless, cross-motions may be probative of the non-existence

   of a factual dispute when, as here, they demonstrate a basic agreement concerning what legal

   theories and material facts are dispositive.” Id. at 1555–56.

          A court may grant a motion for summary judgment “if the movant shows that there is no

   genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

   Fed. R. Civ. P. 56(a). The parties may support their positions by citation to the record, including,

   inter alia, depositions, documents, affidavits, or declarations. See Fed. R. Civ. P. 56(c). An issue

   is genuine if “a reasonable trier of fact could return judgment for the non-moving party.”




                                                    75
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 77 of 169




   Miccosukee Tribe of Indians of Fla. v. United States, 516 F. 3d 1235, 1243 (11th Cir. 2008) (quoting

   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986)). A fact is material if it “might affect

   the outcome of the suit under the governing law.” Id. (quoting Anderson, 477 U.S. at 247–48). The

   court views the facts in the light most favorable to the non-moving party and draws all reasonable

   inferences in the party’s favor. Crocker v. Beatty, 886 F.3d 1132, 1134 (11th Cir. 2018). “The mere

   existence of a scintilla of evidence in support of the [non-moving party’s] position will be

   insufficient; there must be evidence on which a jury could reasonably find for the [non-moving

   party].” Anderson, 477 U.S. at 252. The Court does not weigh conflicting evidence. See Skop v.

   City of Atlanta, Ga., 485 F.3d 1130, 1140 (11th Cir. 2007) (quoting Carlin Comm’n, Inc. v. S. Bell

   Tel. & Tel. Co., 802 F.2d 1352, 1356 (11th Cir. 1986)).

          The moving party shoulders the initial burden to demonstrate the absence of a genuine

   issue of material fact. See Shiver v. Chertoff, 549 F.3d 1342, 1343 (11th Cir. 2008). If a movant

   satisfies this burden, “the nonmoving party ‘must do more than simply show that there is some

   metaphysical doubt as to the material facts.’” Ray v. Equifax Info. Servs., L.L.C., 327 F. App’x

   819, 825 (11th Cir. 2009) (quoting Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475

   U.S. 574, 586 (1986)). Instead, “the non-moving party ‘must make a sufficient showing on each

   essential element of the case for which he has the burden of proof.’” Id. (quoting Celotex Corp. v.

   Catrett, 477 U.S. 317, 322 (1986)). The non-moving party must produce evidence, going beyond

   the pleadings, and by its own affidavits, or by depositions, answers to interrogatories, and

   admissions on file, designating specific facts to suggest that a reasonable jury could find in the

   non-moving party’s favor. Shiver, 549 F.3d at 1343.

          In resolving the issues presented under Fed. R. Civ. P. 56, “the court may not weigh

   conflicting evidence to resolve disputed factual issues; if a genuine dispute is found, summary




                                                    76
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 78 of 169




   judgment must be denied.” Carlin Commc’n, Inc., 802 F.2d at 1356; see also Aurich v. Sanchez,

   No. 08-80113-CIV, 2011 WL 5838233, at *1 (S.D. Fla. Nov. 21, 2011) (“If a reasonable fact finder

   could draw more than one inference from the facts, and that inference creates an issue of material

   fact, then the court must not grant summary judgment.” (citing Hairston v. Gainesville Sun Publ’g

   Co., 9 F.3d 913 (11th Cir. 1993)). Even “where the parties agree on the basic facts, but disagree

   about the factual inferences that should be drawn from those facts,” summary judgment may be

   inappropriate. Warrior Tombigbee Transp. Co., Inc. v. M/V Nan Fung, 695 F.2d 1294, 1296 (11th

   Cir. 1983).

            Furthermore, summary judgment is inappropriate where the Court would be required to

   weigh conflicting renditions of material fact or determine witness credibility. See Hairston, 9 F.3d

   at 919; see also Mize v. Jefferson City Bd. of Educ., 93 F.3d 739, 742 (11th Cir. 1996) (“It is not

   the court’s role to weigh conflicting evidence or to make credibility determinations; the non-

   movant’s evidence is to be accepted for purposes of summary judgment.”); see also Strickland v.

   Norfolk S. Ry. Co., 692 F.3d 1151, 1154 (11th Cir. 2012) (“Credibility determinations, the weighing

   of the evidence, and the drawing of legitimate inferences from the facts are jury functions, not

   those of a judge, whether he [or she] is ruling on a motion for summary judgment or for a directed

   verdict.” (quoting Anderson, 477 U.S. at 255)); Gary v. Modena, No. 05-16973, 2006 WL

   3741364, at *16 (11th Cir. Dec. 21, 2006) (Fed. R. Civ. P. 56 precludes summary judgment where

   court would be required to reconcile conflicting testimony or assess witness credibility); Ramirez

   v. Nicholas, No. 13-60820-CIV, 2013 WL 5596114, at *4 (S.D. Fla. Oct.11, 2013) (“The Court

   may not make the credibility determinations needed to resolve this conflict; only the jury may do

   so.”).




                                                   77
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 79 of 169




           B. Daubert Standard

           Federal Rule of Evidence 702 governs the admissibility of expert testimony. When a party

   proffers the testimony of an expert under Rule 702, the party offering the expert testimony bears

   the burden of laying the proper foundation, and that party must demonstrate admissibility by a

   preponderance of the evidence. See Rink v. Cheminova, Inc., 400 F.3d 1286, 1291–92 (11th Cir.

   2005); Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999). To determine whether

   expert testimony or any report prepared by an expert may be admitted, the court must engage in a

   three-part inquiry, which includes whether: (1) the expert is qualified to testify competently

   regarding the matters the expert intends to address; (2) the methodology by which the expert

   reaches his or her conclusions is sufficiently reliable; and (3) the testimony assists the trier of fact,

   through the application of scientific, technical, or specialized expertise, to understand the evidence

   or to determine a fact in issue. See City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562

   (11th Cir. 1998) (citing Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579, 589 (1993)).

   The Court of Appeals for the Eleventh Circuit refers to each of these requirements as the

   “qualifications,” “reliability,” and “helpfulness” prongs. United States v. Frazier, 387 F.3d 1244,

   1260 (11th Cir. 2004). While some overlap exists among these requirements, the court must

   individually analyze each concept. See id.

           Under Daubert, a district court must take on the role of gatekeeper, but this role “is not

   intended to supplant the adversary system or the role of the jury.” Quiet Tech. DC-8, Inc. v. Hurel-

   Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir. 2003) (citations omitted) (quotation marks

   omitted). Consistent with this function, the district court must “ensure that speculative, unreliable

   expert testimony does not reach the jury.” McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253,

   1256 (11th Cir. 2002). “[I]t is not the role of the district court to make ultimate conclusions as to




                                                      78
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 80 of 169




   the persuasiveness of the proffered evidence.” Quiet Tech., 326 F.3d at 1341 (citations omitted)

   (quotation marks omitted). Thus, the district court cannot exclude an expert based on a belief that

   the expert lacks personal credibility. Rink, 400 F.3d at 1293 n.7.

           On the contrary, “vigorous cross-examination, presentation of contrary evidence, and

   careful instruction on the burden of proof are the traditional and appropriate means of attacking

   shaky but admissible evidence.” Quiet Tech., 326 F.3d at 1341 (quoting Daubert, 509 U.S. at 596).

   “Thus, ‘[o]n cross-examination, the opposing counsel is given the opportunity to ferret out the

   opinion’s weaknesses to ensure the jury properly evaluates the testimony’s weight and

   credibility.’” Vision I Homeowners Ass’n, Inc. v. Aspen Specialty Ins. Co., 674 F. Supp. 2d 1321,

   1325 (S.D. Fla. 2009) (quoting Jones v. Otis Elevator Co., 861 F.2d 655, 662 (11th Cir. 1988)).

   Ultimately, as noted, “a district court enjoys ‘considerable leeway’ in making” evidentiary

   determinations such as these. Cook ex rel. Est. of Tessier, 402 F.3d at 1103 (quoting Frazier, 387

   F.3d at 1258).

           C. Review of Report and Recommendation Standard

           “In order to challenge the findings and recommendations of the magistrate judge, a party

   must file written objections which shall specifically identify the portions of the proposed findings

   and recommendation to which objection is made and the specific basis for objection.” Macort v.

   Prem, Inc., 208 F. App’x 781, 783 (11th Cir. 2006) (quoting Heath v. Jones, 863 F.2d 815, 822

   (11th Cir. 1989)) (alterations omitted). The objections must also present “supporting legal

   authority.” S.D. Fla. L. Mag. J.R. 4(b). The portions of the report and recommendation to which

   objection is made are reviewed de novo only if those objections “pinpoint the specific findings

   that the party disagrees with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see

   also Fed. R. Civ. P. 72(b)(3). If a party fails to object to any portion of the magistrate judge’s report,




                                                      79
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 81 of 169




   those portions are reviewed for clear error. Macort, 208 F. App’x at 784 (quoting Johnson v. Zema

   Sys. Corp., 170 F.3d 734, 739 (7th Cir. 1999)); see also Liberty Am. Ins. Grp., Inc. v. WestPoint

   Underwriters, L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001). A district court may accept,

   reject, or modify a magistrate judge’s report and recommendation. 28 U.S.C. § 636(b)(1).

    V.    DISCUSSION

          Divided into the elements of the claim, the LIBERTAD Act states that (1) “any person”;

   (2) that “traffics”; (3) “in property which was confiscated by the Cuban Government on or after

   January 1, 1959”; (4) “shall be liable to any United States national”; (5) “who owns the claim to

   such property”; and (6) trafficking must occur after November 1, 1996. See 22 U.S.C.

   §§ 6082(a)(1)(A), 6085(a). The Court will address each element in turn, and then address the

   affirmative defenses.

          A. “Person”

          Defendants are indisputably “persons” under the LIBERTAD Act. See 22 U.S.C.

   §§ 6023(11) (“The term ‘person’ means any person or entity, including any agency or

   instrumentality of a foreign state.”). Defendants do not argue to the contrary. Therefore, Havana

   Docks has established this element as a matter of law.

          B. “Traffics”

          Title III of the LIBERTAD Act defines the term “traffics” as follows:

          a person “traffics” in confiscated property if that person knowingly and
          intentionally--

                  (i) sells, transfers, distributes, dispenses, brokers, manages, or
                  otherwise disposes of confiscated property, or purchases, leases,
                  receives, possesses, obtains control of, manages, uses, or otherwise
                  acquires or holds an interest in confiscated property,

                  (ii) engages in a commercial activity using or otherwise benefiting
                  from confiscated property, or



                                                  80
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 82 of 169




                  (iii) causes, directs, participates in, or profits from, trafficking (as
                  described in clause (i) or (ii)) by another person, or otherwise
                  engages in trafficking (as described in clause (i) or (ii)) through
                  another person,

          without the authorization of any United States national who holds a claim to the
          property.

   § 6023(13)(A) (emphasis supplied).

          Title III of the LIBERTAD Act excludes from the term “traffics” several acts, such as:

          (i) the delivery of international telecommunication signals to Cuba;

          (ii) the trading or holding of securities publicly traded or held, unless the trading is
          with or by a person determined by the Secretary of the Treasury to be a specially
          designated national;

          (iii) transactions and uses of property incident to lawful travel to Cuba, to the
          extent that such transactions and uses of property are necessary to the conduct
          of such travel; or

          (iv) transactions and uses of property by a person who is both a citizen of Cuba and
          a resident of Cuba, and who is not an official of the Cuban Government or the ruling
          political party in Cuba.

   § 6023(13)(B) (emphasis supplied).

          In its Individual Summary Judgment Motions, Havana Docks argues that each Defendant

   knowingly and intentionally engaged in various trafficking acts under subsections (i), (ii), and (iii)

   of § 6023(13)(A). Defendants challenge the alleged trafficking acts, including whether Havana

   Docks sufficiently alleged in its complaints all trafficking theories it now includes in its moving

   papers. Defendants, however, admit that they used the Terminal to travel to Havana. See Carnival,

   ECF No. [373] at 8–9 n.2; MSC, ECF No. [256] at 15 n.10; Royal Caribbean, ECF No. [173] at 4

   n.1; Norwegian, ECF No. [281] at 3 n.1, 4 n.2. Defendants contend that they did not act knowingly

   and intentionally, and that any use of the Terminal was incident and necessary to lawful travel

   under § 6023(13)(B).



                                                    81
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 83 of 169




               1. Scope of Havana Docks’ Claim

           Preliminarily, in response to Havana Docks’ Individual Motions for Summary Judgment,

   each Defendant contends that Havana Docks is seeking summary judgment on unpled trafficking

   theories. The Court addresses the arguments in turn.

                       Carnival

           Carnival contends that Havana Docks did not plead a theory of trafficking beyond

   disembarking and embarking passengers at the Terminal. Carnival, ECF No. [373] at 11.

   According to Carnival, trafficking based on providing shore excursions or contracting with Cuban

   entities are beyond the scope of the pleadings. Id. Havana Docks responds that a complaint need

   not specify in detail the precise theory giving rise to liability; rather, a defendant must be on notice

   of the claim and the grounds upon which it rests. Id., ECF No. [402] at 4. Havana Docks submits

   that the operative pleading and discovery placed Carnival on notice of Havana Docks’ claims. Id.

   at 5. Havana Docks’ argument is persuasive.

           In the operative Second Amended Complaint, Havana Docks alleged that “Carnival

   knowingly and intentionally commenced, conducted, and promoted its commercial cruise line

   business to Cuba using the [Terminal] by regularly embarking and disembarking its passengers”

   and “participated in and profited from the communist Cuban Government’s possession of the

   [Terminal].” Carnival, ECF Nos. [149] ¶¶ 40–41. The disembarkation of passengers at the

   Terminal was part and parcel to those passengers going on shore excursions—the two acts cannot

   be separated. Moreover, the allegations encompass the trafficking activities that fall not only under

   § 6023(13)(A)(i) (using confiscated property), but also under § 6023(13)(A)(ii) (commercial

   activities) and § 6023(13)(A)(iii) (participating in and profiting from trafficking). As such, the

   Second Amended Complaint sufficiently alleges trafficking by Carnival through its contracts with




                                                     82
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 84 of 169




   Cuban entities, including for the purpose of operating shore excursions.

                      Royal Caribbean

          Royal Caribbean argues that Havana Docks’ trafficking theories based on selling shore

   excursions or engaging in commercial activities are unpled. Royal Caribbean, ECF No. [173] at

   2–4. Royal Caribbean also contends that Havana Docks’ First Amended Complaint tracks the

   definition of “traffics” under subpart (i) and (iii) of § 6023(13)(A), but ignores the theory of

   liability under subpart (ii) of § 6023(13)(A). Id. at 4. Havana Docks responds that a complaint need

   not specify in detail the precise theory giving rise to liability; rather, a defendant must be on notice

   of the claim and the grounds upon which it rests. Id., ECF No. [206] at 4. Havana Docks submits

   that the operative pleading and discovery placed Royal Caribbean on notice of Havana Docks’

   claims. Id. at 5. Royal Caribbean’s arguments fail.

          In the operative First Amended Complaint, Havana Docks alleged that Royal Caribbean

   “knowingly and intentionally commenced, conducted, and promoted its commercial cruise line

   business to Cuba using the [Terminal] by regularly embarking and disembarking its passengers on

   the [Terminal],” and “participated in and profited from the communist Cuban Government’s

   possession of the [Terminal].” Id., ECF No. [46] ¶¶ 22–23. The disembarkation of passengers at

   the Terminal was inextricably intertwined with passengers going on shore excursions. Moreover,

   the allegations sufficiently encompass the trafficking activities that fall under § 6023(13)(A)(i)

   (using confiscated property), § 6023(13)(A)(ii) (commercial activities), and § 6023(13)(A)(iii)

   (participating in and profiting from trafficking). Therefore, the pleading includes trafficking by

   Royal Caribbean through its contracts with Cuban entities and related to the shore excursions.

                      Norwegian

          Norwegian similarly argues that Havana Docks’ trafficking theories based on selling shore




                                                     83
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 85 of 169




   excursions or engaging in commercial activities are unpled. Norwegian, ECF No. [281] at 3–4.

   Norwegian also maintains that Havana Docks tracked the language of § 6023(13)(A)(i) and (iii)

   in the First Amended Complaint, but not § 6023(13)(A)(ii). Id. at 4. Havana Docks responds that

   a complaint need not specify in detail the precise theory giving rise to liability; rather, a defendant

   must be on notice of the claim and the grounds upon which it rests. Id., ECF No. [311] at 4. Havana

   Docks submits that the operative pleading and discovery placed Royal Caribbean on notice of

   Havana Docks’ claims. Id. at 5. Norwegian’s arguments are also unpersuasive.

          In the operative First Amended Complaint, Havana Docks alleged that Norwegian

   “knowingly and intentionally commenced, conducted, and promoted its commercial cruise line

   business to Cuba using the [Terminal] by regularly embarking and disembarking its passengers on

   the [Terminal],” and “participated in and profited from the communist Cuban Government’s

   possession of the [Terminal].” Id., ECF No. [56] ¶¶ 21–22. As such, the pleading sufficiently

   provides notice of trafficking by Norwegian through its contracts with Cuban entities and related

   to the shore excursions. The cases relied upon by Norwegian are inapposite. See Gilmour v. Gates,

   McDonald & Co., 382 F.3d 1312, 1315 (11th Cir. 2004) (raising contract claim for the first time

   in response to a summary judgment motion); Altadis USA, Inc. v. NPR, Inc., 162 F. App’x 926,

   928–29 (11th Cir. 2006) (noting that district court properly denied entry of summary judgment on

   unpled theories of liability, but reviewing district court decision “only to see if the district court

   properly refused to permit Altadis to amend its complaint to assert alternative theories”); Cruz v.

   Advance Stores Co., 842 F. Supp. 2d 1356, 1360 (S.D. Fla. 2012) (finding that plaintiff attempted

   to raise new negligence theories in opposition to summary judgment motion). Here, Havana Docks

   does not seek to assert new claims or theories of liability. Instead, Havana Docks has asserted one

   cause of action for trafficking and has sufficiently alleged the scope of the claim.




                                                     84
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 86 of 169




          Norwegian also submits that Havana Docks never alleged that Norwegian trafficked

   through a third party, Fuego Enterprises. Norwegian, ECF No. [281] at 4–5. Havana Docks alleges

   that Norwegian “participated in and profited from the communist Cuban Government’s possession

   of the [Terminal].” Id., ECF No. [56] ¶¶ 21–22. While discovery may have revealed that

   Norwegian used Fuego Enterprises as a third-party intermediary to make payments to Aries and

   Mambisa, Cuban Government-owned entities, id., ECF Nos. [228] ¶¶ 25–26, 28–29, [282] ¶¶ 25–

   26, 28–29, the allegations of participation and profit are sufficient. As such, indirect payments

   made to Aries and Mambisa through Fuego Enterprises fall within the scope of Havana Docks’

   pleading.

                     MSC

          MSC argues that Havana Docks’ allegations are limited to Miami-to-Cuba cruises, and do

   not include Cuba-to-Cuba cruises—where the Armonia and Opera homeported in Havana. MSC,

   ECF No. [256] at 5–11. Havana Docks responds that the operative pleading includes Cuba-to-Cuba

   cruises. Id., ECF No. [281] at 4–7. Havana Docks is correct. Cuba-to-Cuba cruises are expressly

   encompassed within Havana Docks’ Second Amended Complaint against MSC. Id., ECF No.

   [104]. The First Amended Complaint alleged that MSC SA “operated the cruises to Cuba from

   Miami that are the subject of this lawsuit.” Id., ECF No. [56] ¶ 2. However, the operative Second

   Amended Complaint clarified that MSC SA “owns and operates cruise ships which, after

   November 1, 1996 traveled to Cuba, including the cruises to Cuba from Miami[.]” Id., ECF No.

   [104] ¶ 2 (emphasis added). In addition, although the First Amended Complaint alleged trafficking

   acts under § 6023(13)(A)(iii) that began in December 2018, id., ECF No. [56] ¶ 22, the Second

   Amended Complaint expanded the activities timeline to after November 1996, id., ECF No. [104]

   ¶ 24. The Armonia traveled from Miami to Cuba beginning in December 2018. Id., ECF Nos. [224]




                                                  85
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 87 of 169




   ¶ 40, [253] ¶ 40. But the Armonia and Opera used the Terminal as their homeport at different

   points between 2015 and 2019. Id., ECF Nos. [224] ¶¶ 38–39, [253] ¶¶ 38–39. Therefore, the

   Second Amended Complaint, although not a model of clarity, sufficiently alleges that the alleged

   trafficking encompasses Cuba-to-Cuba cruises.

                 2. Trafficking Activity

          While disclaiming liability on other grounds, Carnival, MSC SA, Royal Caribbean, and

   Norwegian admit in their memoranda that they used the Terminal. See Carnival, ECF No. [373] at

   8–9; MSC, ECF No. [256] at 15 n.10; Royal Caribbean, ECF No. [173] at 4 n.1; Norwegian, ECF

   No. [281] at 3 n.1, 4 n.2. It is undisputed that during the time Carnival, MSC SA, Royal Caribbean,

   and Norwegian cruised to Havana, their ships docked at the Terminal’s Pier 1 to embark and

   disembark passengers. Carnival, ECF Nos. [331] ¶ 22, [332] ¶¶ 17, 23–28, [374] ¶¶ 17, 23–28,

   [388] ¶ 22; MSC, ECF Nos. [224] ¶¶ 35, 40, 41, 45, [253] ¶ 35, 40, 41, 45; Royal Caribbean, ECF

   Nos. [141] ¶¶ 27, 29–30, [172] ¶¶ 27, 29–30; Norwegian, ECF Nos. [228] ¶¶ 14–15, [282] ¶¶ 14–

   15. In addition, the Opera and Armonia used the Terminal as a homeport from 2015 to 2019. MSC,

   ECF Nos. [224] ¶¶ 37–38, [253] ¶¶ 37–38. The Terminal was often used as a starting or stopping

   point for shore excursions for cruise travelers. MSC, ECF Nos. [224] ¶¶ 49–50, [253] ¶¶ 49–50;

   Royal Caribbean, ECF Nos. [141] ¶¶ 34, 93, [172] ¶¶ 34, 93; Norwegian, ECF Nos. [228] ¶ 18,

   [282] ¶ 18.

          As such, by using the Terminal and one of its piers in various ways, Carnival, MSC SA,

   Royal Caribbean, and Norwegian committed trafficking acts under § 6023(13)(A)(i). See Exxon

   Mobil Corp. v. Corporacion Cimex S.A., No. 19-CV-1277 (APM), 2021 WL 4709566, at *2

   (D.D.C. Oct. 8, 2021) (“Title III makes any subsequent user of confiscated property . . . liable for

   trafficking in such property.”); see also § 6023(13)(A)(i) (“a person ‘traffics’ in confiscated




                                                   86
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 88 of 169




   property if that person knowingly and intentionally . . . uses . . . confiscated property[.]”).

          Importantly, there is no threshold level or type of trafficking activity that must occur for

   liability to attach under the LIBERTAD Act. Section 6082(a)(1) unambiguously states that a person

   who “traffics” in confiscated property is liable, § 6082(a)(1), and “traffics” is defined broadly and

   disjunctively, encompassing many types of acts. See § 6023(13). Moreover, the LIBERTAD Act

   sets forth that a person who “traffics in property” is presumptively liable for “the amount, if any,

   certified to the claimant by the Foreign Claims Settlement Commission under the International

   Claims Settlement Act” or “the fair market value of that property,” if the presumption is rebutted

   by clear and convincing evidence. § 6082(a)(1)(A)(i), (2).

          In addition, Defendants’ use of the Terminal and commercial contracts with Cuban entities

   constituted “engag[ing] in a commercial activity” under § 6023(13)(A)(ii). The LIBERTAD Act

   states that “[t]he term ‘commercial activity’ has the meaning given that term in section 1603(d) of

   Title 28.” § 6023(3). Section 1603(d) defines “commercial activity” as “either a regular course of

   commercial conduct or a particular commercial transaction or act.” § 1603(d).

          Carnival, MSC SA, Royal Caribbean, and Norwegian contracted with Aries to dock at the

   Terminal. Carnival, ECF Nos. [332] ¶ 29, [374] ¶ 29; MSC, ECF Nos. [224] ¶ 51, [253] ¶ 51;

   Royal Caribbean, ECF Nos. [141] ¶ 37, [172] ¶ 37; Norwegian, ECF Nos. [228] ¶ 21, [282] ¶ 21.

   Carnival, Royal Caribbean, and Norwegian contracted with Mambisa as port agent for the

   Terminal, Carnival, ECF Nos. [332] ¶ 30, [374] ¶ 30; Royal Caribbean, ECF Nos. [133] ¶ 23,

   [141] ¶ 41, [172] ¶ 41, [183] ¶ 23; Norwegian, ECF Nos. [228] ¶ 27, [282] ¶ 27, while MSC SA

   contracted with Mapor as port agent for the Terminal, MSC, ECF Nos. [224] ¶ 52, [253] ¶ 52.26


   26
     Although there is some dispute whether the Cuban Government owns Mapor, there is no dispute that
   Mapor was the port agent for MSC SA, for which MSC SA paid Mapor $9,314,386.41. MSC, ECF Nos.
   [224] ¶ 55, [253] ¶ 55. As such, Mapor benefited from use of the Terminal, and MSC SA participated in
   Mapor’s use of the Terminal.


                                                     87
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 89 of 169




   MSC SA contracted with Cubanacan to operate shore excursions, MSC, ECF Nos. [224] ¶ 56,

   [253] ¶ 56, while Carnival, Royal Caribbean, and Norwegian contracted with Havanatur, Carnival,

   ECF Nos. [332] ¶ 31, [374] ¶ 31; Royal Caribbean, ECF Nos. [141] ¶ 45, [172] ¶ 45; Norwegian,

   ECF Nos. [228] ¶ 31, [282] ¶ 31.

          The revenues earned by the cruise operators and the payments they made to Cuban entities

   evidence the commercial nature of the transactions. As the Court has previously noted, Carnival,

   MSC SA, Royal Caribbean, and Norwegian earned hundreds of millions of dollars for their trips

   to Cuba, and they paid Cuban entities tens of millions of dollars to use the Terminal and operate

   shore excursions. See Carnival, ECF No. [332] ¶¶ 32, 37–39, [374] ¶¶ 32, 37–39; MSC, ECF Nos.

   [224] ¶ 55, 59, 62, [253] ¶ 55, 59, 62; Royal Caribbean, ECF Nos. [141] ¶¶ 40, 44, 47, 52, [172]

   ¶¶ 40, 44, 47, 52; Norwegian, ECF Nos. [228] ¶¶ 24–26, 30, 35, 50 [282] ¶¶ 24–26, 30, 35, 50.

          The contracts with Cuban entities also constitute trafficking acts under subpart (iii) of

   § 6023(13)(A) given that, to use the Terminal, Carnival, MSC SA, Royal Caribbean, and

   Norwegian “participate[d] in” trafficking under § 6023(13)(A)(iii) by entering into agreements

   with Cuban entities that “manage[d],” “use[d],” or “benefit[ed] from” the Terminal.

   § 6023(13)(A)(i), (ii).

          Moreover, Defendants admit or fail to dispute that they profited from the use of the

   Terminal, which constitutes trafficking under subpart (iii) of § 6023(13)(A). Although Carnival

   contends that the Adonia was not profitable, Carnival, ECF No. [374] ¶ 36, Carnival does not state

   that its other cruises were not profitable. Havana Docks submits that Carnival earned total net

   cruise revenue and shore excursion net revenue for the CCL ships that docked at the Terminal of

   $67,788,397.00 and revenues for Veendam cruises to Cuba that docked at the Terminal of

   $44,496,253.86. Id., ECF No. [332] ¶¶ 37, 39. Carnival responds that those figures represent




                                                  88
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 90 of 169




   revenues from every voyage that included a stop in Havana, id., ECF No. [374] ¶¶ 37–39, yet that

   response does not deny that using the Terminal resulted in profits to Carnival.

           MSC denies that it profited from any of its cruises to Cuba. MSC, ECF No. [253] ¶ 69.

   MSC, however, admits that MSC SA earned approximately €247,000,000.00 in net cruise revenues

   from the Armonia and Opera cruises to the Terminal between 2015 and 2019. Id., ECF Nos. [224]

   ¶ 62, [253] ¶ 62. For cruises from the U.S. to Cuba on the Armonia that docked at the Terminal

   between December 2018 and June 2019, the net revenue for cruises was €38,994,000.00, and the

   net ticket revenue was €26,387,000.00. Id., ECF Nos. [224] ¶¶ 63–64, [253] ¶¶ 63–64. Moreover,

   from 2015 to 2019, MSC SA earned €21,614,000.00 from the sale of shore excursions to Opera

   and Armonia passengers. Id., ECF Nos. [259] ¶ 70, [273] ¶ 70.

           Havana Docks contends that Royal Caribbean earned net revenues of $329,094,322.00

   from cruises that docked at the Terminal. Royal Caribbean, ECF No. [141] ¶ 52. Royal Caribbean

   responds that it “does not track net revenue or profit on a cruise-by-cruise basis.” Id., ECF No.

   [141] ¶ 52. That statement is not a denial that using the Terminal resulted in a profit to Royal

   Caribbean. Notably, Royal Caribbean’s Chief Financial Officer, Liberty, described Cuba as a “high

   yielding destination,” Id., ECF No. [131-32] at 6. He also added that the recission of people-to-

   people travel “created a short-term impact to our guests, operations and earnings,” affecting Royal

   Caribbean’s earnings per share by $0.25 to $0.35 a share. Id. Royal Caribbean admitted that cruises

   to Cuba earned a “premium,” outperforming non-Cuba cruises. Id., ECF Nos. [141] ¶ 55, [172]

   ¶ 55.

           Norwegian admits that it earned money, or profited from, providing passenger carrier

   services on the vessels that docked at the Terminal. Norwegian, ECF Nos. [228] ¶ 48, [282] ¶ 48.

   Norwegian earned $299,860,891.00 in total revenue for voyages to Cuba, resulting in net revenue




                                                   89
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 91 of 169




   for voyages to Havana and excursions in Havana of $25,139,622.00. Id., ECF Nos. [228] ¶ 50,

   [282] ¶ 50. Norwegian further admits that cruises to Cuba commanded a premium price due to

   pent-up demand and limited availability. Id., ECF Nos. [228] ¶ 49, [282] ¶ 49. Norwegian’s

   President and CEO, Frank Del Rio, testified that Cuba “was a profitable itinerary to operate, and

   we didn’t want to see it stopped.” Id., ECF No. [214-6] at 22.27

           Finally, as to MSC USA, Havana Docks’ broad trafficking allegations encompass all MSC

   entities—MSC SA, MSC USA, and MSC Co.28 See MSC, ECF No. [104] ¶¶ 23–24. It is undisputed

   that MSC USA sold and marketed MSC SA’s cruises from Miami to Cuba. Id., ECF Nos. [224]

   and [253] ¶¶ 16–18. It is also undisputed that MSC USA received revenue from its marketing and

   ticket sales. Id., ECF Nos. [224] and [253] ¶ 19. As such, MSC USA engaged in commercial

   activities benefiting from MSC SA’s use of the Terminal under § 6023(13)(A)(ii) and participated

   in MSC SA’s use of the Terminal under § 6023(13)(A)(iii).

           Based on the undisputed facts, the Court finds that Carnival, MSC SA, MSC USA, Royal

   Caribbean, and Norwegian engaged in acts enumerated under § 6023(13)(A)(i)–(iii) of the

   LIBERTAD Act as a matter of law. The Court now considers whether Defendants engaged in those

   acts “knowingly and intentionally.” § 6023(13)(A).

                3. “Knowingly and Intentionally”

           As discussed previously, Defendants are liable under the LIBERTAD Act if they




   27
     Given this ruling, the Court need not address the factual dispute concerning whether Carnival provided
   “recommendations and advice” for the renovation and enhancement of the Terminal. Carnival, ECF No.
   [332] ¶ 34; see id., ECF No. [374] ¶ 34. Nor does the Court need not reach the issue of whether Carnival
   also trafficked through Airtours or Costa or any of the related issues. Carnival engaged in direct trafficking
   acts. There is likewise no need to address whether Royal Caribbean trafficked through Silversea or any of
   the related issues. Royal Caribbean also engaged in direct trafficking acts.
   28
    As stated previously, however, the Court grants summary judgment in favor of MSC Co. due to Havana
   Docks’ lack of argument.


                                                        90
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 92 of 169




   “knowingly and intentionally” engaged in trafficking acts. § 6023(13)(A). The LIBERTAD Act

   defines “knowingly” as being “with knowledge or having reason to know.” § 6023(9).

             The parties’ knowledge and intent arguments are substantially similar throughout the

   Motions. Havana Docks argues that Defendants’ acts were “[d]one with the aim of carrying out

   the act,” which is Black’s Law Dictionary’s definition of “intentional.” E.g., Carnival, ECF No.

   [333] at 7. Concerning the definition of “knowingly,” Havana Docks argues that “knowledge”

   refers to actual knowledge, while “having reason to know” indicates constructive knowledge. Id.

   at 7–8.

             According to Havana Docks, Carnival has admitted that it was generally aware of a

   Certified Claim since 1996 and learned of the Certified Claim in 2012. Id., ECF No. [333] at 8.

   Norwegian has admitted that it learned of the Certified Claim in February 2017, Norwegian, ECF

   No. [229] at 7.29 MSC and Royal Caribbean learned of the Certified Claim in February 2019, and

   both had access to the Certified Claim from public records since 1971. MSC, ECF No. [225] at 6–

   7, Royal Caribbean, ECF No. [142] at 7–8.30

             Defendants respond that a reasonable person reading the Certified Claim would not have

   known or had reason to know that Havana Docks had an interest in confiscated property that

   extended beyond 2004. Carnival, ECF No. [373] at 13; MSC, ECF Nos. [209] at 16–17, [256] at

   24; Royal Caribbean, ECF Nos. [132] at 10, [173] at 6; Norwegian, ECF Nos. [230] at 16–17,

   [281] at 6. Defendants rely on this Court’s initial interpretation of the Concession, abandoned on


   29
     Although the record establishes when Carnival and Norwegian gained actual knowledge of the Certified
   Claim, the record does not indicate how they gained that knowledge.
   30
     Havana Docks also argues that Royal Caribbean gained constructive knowledge of the Certified Claim
   due to comments from Congressman Mario Diaz-Balart, two billboards that appeared near Royal
   Caribbean’s principal executive office, and four articles published in the Tampa Bay Times and Miami
   Herald. Royal Caribbean, ECF No. [142] at 8–9. Based on the Court’s rulings, none of these facts are
   necessary to establish the requisite knowledge and intent.


                                                    91
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 93 of 169




   reconsideration, that Havana Docks could not state a claim for trafficking that occurred after its

   leasehold interest would have expired. Carnival, ECF No. [373] at 13; MSC, ECF No. [209] at 17;

   Royal Caribbean, ECF No. [132] at 11; Norwegian, ECF No. [230] at 17–18. In addition,

   Defendants interpret the scienter requirement as applying to all elements of a cause of action under

   the LIBERTAD Act, including whether Havana Docks was a United States national and whether

   the property was confiscated by the Cuban Government. Carnival, ECF No. [373] at 13; MSC,

   ECF No. [256] at 24; Royal Caribbean, ECF No. [173] at 5; Norwegian, ECF No. [281] at 5–6.

          Knowledge generally entails “actual knowledge,” while having “reason to know” denotes

   “constructive knowledge.” Luxottica Grp., S.p.A. v. Airport Mini Mall, LLC, 932 F.3d 1303, 1312

   (11th Cir. 2019) (explaining that a person engages in contributory infringement where the infringer

   “supplies a ‘product’ to the direct infringer whom it ‘knows’ is directly infringing (actual

   knowledge), or . . . “has reason to know” is directly infringing (constructive knowledge).” As this

   Court has explained in another LIBERTAD Act case, trafficking in confiscated property after

   receiving notice from the plaintiff is enough to establish scienter. See de Fernandez v. Seaboard

   Marine, Ltd., No. 20-CV-25176, 2021 WL 3173213, at *8 (S.D. Fla. July 27, 2021).

          Also instructive is how courts have interpreted the term “knowingly” under the False

   Claims Act (FCA), which is defined as “actual knowledge of the information,” “acts in deliberate

   ignorance of the truth or falsity of the information,” or “acts in reckless disregard of the truth or

   falsity of the information.” 31 U.S.C. § 3729(b)(a)(A)(i)–(iii). As the Eleventh Circuit has

   explained, reckless disregard encompasses “the ostrich type situation where an individual has

   buried his head in the sand and failed to make simple inquiries which would alert him that false

   claims are being submitted.” Yates v. Pinellas Hematology & Oncology, P.A., 21 F.4th 1288, 1303

   (11th Cir. 2021). Thus, “a person acts with reckless disregard—and thus ‘knowingly’—under the




                                                    92
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 94 of 169




   FCA when he knows or has reason to know of facts that would lead a reasonable person to realize

   that harm is the likely result of the relevant act.” Id. (internal marks omitted).

             Here, the undisputed facts show that Defendants continued using the Terminal after gaining

   actual knowledge of the Certified Claim. Carnival learned of the Certified Claim in 2012. Carnival,

   ECF Nos. [332] ¶¶ 15–16, [374] ¶¶ 15–16. Norwegian learned of the Certified Claim in February

   2017. Norwegian, ECF Nos. [228] ¶ 9, [282] ¶ 9. MSC and Royal Caribbean learned of the

   Certified Claim in February 2019 (or shortly thereafter). MSC, ECF Nos. [210] ¶ 45, [259] ¶ 45;

   Royal Caribbean, ECF Nos. [141] ¶ 20, [172] ¶ 20. Yet despite their knowledge, Carnival, MSC

   SA, MSC USA, Royal Caribbean, and Norwegian continued using the Terminal until May or June

   2019. See Carnival, ECF Nos. [337] ¶ 86, [367] ¶ 86 (general admission that Defendants continued

   using the Terminal after receiving Havana Docks’ letters on February 11, 2019); id., ECF Nos.

   [332] ¶¶ 27–28, [374] ¶¶ 27–28 (Carnival’s use of the Terminal until May 2019); MSC, ECF Nos.

   [224] ¶¶ 16–18, 40, 48, [253] ¶¶ 16–18, 40, 48 (MSC USA’s sales and marketing of MSC SA’s

   cruises from Miami to Cuba and the Armonia’s use of the Terminal until June 2019); Royal

   Caribbean, ECF No. [141] ¶ 32, [172] ¶ 32 (Royal Caribbean’s use of the Terminal until June

   2019); Norwegian, ECF Nos. [228] ¶ 16, [282] ¶ 16 (Norwegian’s use of the Terminal after

   February 11, 2019). Under the plain language of the statute, the post-actual-notice trafficking by

   Carnival, MSC SA, MSC USA, Royal Caribbean, and Norwegian is enough to establish liability

   under the LIBERTAD Act. See § 6082(a)(1).

             It is also undisputed that Defendants had reason to know of the Certified Claim long before

   cruise operators started traveling to Havana. The Certified Claim has been a matter of public record

   since 1971.31 Carnival, ECF Nos. [337] ¶ 43, [367] ¶ 43. Defendants have also been aware of the


   31
        According to the Department of Justice’s website, all FCSC decisions were electronically compiled in



                                                       93
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 95 of 169




   LIBERTAD Act since 1996 or 1997. Carnival, ECF Nos. [332] ¶ 14, [374] ¶ 14; MSC, ECF Nos.

   [224] ¶ 26, [253] ¶ 26; Royal Caribbean, ECF Nos. [141] ¶ 8, [172] ¶ 8; Norwegian, ECF Nos.

   [228] ¶ 6, [282] ¶ 6. Therefore, Defendants had reason to know of the Certified Claim well before

   they gained actual knowledge of the Certified Claim.

             Concerning the intentional element of the knowledge prong, the Court finds instructive

   United States v. Tosca, 848 F. App’x 371, 376 (11th Cir. 2021), which defined “knowingly” under

   a criminal statute as “an act was done voluntarily and intentionally and not because of a mistake

   or by accident.” Here, Defendants did not use the Terminal by mistake or accident; they voluntarily

   and intentionally traveled to Havana and used the Terminal.32 See Carnival, ECF Nos. [332] ¶¶ 17–

   18, [374] ¶¶ 17–18; Royal Caribbean, ECF Nos. [141] ¶ 27, [172] ¶ 27; MSC, ECF Nos. [224]

   ¶¶ 36–38 [253] ¶¶ 36–38; Norwegian, ECF Nos. [228] ¶ 14, [282] ¶ 14.

             The Court is not persuaded by Defendants’ contention that they lacked the requisite scienter

   because a reasonable reading of the Certified Claim revealed an expired interest in the Terminal.

   In 2006, the Eleventh Circuit established that although the LIBERTAD Act deemed confiscations

   by the Cuban Government wrongful, it did not proclaim those confiscations ineffective. Glen v.

   Club Mediterranee, S.A., 450 F.3d 1251, 1255 (11th Cir. 2006). And while victims of confiscations

   had lost their property, the LIBERTAD Act set forth that “the property interest that former owners

   of confiscated property now have [is] ownership of a ‘claim to such property.’” Id. Applying Glen

   to Havana Docks’ Certified Claim, this Court previously explained that “the Cuban Government’s

   expropriation of the [Terminal] extinguished all rights Havana Docks had to the remaining



   October 2009, and the decisions have been available online since February 9, 2015. See Foreign Claims
   Settlement Commission of the U.S., The United States Department of Justice, https://www.justice.gov/fcsc.
   (last visited Mar. 16, 2022).
   32
        By the same token, MSC USA did not accidentally or mistakenly sell cruise tickets to Cuba.


                                                        94
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 96 of 169




   concession term of 44 years.” Havana Docks Corp. v. MSC Cruises SA Co., 455 F. Supp. 3d 1355,

   1369 (S.D. Fla. 2020). But “in lieu of its property interest in the remaining 44 years of the

   concession,” Havana Docks “now owns an interest only in the Certified Claim,” which has no time

   limitation. Id.33 This Court’s initial reading of the Certified Claim is not a shield from liability.

   Defendants were in possession of facts from the Certified Claim—either through public records or

   directly from Havana Docks—which, in light of Glen, would lead a reasonable person to conclude

   that using the Terminal may constitute trafficking under the LIBERTAD Act.

           The case of United States ex rel. Sheldon v. Allergan Sales, LLC, 24 F.4th 340 (4th Cir.

   2022), which Defendants provided as supplemental authority, in distinguishable. In that case, the

   Fourth Circuit held that “[u]nder the [Fair Credit Reporting Act], a defendant cannot act

   ‘knowingly’ if it bases its actions on an objectively reasonable interpretation of the relevant statute

   when it has not been warned away from that interpretation by authoritative guidance.” Id. at 348.

   Here, the LIBERTAD Act is clear: “any person that . . . traffics in property which was confiscated

   by the Cuban Government on or after January 1, 1959, shall be liable to any United States national

   who owns the claim to such property for money damages.” § 6082(a)(1)(A). Defendants did not

   reasonably rely on a different interpretation of the LIBERTAD Act, but on a different interpretation

   of the Certified Claim. Moreover, Glen, which is binding authority from 2006, should have warned

   Defendants, precluding their limiting interpretation of the Certified Claim.

           The Court also disagrees with Defendants that the LIBERTAD Act’s scienter requirement

   also applies to the United States national element—meaning that Defendants had to know or have



   33
      As its twenty-fifth affirmative defense, Carnival submits that “Congress lacks Article I power to create
   property rights abroad.” Carnival, ECF No. [160] at 22. This is a pure issue of law, and the defense is
   foreclosed by Glen, which explained that under the LIBERTAD Act, victims of confiscated property have
   lost their property interests abroad but are suing upon a Certified Claim to that interest. Thus, Havana Docks
   is entitled to summary judgment on this affirmative defense.


                                                        95
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 97 of 169




   reason to know that Havana Docks is a United States national. Defendants rely on Glen v. Trip

   Advisor LLC, 529 F. Supp. 3d 316 (D. Del. 2021), which found “persuasive the analyses of

   numerous other courts that have interpreted statutes having specific knowledge requirements as

   requiring knowledge of all the elements listed in the statute.” Id. at 331 n.16. Glen, however, relied

   on a series of cases that support the proposition that “[a]s a matter of ordinary English grammar,

   we normally read the statutory term ‘knowingly’ as applying to all the subsequently listed elements

   of the crime.” Rehaif v. United States, 139 S. Ct. 2191, 2196 (2019).

           Rehaif concerned 18 U.S.C. § 924(a), which set forth criminal penalties for a person who

   “knowingly violates” 18 U.S.C. § 922(g), which made it unlawful for certain individuals, like

   illegal aliens, to possess firearms. Rehaif, 139 S. Ct. at 2194. The issue before the Supreme Court

   was whether a defendant had to both knowingly possess a firearm and know that he could not

   possess a firearm, or simply knowingly possess a firearm. Id. The Court held that the term

   “knowingly” applied to the entirety of § 922(g), and thus to both the possession element and status

   element. Id. at 2195.

          The LIBERTAD Act is different. The LIBERTAD Act does not place the term “knowingly”

   before all subsequently listed elements of a Title III claim. Instead, the LIBERTAD Act states that

   a person who “traffics in property which was confiscated by the Cuban Government . . . shall be

   liable to any United States national who owns the claim to such property[.]” § 6082(a)(1)(A). The

   terms “knowingly and intentionally” are included only within the definition of “traffics,” which

   lists what constitutes trafficking acts. § 6023(13) (stating, “a person ‘traffics’ in confiscated

   property if that person knowingly and intentionally,” and then listing trafficking acts). Thus, under

   the plain terms of the statute, the term “knowingly and intentionally” modifies only the listed

   trafficking acts. Consequently, a Title III plaintiff need only show that the defendant knowingly




                                                    96
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 98 of 169




   and intentionally engaged in a trafficking act.

           Defendants also rely on Gonzalez v. Amazon.com, Inc., No. 19-23988-CIV, 2020 WL

   1169125, at *2 (S.D. Fla. Mar. 11, 2020), which found that the plaintiff did not sufficiently allege

   scienter because he did not set forth that “Defendants knew the property was confiscated by the

   Cuban government nor that it was owned by a United States citizen.” Gonzalez concerned only the

   sufficiency of the plaintiff’s complaint. Gonzalez did not address the scope of the scienter

   requirement. In this case, the plain text of the statute shows that the scienter requirement applies

   only to trafficking acts.

           Even if the requisite scienter must be established as to all elements of the LIBERTAD Act,

   Defendants’ arguments still fail. The Certified Claim, of which Defendants had both constructive

   and actual knowledge, sets forth Havana Docks’ claim “that on the basis of a concession granted

   by the Government of Cuba, it owned and operated, at the entrance of the harbor of Havana three

   piers: the ‘San Francisco’, ‘‘Machina’ and ‘Santa Clara’ linked with a large marginal building.”

   Carnival, ECF No. [73-8] at 6. The FCSC found, among other things, that (1) Havana Docks was

   a “national of the United States”; (2) owned a “concession for the construction and operation of

   wharves and warehouses in the harbor of Havana”; (3) “acquired at the same time the real property

   with all improvements and appurtenances located on the Avenida del Puerto between Calle

   Amargura and Calle Santa Clara in Havana, facing the Bay of Havana,” as well as other property;

   (4) had its assets nationalized by the Cuban Government; and (5) that the loss was valued at more

   than $9 million. Carnival, ECF No. [73-8]; see also MSC, ECF No. [41-8]; Royal Caribbean, ECF

   No. [31-8]; Norwegian, ECF No. [43-8]. Thus, the Certified Claim contained facts from which

   Defendants knew, or had reason to know, that Havana Docks once held an interest in the Terminal

   related to its operation and management that was unjustly confiscated by the Cuban Government.




                                                     97
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 99 of 169




          The Court determines that Carnival, MSC SA, MSC USA, Royal Caribbean, and

   Norwegian acted “knowingly and intentionally” under the LIBERTAD Act.

          C. Property Confiscated by Cuban Government

          It is undisputed that on October 24, 1960, the Fidel Castro-led Cuban Government

   naturalized all property located in Cuba of United States nationals, including Havana Docks’

   assets. Carnival, ECF Nos. [337] ¶¶ 27–28, [367] ¶¶ 27–28; see id., ECF No. [73-6]; MSC, ECF

   No. [41-6]; Royal Caribbean, ECF No. [31-6]; Norwegian, ECF No. [43-6]. Defendants do not

   dispute that Havana Docks was not compensated by the Cuban Government for the Terminal.

   Instead, Defendants contend that the Cuban Government has always owned the Terminal.

   Carnival, ECF No. [367] ¶ 31. The FCSC, however, has conclusively determined that Havana

   Docks had an interest in the confiscated property.

          Title III of the LIBERTAD Act states that “the court shall accept as conclusive proof of

   ownership of an interest in property a certification of a claim to ownership of that interest that has

   been made by the [FCSC]” § 6083(a)(1). The LIBERTAD Act is consistent with the limitation on

   judicial review of certified claims. The Settlement Act states that “[t]he decisions of the [FCSC]

   with respect to claims shall be final and conclusive on all questions of law and fact, and shall not

   be subject to review by the Attorney General or any other official of the United States or by any

   court by mandamus or otherwise.” 22 U.S.C. § 1622g; see Haven v. Polska, 215 F.3d 727, 734 n.8

   (7th Cir. 2000) (citing § 1622g for the proposition that “FCSC decisions may not be reviewed by

   a federal court.”). Similarly, the Settlement Act states that “[t]he action of the [FCSC] in allowing

   or denying any claim . . . shall be final and conclusive on all questions of law and fact and not

   subject to review by the Secretary of State or any other official, department, agency, or

   establishment of the United States or by any court by mandamus or otherwise.” 22 U.S.C.




                                                    98
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 100 of 169




    § 1623(h); see Robles v. Kerry, 74 F. Supp. 3d 254, 264 (D.D.C. 2014) (explaining that per

    § 1623(h), the Settlement Act “explicitly provides that [FCSC] decisions are not subject to judicial

    review”). Accordingly, under the plain terms of the LIBERTAD Act and Settlement Act, the Court

    must accept as true the FCSC’s certification of an ownership of an interest in confiscated property

    made in favor of Havana Docks.

           The Court finds that Havana Docks has established that the Cuban Government confiscated

    property to which Havana Docks owned an interest.

           D. United States National

           Havana Docks contends that the FCSC conclusively determined its nationality. Carnival,

    ECF No. [336] at 8. Defendants disagree, pointing out that the Settlement Act and LIBERTAD Act

    define United States nationals differently. Id., ECF No. [368] at 9. Defendants are correct. The

    Settlement Act defines “national of the United States” as “a corporation or other legal entity which

    is organized under the laws of the United States . . . if natural persons who are citizens of the

    United States own, directly or indirectly, 50 per centum or more of the outstanding capital stock

    or other beneficial interest of such corporation or entity.” § 1643a(1). By contrast, the LIBERTAD

    Act defines a “United States national” as “any United States citizen,” § 6023(15)(A), or “any other

    legal entity which is organized under the laws of the United States, or of any State, the District of

    Columbia, or any commonwealth, territory, or possession of the United States, and which has its

    principal place of business in the United States.” § 6023(15)(B).

           The FCSC found that Havana Docks was a “national of the United States” because U.S.

    nationals owned more than 50 percent of Havana Docks’ capital stock. Carnival, ECF No. [73-8]

    at 6. The LIBERTAD Act does not define a “United States national” corporation in accordance

    with the citizenship of stockholders. Instead, the corporation must have “its principal place of




                                                     99
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 101 of 169




    business in the United States.” § 6023(15)(B). Moreover, although the LIBERTAD Act states that

    “the court shall accept as conclusive proof of ownership of an interest in property a certification

    of a claim to ownership of that interest that has been made by the [FCSC]. . . .” § 6083(a)(1), there

    is no similar provision stating that the Court must also accept as conclusive proof the FCSC’s

    determination of nationality. The reason is obvious: Havana Docks’ claim will not change after

    certification, but its principal place of business might.

           Havana Docks also argues that “citizen” under § 6023(15)(A) of the LIBERTAD Act is not

    limited to natural persons, and Havana Docks is a United States citizen because it is incorporated

    in the United States. Carnival, ECF No. [336] at 9. Defendants respond that Havana Docks has

    never pled that it is a United States citizen under § 6023(15)(A), and Defendants disagree that

    § 6023(15)(A) applies to legal entities. Id. at 10. The Court agrees with Defendants that “United

    States citizen” under § 6023(15)(A) does not include corporate entities. “Between competing

    interpretations, one which renders part of the statute superfluous and one which gives effect to all

    of its provisions, we opt for the latter.” Bellitto v. Snipes, 935 F.3d 1192, 1202 (11th Cir. 2019).

    Section 6023(15)(B) explicitly mentions legal entities, stating that they must be both incorporated

    in the United States and have their principal place of business in the United States. § 6023(15)(B).

    If Havana Docks is deemed a United States citizen just by virtue of being incorporated in the

    United States, then it would render the principal-place-of-business prong superfluous.

           Finally, Havana Docks contends that its corporate activities show that its principal place of

    business is in the United States. Carnival, ECF No. [336] at 9. Defendants respond that, under the

    “nerve center” test, Havana Docks’ principal place of business is in the United Kingdom. Id., ECF

    No. [368] at 11–14. Defendants also move for summary judgment on the issue of Havana Docks’

    principal place of business, arguing that Havana Docks’ nerve center is overseas as a matter of law.




                                                     100
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 102 of 169




    Id., ECF No. [330] at 24–25. Havana Docks responds that the nerve center test points to Kentucky

    as its principal place of business. Id., ECF Nos. [389] at 25–29, [395] at 6–9.

            Under the nerve center test, a corporation’s principal place of business is “the place where

    a corporation’s officers direct, control, and coordinate the corporation’s activities.” Hertz Corp. v.

    Friend, 559 U.S. 77, 92–93 (2010). As the Supreme Court explained:

            in practice it should normally be the place where the corporation maintains its
            headquarters—provided that the headquarters is the actual center of direction,
            control, and coordination, i.e., the “nerve center,” and not simply an office where
            the corporation holds its board meetings (for example, attended by directors and
            officers who have traveled there for the occasion).

    Id. at 93.

            For example, in Annon Consulting, Inc. v. BioNitrogen Holdings Corp., 650 F. App’x 729

    (11th Cir. 2016), a corporation’s principal place of business was in Ontario, Canada, where the

    corporation, which had loaned money to the defendants, was only affiliated with an Ontario

    address, the bank account from which funds were wired was in Ontario, and “[n]othing in the

    record evidences that Annon’s corporate activities were directed, controlled, or coordinated from

    a location other than from Ontario, Canada.” Id. at 731; see also Crockett v. Securitas Sec. Servs.

    USA, Inc., 278 F. App’x 863, 865 (11th Cir. 2007) (determining that corporation’s principal place

    of business was California because its corporate headquarters was located in California and 13%

    of its revenue came from California).

            Here, the Court determines that Havana Docks’ principal place of business is in the United

    States as a matter of law. Even issues that are “generally a question of fact . . . may be resolved on

    summary judgment where the undisputed record evidence would lead a reasonable juror to only

    one conclusion.” Edge Sys. LLC v. Aguila, 186 F. Supp. 3d 1330, 1349 (S.D. Fla. 2016). Moreover,

    “the mere existence of some alleged factual dispute between the parties will not defeat an otherwise




                                                     101
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 103 of 169




    properly supported motion for summary judgment; the requirement is that there be no genuine

    issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986) (emphasis

    in original). “Only disputes over facts that might affect the outcome of the suit under the governing

    law will properly preclude the entry of summary judgment.” Id. Also, “[i]nferences based on

    speculation and a mere scintilla of evidence in support of the nonmoving party will not suffice to

    overcome a motion for summary judgment.” Daniels v. Jacobs, 753 F. App’x 748, 755 (11th Cir.

    2018) (internal citations omitted).

           The only corporate address associated with Havana Docks is in Lexington, Kentucky.

    Carnival, ECF Nos. [331-118] at 9, [388] ¶ 113, [401] ¶ 113. Havana Docks has only two

    functions: to exist and manage its income-producing assets. Id., ECF Nos. [388] ¶¶ 114–15, [401]

    ¶¶ 114–15. Indeed, Havana Docks has no employees. Id., ECF Nos. [388] ¶ 111, [401] ¶ 111.

    Johnson, who operates out of Kentucky, id., ECF Nos. [337] ¶ 59, [367] ¶ 59, is tasked with

    performing both of those functions. Id., ECF Nos. [337] ¶ 50, [367] ¶ 50. It is undisputed that

    Johnson has performed duties to, among other things, maintain Havana Docks’ corporate status

    active and in good standing, id., ECF Nos. [337] ¶ 52, [367] ¶ 52; coordinate the filing of Havana

    Docks’ taxes, id., ECF Nos. [337] ¶ 54, [367] ¶ 54; and maintain Havana Docks’ ledger, balance

    sheets, income statements, id., ECF Nos. [337] ¶ 55, [367] ¶ 55.

           Mickael Behn, Havana Docks’ President, testified that “[a]ll decisions are executed by

    Jerry Johnson,” id., ECF No. [331-113] at 26, and that Johnson could do “[p]retty much

    everything” without his input, id. at 40. Behn added that Johnson “has authority . . . to do what he

    needs to do for Havana Docks. It’s a certified claim. And to keep the company running.” Id.

    Johnson similarly testified that although he reports to Behn as President, Johnson is “largely

    responsible” for “the day-to-day business decisions for Havana Docks.” Id., ECF No. [331-102]




                                                    102
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 104 of 169




    at 29. Johnson further stated at deposition that Behn does not conduct any Havana Docks business

    in England. Id., ECF No. [318-1] at 54.

           Defendants fail to raise a genuine issue of material fact that Havana Docks’ principal place

    of business is located outside the United States. “[T]he materiality determination rests on the

    substantive law, [and] it is the substantive law’s identification of which facts are critical and which

    facts are irrelevant that governs.” Anderson, 477 U.S. at 248. The substantive law in this case—

    the nerve center test—indicates that the material facts are those showing “the place where a

    corporation’s officers direct, control, and coordinate the corporation’s activities.” Hertz, 559 U.S.

    at 92–93. Defendants fail to show such material facts.

           Defendants’ reliance on the fact that Havana Docks’ corporate address is also that of a bank

    where Johnson works or that Havana Docks is not registered to do business in Kentucky is

    misplaced. Havana Docks does nothing more than continue its corporate existence—which is in

    Kentucky—and manage some assets—also from Kentucky. Notably, Defendants do not identify

    any other corporate address for Havana Docks nor any other location where it is registered to do

    business.

           Defendants present no other material facts that Havana Docks’ “corporate activities were

    directed, controlled, or coordinated from a location other than” Lexington, Kentucky. Annon, 650

    F. App’x at 731. Relying on Ackert’s expert report, Defendants represent that “[e]xpert forensic

    analysis of Mr. Behn’s email shows that he sent 98% of Plaintiff’s business emails from overseas,

    primarily from the United Kingdom.” Carnival, ECF Nos. [330] at 25, [368] at 12 (emphasis

    removed). But that is not the substance what Ackert states in his declaration. Ackert analyzed

    metadata data from 675 of 801 emails and determined that 41 out of 42 emails sent by Behn were

    routed through the UK or UN. Id., ECF No. [325-1] ¶¶ 11, 20–25. Ackert did not identify the




                                                     103
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 105 of 169




    subject matter of those emails, let alone identify them as “business emails.” Id. Indeed, Ackert

    testified he did not review the content of the emails at all. See id., ECF No. [325-3] at 31 (“Your

    review was limited to the metadata in the email files and not the content; correct? A. That is correct.

    I looked at the metadata of the produced files, not the content.”). Ackert clarified at deposition that

    “[t]he scope of [his] analysis was not to form opinions on the content of emails,” but to “form

    opinions as to the IP addresses located in the email header metadata.” Id. Ackert further testified

    that he did know “anything about what they’re [Havana Docks’ principals] doing to conduct their

    business because I didn’t look at the bodies or the content of the emails.” Id. Moreover, Ackert

    testified that he had no opinion “on whether Mickael Behn was directing any . . . business of

    Havana Docks in any of the emails that [he] reviewed.” Id. Thus, accepting Ackert’s opinions as

    true, he only established that an unidentified subset of emails came from the UK, not that “98% of

    Plaintiff’s business emails [came] from overseas,” id., ECF No. [330] at 25, or that Havana Docks’

    nerve center is outside of the United States.

           Defendants also broadly assert that Mickael Behn “is the officer who reviews and provides

    approval for payments,” id., ECF No. [331] ¶ 55; “is the officer who reviews and provides approval

    of drafts of corporate governance records,” id. ¶ 56; and “is the ultimate decision making officer

    for Plaintiff with respect to lobbying and legal strategy,” id. ¶ 57. The record, however, does not

    support those broad factual assertions. For the first assertion, Defendants point to three instances

    where consulting fees were approved by Behn. Id., ECF No. [331-135] at 7–8. Those instances do

    not show that Behn is solely responsible for approving payments. Moreover, even if he was, such

    responsibility does not establish that Behn directed or controlled Havana Docks from the United

    Kingdom. As to the second assertion, Defendants rely on two emails where Behn provided edits

    to documents that are not part of the record. Id., ECF Nos. [331-138], [331-139]. As such, these




                                                     104
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 106 of 169




    emails do not show that Behn directed or controlled Havana Docks from the United Kingdom.

    Concerning the last assertion, Defendants also rely on two emails where Behn provided

    commentary to documents regarding a Title III claim, and the documents are not attached. Id., ECF

    Nos. [331-140], [331-141]. As such, these emails are not material facts regarding whether Behn

    directed or controlled Havana Docks from the United Kingdom.

           The Court determines that Havana Docks is a “United States national” as defined in

    § 6023(15)(B) as a matter of law.34

           E. Ownership of Claim to Confiscated Property

           For LIBERTAD Act claims brought upon a certified claim, Title III states that “the court

    shall accept as conclusive proof of ownership of an interest in property a certification of a claim

    to ownership of that interest that has been made by the [FCSC].” § 6083(a)(1).

           In their Omnibus Motion, Defendants contend that Havana Docks never owned the

    Terminal or its piers, which were always owned by the Cuban Government. Carnival, ECF No.

    [330] at 3–12. Defendants rely on the unrebutted expert testimony from Ambar Diaz, an attorney

    who practiced maritime and insurance law in Cuba. Id. at 4–7; see id., ECF No. [331-1] (expert

    report). Diaz opines that the Concession, when viewed through the lens of various Cuban laws

    related to marine ports, granted Havana Docks only a non-exclusive, limited right to operate cargo

    services at the Terminal. Id., ECF No. [331-1] at 5, 15–17. Consequently, according to Defendants,

    Havana Docks never had a right to exclude others from the Terminal or to offer passenger services.

    Id., ECF No. [330] at 7–9. Defendants maintain that because Havana Docks only owned a limited,

    non-exclusive right to engage in cargo services, Defendants did not traffic in “confiscated



    34
      MSC SA raises as an affirmative defense Havana Docks’ status as a United States national. MSC, ECF
    No. [133] at 19 (MSC SA Def. No. 22). This defense is a denial of one of the elements of the cause of
    action, and the Court has determined that Havana Docks is a United States national as a matter of law.


                                                     105
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 107 of 169




    property” given that Defendants provide passenger services. Id. at 11–12.

           Regarding § 6083(a)(1), Defendants contend that the Certified Claim is not entitled to

    deference because Havana Docks misrepresented to the FCSC that it owned the Terminal. Id. at

    9–10. Defendants submit that Havana Docks then-Vice President Thomas Whittaker falsely

    represented that Havana Docks owned “land and concessions,” and Havana Docks, when

    answering the FCSC’s questions, falsely stated that it “own[ed] and operat[ed]” the Terminal and

    its piers. Id. at 9. Defendants also reject that the FCSC found that Havana Docks owned the

    Terminal, but merely valued its loss. Id. at 10 n.19. Defendants do not point to any particular

    portion of the Certified Claim but argue that “[t]he FCSC’s task was to determine the purported

    amount of [Havana Docks’] loss, which is precisely what the decision accomplished (although

    Defendants do not believe it did so correctly).” Id. Defendants further argue that relying on the

    FCSC’s findings as conclusive proof of ownership would violate due process. Id. at 10–11.

           Havana Docks responds that under the LIBERTAD Act, the Certified Claim is conclusive

    proof of Havana Docks’ ownership interest, preluding judicial review of the certification’s

    findings, relying heavily on United States v. Hernandez, 864 F.3d 1292 (11th Cir. 2017). Carnival,

    ECF No. [389] at 3–5. Hernandez concerned a prosecution under the Maritime Drug Law

    Enforcement Act (“MDLEA”), which “criminalizes an individual’s possessing with intent to

    distribute a controlled substance ‘[w]hile on board a covered vessel,’ which includes ‘a vessel

    subject to the jurisdiction of the United States,’ which in turn includes ‘a vessel without

    nationality.’” Hernandez, 864 F.3d at 1296 (quoting 46 U.S.C. §§ 70502(c)(1)(A), 70503(a)(1),

    (e)(1) (2012)). The MDLEA includes within the meaning of a “vessel without nationality” “a

    vessel aboard which the master or individual in charge makes a claim of registry and for which the

    claimed nation of registry does not affirmatively and unequivocally assert that the vessel is of its




                                                    106
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 108 of 169




    nationality.” § 70502(d)(1)(C). The MDLEA also states that “[t]he response of a foreign nation to

    a claim of registry . . . is proved conclusively by certification of the Secretary of State or the

    Secretary’s designee.” § 70502(d)(2).

           In Hernandez, the U.S. Coast Guard arrested four individuals aboard a vessel that was

    actually registered in Guatemala. Hernandez, 864 F.3d at 1296. But the Government produced a

    written certification from a U.S. Coast Guard Commander declaring that the Guatemalan

    government “could neither confirm nor deny that the go-fast vessel was registered in Guatemala.”

    Id. at 1298–99. The Eleventh Circuit held that, under the plain terms of the MDLEA, the

    certification was conclusive proof of Guatemala’s lack of unequivocal assertion that the vessel was

    of Guatemalan nationality. Id. at 1299.

           Havana Docks contends that no misrepresentations were made to the FCSC, and that

    Defendants rely solely only on Diaz’s conclusions, which are contrary to Cuban law and that do

    not create issues of fact. Carnival, ECF No. [389] at 6. Havana Docks argues that reliance on the

    FCSC’s findings does not violate due process because Defendants did not have a pertinent right or

    interest at the time of certification. Moreover, the FCSC’s findings are not conclusive of the

    ultimate issue of whether trafficking has occurred. Id. at 7.

           Havana Docks stresses that evidence supports its ownership interest. Id. at 8. Specifically,

    Havana Docks points to corporate minutes evidencing a transfer of “‘all rights titles and interest’

    in the Concession, including ‘all of the lands buildings piers wharves docks and all other tangible

    properties’”; annual balance sheets listing “Concession, Piers, Equipment, Etc.” as assets of

    Havana Docks; a pledge of the Terminal by Havana Docks and its predecessor as collateral for a

    mortgage; and a lease of one of the piers by Havana Docks, with rent paid to satisfy Havana Docks’

    personal interest payment. Id. at 8–9; see id., ECF Nos. [318-12] (lease between Port of Havana




                                                    107
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 109 of 169




    Docks Company and United Fruit Company), [318-13] (Four Party Agreement between Havana

    Docks, Port of Havana Docks Company, United Fruit Company, and Old Colony Trust Company),

    [318-14] (Havana Docks indenture for the issuance of mortgage bonds), [318-18] (The National

    City Bank of New York Indenture with Havana Docks), [318-21] (1918 Port of Havana Docks

    Company Meeting Minutes), [318-25] (Port of Havana Docks Company indenture for issuance of

    mortgage bonds), [318-31] (1919 Havana Docks Directors Meeting Minutes), [318-36] (Havana

    Docks pre-confiscation financial reports). Havana Docks contends that Diaz misstates Cuban law

    and does not account for Havana Docks’ recorded income from passenger cruise travel to the piers.

    Id., ECF No. [389] at 8–10.

           Havana Docks submits that even if it owned only a concession to engage in cargo service,

    liability under the LIBERTAD Act is not limited to the previous uses of confiscated property. Id.

    at 10–11. Finally, Havana Docks argues that Cuba’s ownership interest is irrelevant because the

    LIBERTAD Act does not require a fee simple ownership interest. Id. at 11–12. The LIBERTAD

    Act broadly defines “property” as “any property (including patents, copyrights, trademarks, and

    any other form of intellectual property), whether real, personal, or mixed, and any present, future,

    or contingent right, security, or other interest therein, including any leasehold interest.” § 6023(12).

            In their Reply, Defendants dispute that the evidence before the FCSC showed that Havana

    Docks owned the Terminal. Id., ECF No. [399] at 2–4. Defendants do not submit any evidence in

    support; rather, Defendants point out that, under Cuban law, concessions could serve as collaterals

    to a loan; that the lease with United Fruit Company was only of Havana Docks’ limited use of the

    Terminal; and that “self-servingly” listing assets on books does not prove ownership. Id. at 2.

    Defendants also contend that Havana Docks misinterprets Cuban law. Id.

           Defendants further submit that Havana Docks’ reliance on Hernandez is misplaced,




                                                     108
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 110 of 169




    because the MDLEA does not allow certification of an element of a claim, but a certification that

    is a “diplomatic courtesy.” Id., ECF No. [399] at 4 n.5. Finally, Defendants maintain that since the

    Cuban Government always owned the Terminal and only confiscated a right to engage in cargo

    services, Defendants did not traffic in confiscated property by virtue of their passenger cruises. Id.

    at 5–6. As support of this last point, Defendants rely on the LIBERTAD Act’s definition of

    “traffics”—“a person ‘traffics’ in confiscated property”—and “confiscated.”35 Id. at 5.

               The Court accepts the FCSC’s Certified Claim as conclusive proof that Havana Docks

    owned an interest in the Terminal. § 6083(a)(1). The Court finds Hernandez instructive where the

    Eleventh Circuit, under the plain terms of the MDLEA, accepted a certification as conclusive proof

    of a foreign country’s lack of assertion of foreign nationality. Hernandez, 864 F.3d at 1299. There

    is no record evidence of fraud, and this Court accepts the Certified Claim as conclusive proof of

    Havana Docks’ claim to an interest in the Terminal and its piers. § 6083(a)(1).

               The FCSC found that Havana Docks “obtained from the Government of Cuba the renewal

    of a concession for the construction and operation of wharves and warehouses in the harbor of


    35
         As used in subchapters I and III, the term “confiscated” refers to:

               (A) the nationalization, expropriation, or other seizure by the Cuban Government of
               ownership or control of property, on or after January 1, 1959--
               (i) without the property having been returned or adequate and effective compensation
               provided; or
               (ii) without the claim to the property having been settled pursuant to an international claims
               settlement agreement or other mutually accepted settlement procedure; and

               (B) the repudiation by the Cuban Government of, the default by the Cuban Government
               on, or the failure of the Cuban Government to pay, on or after January 1, 1959--
               (i) a debt of any enterprise which has been nationalized, expropriated, or otherwise taken
               by the Cuban Government;
               (ii) a debt which is a charge on property nationalized, expropriated, or otherwise taken by
               the Cuban Government; or
               (iii) a debt which was incurred by the Cuban Government in satisfaction or settlement of a
               confiscated property claim.

    § 6023(4).


                                                           109
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 111 of 169




    Havana.” Carnival, ECF No. [73-8] at 7. The FCSC further found that “[t]he terms of the

    concession granted by the Cuban Government were to expire in the year 2004, at which time the

    corporation had to deliver the piers to the government in good state of preservation.” Id. at 9

    (emphasis added). The FCSC then certified a loss for Havana Docks for the Concession and the

    piers. Id. Consistent with the language of the Certified Claim, the Court characterized Havana

    Docks’ interest as a 99-year leasehold interest that was cut short, leaving 44 years. See MSC

    Cruises, 455 F. Supp. 3d at 1366.

            The language of the Concession also supports the conclusion that Havana Docks’ interest

    was a 99-year leasehold interest. Per the Concession, “[t]he State assigns in usufruct during the

    term of the concession that part of the San Francisco docks, as well as the public domain area, that

    will be occupied by the project’s works.” Id., ECF No. [73-3] at 3. The Concession also gave an

    indemnity right “[i]f at any time during the term of the concession the works were to be

    expropriated.” Id. at 5. In addition, the Concession stated that

            During the term of the concession, the concession holder shall, for its own account,
            maintain in good repair and in such condition the foundations, streets, buildings,
            and all other plant facilities that, upon the conclusion of said term, it may surrender
            the works to the Government in perfectly serviceable condition.

    Id. The fact that Havana Docks managed, operated, and maintained the Terminal, and then had to

    return the Terminal to the Cuban Government after a period of time, is consistent with a leasehold

    interest.

            Notably, the Certified Claim does not establish liability; only that Havana Docks owned an

    interest in confiscated property. Havana Docks must still prove that Defendants are liable for

    knowingly and intentionally trafficking in confiscated property, as well as overcome their

    affirmative defenses.

            Relying on De Gaster v. Dillon, 247 F. Supp. 511 (D.D.C 1963), Defendants contend that



                                                     110
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 112 of 169




    the ex parte proceeding before the FCSC cannot bind them due to Havana Docks’

    misrepresentations. Carnival, ECF No. [399] at 4–5. The Dillon court denied an injunction

    requiring the Secretary of the Treasury to pay an FCSC award because “a fraud was worked upon

    the Foreign Claims Settlement Commission by filing with it a false document.” Dillon, 247 F.

    Supp. at 516. A false document was filed contending that the petitioners had gained a favorable

    decision in the Supreme Court of Croatia, when they had not. Id. However, De Gaster is readily

    distinguishable.

           In De Gaster, the party submitted a Croatian Supreme Court decision that was “false,

    fictitious or fraudulent.” De Gaster, 247 F. Supp. at 515. In this case, Havana Docks submitted

    several historical documents to the FCSC, such as corporate minutes, balance sheets, mortgage

    agreements, a lease agreement, and indentures, which together evidenced that Havana Docks had

    an interest in the Terminal. See Carnival, ECF Nos. [318-12], [318-13], [318-14], [318-18], [318-

    21], [318-25], [318-31], [318-36]. Moreover, the FCSC relied upon the Concession itself. Although

    Defendants characterize some of the historical documents as self-serving, they do not claim that

    the documents are false, fictitious, or fraudulent.

           In the same vein, Defendants’ contention that Havana Docks misrepresented to the FCSC

    its ownership interest is unavailing. Carnival, ECF No. [330] at 9. In support of their position that

    Havana Docks only had a limited right to engage in cargo services, Havana Docks’ Cuban law

    expert, Diaz, relies on interpretations of various Cuban laws and the language of the Concession.

    See id., ECF No. [331-1]. But the FCSC also relied on the language of the Concession, and Cuban

    law is a matter of public record. Moreover, the record evidence reflects that the FCSC gave full

    consideration to the claim and the entire record before it. While Defendants may seek to have the

    Court usurp the FCSC’s role and issue its own legal and factual conclusions, the Court is unable




                                                     111
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 113 of 169




    to do so based on the express terms of the statute. See §§ 1622g, 1623(h), § 6083(a)(1).

            Lastly, Defendants’ limiting interpretation of the LIBERTAD Act as requiring trafficking

    in cargo services is unpersuasive, as the Court has already explained. See MSC Cruises, 455 F.

    Supp. 3d at 1374 (“The liability provision [of the LIBERTAD Act] . . . imposes liability for

    trafficking in the more broadly defined “confiscated property”— a term that . . . is not limited

    solely to the interest Plaintiff originally owned in the Subject Property.”). Specifically, the

    LIBERTAD Act provides an expansive definition of “property,” stating: “The term ‘property’

    means any property (including patents, copyrights, trademarks, and any other form of intellectual

    property), whether real, personal, or mixed, and any present, future, or contingent right, security,

    or other interest therein, including any leasehold interest.” § 6023(12)(A). The definition of

    “confiscated” incorporates that broad definition of “property.” See § 6023(4). And the LIBERTAD

    Act explicitly includes in the definition of “traffics” obtaining “an interest in confiscated property,”

    which strongly contradicts any interpretation limiting “traffics” based on a claimant’s property

    interest or the use of that property interest. See § 6023(13)(A)(i). Thus, Title III’s plain language

    creates liability for trafficking in the broadly defined “confiscated property”—i.e., in any property

    that was nationalized, expropriated, or otherwise seized by the Cuban Government—not in a

    particular interest or use in confiscated property.

            The Court finds that Havana Docks has demonstrated that it owns a claim to confiscated

    property pursuant to § 6082(a)(1)(A) as a matter of law.36

            F. Trafficking After November 1, 1996

            There is no dispute that Defendants’ trafficking occurred after November 1, 1996.



    36
      This Court’s ruling also forecloses Carnival’s twenty-six and twenty-seventh affirmative defenses, which
    challenge the FCSC’s power to adjudicate Havana Docks’ Certified Claim. See Carnival, ECF No. [160]
    at 22.


                                                      112
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 114 of 169




    Carnival’s cruises began in 2016; MSC began U.S.-to-Cuba cruises in 2018 and Cuba-to-Cuba

    cruises in 2015; Royal Caribbean’s cruises began in 2017; and Norwegian’s cruises began in 2017.

    Carnival, ECF Nos. [332] ¶ 23, [374] ¶ 23; MSC, ECF Nos. [224] ¶¶ 35, 41, [253] ¶¶ 35, 41; Royal

    Caribbean, ECF Nos. [141] ¶ 29, [172] ¶ 29; Norwegian, ECF Nos. [228] ¶ 15, [282] ¶ 15. This

    element is established as a matter of law.

           G. Defendants’ Affirmative Defenses

                1. Lawful Travel Exception

                       “Lawful Travel” Prong

           Havana Docks and Defendants separately move for summary judgment on the lawful travel

    exception in their respective Motions for Summary Judgment. The LIBERTAD Act excludes from

    trafficking acts “transactions and uses of property incident to lawful travel to Cuba.”

    § 6023(13)(B)(iii). The LIBERTAD Act, however, does not define “lawful travel.” And no court

    has determined what constitutes lawful travel to Cuba, making it an issue of first impression.

            In their Omnibus Motion, Defendants represent that “the United States Government

    repeatedly and unequivocally agreed that cruise lines’ passenger carrier services to Cuba – and

    specifically cruises lines’ that used the Terminal to stop in Havana – met the ‘lawful travel’

    exclusion requirements.” Carnival, ECF No. [330] at 20. Defendants highlight an email from

    Deanna Kim, the Acting Coordinator for Cuban Affairs, who responded to Havana Docks’ request

    that the State Department bring an enforcement action under Title IV of the LIBERTAD Act against

    Defendants for using the Terminal. Id., ECF No. [330-104] at 2, 4. Kim replied that “given the

    clear exclusion in Title IV’s definition of ‘traffics’ of transactions and uses of property incident to

    lawful travel to Cuba, we are not currently pursuing Title IV actions in relation to commercial

    cruise lines.” Id. at 2. Defendants also rely on statements made from the State Department that




                                                     113
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 115 of 169




    they would not take action against the cruise lines given the lawful travel exception. Id., ECF No.

    [330] at 21. Defendants argue that these opinions are entitled to deference. Id.

           Havana Docks resists Defendants’ contention that the U.S. Government determined that

    Defendants met the lawful travel exception. Id., ECF No. [389] at 23–24. Havana Docks points to

    Kim’s deposition testimony, in which she stated that she was not providing a legal interpretation

    of Title III and did not conduct any investigation. Id. at 24. Finally, Havana Docks states that

    general opinions about a statute’s reach merit no special deference. Id.

           Defendants’ reliance on the Kim email and State Department statements is misplaced. The

    question of the LIBERTAD Act’s reach is “a pure question of statutory construction . . . well within

    the province of the Judiciary.” Republic of Austria v. Altmann, 541 U.S. 677, 701 (2004). “While

    the United States views on such an issue are of considerable interest to the Court, they merit no

    special deference.” Id.; see also Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 213 (1988)

    (“Deference to what appears to be nothing more than an agency’s convenient litigating position

    would be entirely inappropriate.”). As such, the statements relied upon by Defendants do not factor

    into the Court’s statutory analysis.

           Next, Defendants assert that their “passenger carrier services to Havana were

    unquestionably lawful because they were licensed, authorized, and encouraged by the United

    States Government.” Carnival, ECF No. [330] at 13. Defendants emphasize that, after the issuance

    of some specific licenses to travel to Cuba, OFAC promulgated a general license during the Obama

    Administration for cruise lines to travel to Cuba, and the license did not restrict where cruises

    could travel. Id. Moreover, President Barack Obama made statements regarding the authorization

    of cruises to Cuba while in Havana. Id. Around the same time, the United States Department of

    Commerce, Bureau of Industry and Security, and the United States Coast Guard relaxed other




                                                    114
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 116 of 169




    restrictions for travel to Cuba. Id. at 14. Defendants underscore that they stopped sailing to Cuba

    when the general licenses were revoked. Id. at 15. Defendants add that the LIBERTAD Act does

    not restrict the promulgation of regulations loosening restrictions on travel, and that the OFAC

    regulations have not been declared invalid. Id. at 22.

           Havana Docks’ position is that lawful travel “means the authorized travel to Cuba that

    existed on March 1, 1996 and was codified in the LIBERTAD Act,” which allowed only specific

    and limited forms of travel to Cuba Id., ECF No. [336] at 14–15. Havana Docks contends that

    OFAC exceeded the statutory restrictions under the TSRA and LIBERTAD Act when it issued the

    regulations to allow people-to-people travel to Cuba under a general license, rendering the licenses

    void. Id., ECF Nos. [336] at 15, [389] at 20–21. According to Havana Docks, OFAC could, at

    most, issue specific licenses on a case-by-case basis and for the limited travel purposes under the

    CACR. Id. Havana Docks further submits that the cruise industry knew that cruises to Cuba would

    be unlawful, as shown by cautionary comments from members of the industry and their extensive

    lobbying to undo statutory restrictions. Id., ECF No. [336] at 16.

           Alternatively, Havana Docks argues that the CACR did not authorize trafficking in

    confiscated property. Id., ECF No. [389] at 21. Havana Docks acknowledges that the regulations

    did not limit where cruises could travel to in Cuba, but Havana Docks points out that the

    regulations did not require the use of the Terminal either—Defendants could have chosen to dock

    anywhere else in Cuba. Id. at 21–22. Havana Docks points out that President Obama’s statements

    from Havana do not absolve Defendants of complying with federal law—a point this Court already

    made when ruling on a motion to dismiss. Id. at 22.

           The Court’s analysis of what constitutes “lawful travel” under the LIBERTAD Act begins

    with the text of the statute. The LIBERTAD Act excludes from trafficking acts “transactions and




                                                    115
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 117 of 169




    uses of property incident to lawful travel to Cuba.” § 6023(13)(B)(iii). “[W]e interpret words that

    are not defined in a statute with their ordinary and plain meaning because we assume that Congress

    uses words in a statute as they are commonly understood.” Catalyst Pharms., Inc. v. Becerra, 14

    F.4th 1299, 1307 (11th Cir. 2021). “Moreover, courts do not read individual words or terms in

    isolation, but instead in light of their context within a particular text.” Id. If the text provides little

    guidance, however, “absent any other source of guidance, we reluctantly and cautiously turn to

    legislative history materials.” Hunter v. City of Montgomery, Alabama, 859 F.3d 1329, 1335 (11th

    Cir. 2017).

            First, contrary to Defendants’ argument, “lawful travel” does not simply mean travel

    licensed and encouraged by the Executive Branch. As the U.S. Supreme Court and the Eleventh

    Circuit have explained long ago, “[t]he power of an administrative [agency] to administer a federal

    statute and to prescribe rules and regulations to that end is not the power to make law . . . but the

    power to adopt regulations to carry into effect the will of Congress as expressed by the statute.”

    Legal Env’t Assistance Found., Inc. v. U.S. E.P.A., 118 F.3d 1467, 1473 (11th Cir. 1997) (quoting

    Dixon v. United States, 381 U.S. 68 (1965)). “When a regulation implements a statute, the

    regulation must be construed in light of the statute.” United States v. Marte, 356 F.3d 1336, 1341

    (11th Cir. 2004). As such, where “a regulation conflicts with a statute, the statute controls.” Id.

    Even when a federal agency has “broad powers to enact rules and regulations as it deems

    appropriate to effectuate legislative mandates,” the “federal agency may not make law or operate

    to create rules in disharmony with the congressional statute it administers.” Commodity Futures

    Trading Comm’n v. Mass Media Mktg., Inc., 156 F. Supp. 2d 1323, 1333 (S.D. Fla. 2001); see

    United Nat. Bank v. U.S. Dep’t of Interior, 54 F. Supp. 2d 1309, 1312 (S.D. Fla. 1998) (“It is well

    settled that a regulation that is not in harmony with the statute is void ab initio and cannot be relied




                                                       116
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 118 of 169




    upon by the agency.”).

            Therefore, the fact that OFAC promulgated licenses for traveling to Cuba, and Executive

    Branch officials, including the President, encouraged Defendants to do so, does not automatically

    immunize Defendants from liability if they engaged in statutorily prohibited tourism. Indeed, the

    OFAC regulations specifically state that “[n]o license or authorization contained in or issued

    pursuant to this part shall be deemed to authorize any transaction prohibited by any law other than

    the Trading With the Enemy Act, . . . the Foreign Assistance Act of 1961, . . . or any proclamation,

    order, regulation or license issued pursuant thereto.” 31 C.F.R. § 515.101.

            Second, contrary to Havana Docks’ position, “lawful travel” does not mean only what was

    lawful in 1996. Although the LIBERTAD Act codified the 1996 regulatory restrictions on travel to

    Cuba, see Odebrecht, 715 F.3d at 1277; see also 22 U.S.C. § 6032(h), Congress later refined the

    scope of those restrictions in another legislative act, the TSRA. See Odebrecht, 715 F.3d at 1277;

    see also § 7209(a). As such, “lawful travel” encompasses the restrictions set forth in the TSRA.

            Under the TSRA, Congress limited OFAC’s power to “authorize . . . travel-related

    transactions . . . either by a general license or on a case-by-case basis by a specific license for travel

    to, from, or within Cuba for tourist activities.” § 7209(b)(1). Moreover, Congress specifically

    defined “tourist activities” as “any activity with respect to travel to, from, or within Cuba that is

    not expressly authorized . . . in any of paragraphs (1) through (12) of section 515.560 of title 31,

    Code of Federal Regulations.” § 7209(b)(2). Therefore, if Defendants’ travel-related activities did

    not fall within the 12 categories for travel promulgated in § 515.560, then the activity is deemed

    to be tourism under the TSRA.

            Third, the Court also disagrees with Havana Docks that OFAC violated the TSRA when it

    promulgated people-to-people travel rules. At no point did OFAC create a thirteenth exception to




                                                      117
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 119 of 169




    the term “tourist activities,” which would have been inconsistent with the TSRA. See § 7209(b)(2).

    Rather, OFAC amended the CACR to expand what constituted “educational activities” within

    § 515.565. Although OFAC at times amended the CACR to relax certain administrative hurdles

    for people-to-people travel (a specific license and a sponsoring organization), OFAC

    simultaneously added conditions for people-to-people travel and illustrative examples of what

    would be permissible and impermissible. At all times, OFAC explicitly prohibited “primarily

    tourist-oriented” activities. See §§ 515.565(c) (2011)–(2016), 515.565(f) (2017). Consistent with

    that prohibition were the requirements that cruise travelers engage in “a full-time schedule of

    activities intended to enhance contact with the Cuban people, support civil society in Cuba, or

    promote the Cuban people’s independence from Cuban authorities,” and “result in meaningful

    interaction between the traveler and individuals in Cuba.” § 515.565(b)(2)–(3) (2015);

    § 515.565(b)(1)–(2) (2016); § 515.565(b)(2)–(3) (2017). Thus, consistent with the strict statutory

    ban on tourism in Cuba, the OFAC regulations were aimed at ensuring that people did not travel

    to Cuba under the guise of people-of-people exchanges, when in reality, such travel was disguised

    tourism. Indeed, OFAC has restricted educational travel in the past to prevent disguised tourism.

    See Emergency Coal. To Defend Educ. Travel v. U.S. Dep’t of Treasury, 498 F. Supp. 2d 150, 154

    (D.D.C. 2007) (addressing OFAC amendments to the CACR implemented when OFAC

    “concluded that the educational travel provisions of the CACR were being abused by some

    travelers and educational institutions as ‘disguised tourism.’”).

           Interpreting OFAC regulations consistent with the TSRA and the LIBERTAD Act, “lawful

    travel” means travel-related activities that strictly complied with the 12 categories for travel

    promulgated by OFAC, because the TSRA defines “tourist activities” as anything that falls outside

    of those categories. OFAC did not act outside its statutory authority when it authorized people-to-




                                                    118
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 120 of 169




    people travel within the “educational activities” category. Consistent with the Congressional intent

    of the LIBERTAD Act and the TSRA, the regulations at all times prohibited tourism, and OFAC

    continuously implemented conditions to ensure that people-to-people travel did not transform into

    tourism, such as requiring a full-time schedule of activities and meaningful interactions with the

    Cuban people. As such, “lawful travel” included proper people-to-people travel. However, the

    record evidence establishes that Defendants’ activities were outside the regulation’s dictates of

    people-to-people exchanges and thus, interpreted people-to-people travel impermissibly broad.

    The record reveals that the Defendants engaged in tourism expressly prohibited by the TSRA.

           The Court recognizes that “the role of the judiciary in foreign affairs is limited.” United

    States v. Plummer, 221 F.3d 1298, 1309 (11th Cir. 2000). As such, the Court does not question the

    wisdom of OFAC amendments to the CACR. See id. Nor will “[a]djudication of the present

    claim . . . interfere with the executive’s handling of foreign relations or show a lack of respect to

    the executive’s power in foreign affairs.” Ungaro-Benages v. Dresdner Bank AG, 379 F.3d 1227,

    1235 (11th Cir. 2004). Rather, the lawful travel exception is an affirmative defense that Defendants

    bear the burden of proving. See Garcia-Bengochea v. Carnival Corp., 407 F. Supp. 3d 1281, 1286

    (S.D. Fla. 2019) (“Based on the text and structure of Helms-Burton, the Court holds that the lawful

    travel exception is an affirmative defense to trafficking that must be established by Carnival, not

    negated by Plaintiff.”).

           Through that lens, the Court concludes that there is no genuine issue of material fact. The

    record evidence allows the Court to conclude that Defendants have not met their burden of

    demonstrating that they complied with the people-to-people travel requirements under § 515.565.

    Rather, during the relevant period of travel in each case, Defendants engaged in “tourist activities”

    under the TSRA and thus do not meet the lawful travel exception under the LIBERTAD Act.




                                                    119
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 121 of 169




                         (1) Carnival’s Tourist Activities

              Carnival used the Terminal from May 2016 to May 2019. Carnival, ECF Nos. [332] ¶¶ 23–

    28, [374] ¶¶ 23–28. Thus, the CACR governing people-to-people travel, amended in March 2016

    and November 2017, applies to the Court’s analysis.37

              Carnival admits that its night excursions—Tropicana Cabaret: Rhythms of the Night,

    Parisien Cabaret at Hotel Nacional, El Canonazo: An Evening Out in Havana, and Buenavista

    Social Club at Havana Cafe—did not constitute people-to-people travel. Id., ECF Nos. [374] ¶ 78;

    see id., [326-46] at 12. As set forth in the TSRA, travel-related activities that do not fall within the

    12 permissible reasons for travel are, by definition, “tourist activities.” § 7209(b)(2). Therefore,

    Carnival impermissibly engaged in tourist activities.

              The descriptions of the evening excursions support the conclusion that the excursions

    constituted tourism. The Tropicana Cabaret, “Cuba’s largest nightclub,” involved guests watching

    a “Vegas-style extravaganza” with “a welcome drink, plus ¼ bottle of rum with mixers.” Id., ECF

    No. [311-38] at 4. The Parisien Cabaret likewise involved a show and drinks. Id. at 8. And El

    Canonazo was a sightseeing and photo tour through Havana landmarks, ending with a “cannon

    ceremony” at a former Spanish fortress. Id. at 6.38 None of these evening tours involved “a full-

    time schedule of activities intended to enhance contact with the Cuban people, support civil society

    in Cuba, or promote the Cuban people’s independence from Cuban authorities,” or that “result[ed]

    in meaningful interaction between the traveler and individuals in Cuba.” § 515.565(b)(1)–(2)

    (2016); § 515.565(b)(2)–(3) (2017). The excursions centered around watching shows, visiting


    37
      Section 515.565 was also amended in October 2016, but only in a minor way that does not affect this
    case. See § 515.565 (Oct. 2016). After November 2017, § 515.565 was amended in June 2019 to remove
    people-to-people travel. See § 515.565(b) (2019). This is why the Court is referring to the March 2016 and
    November 2017 OFAC amendments to the CACR.
    38
         There is no description in the record of the Buenavista Social Club excursion.


                                                          120
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 122 of 169




    landmarks, and taking photos—”primarily tourist-oriented” activities. See §§ 515.565(c) (2016),

    515.565(f) (2017).

           Carnival contends that it offered the evening excursions “as additional and optional

    experiences to passengers who completed the full-time schedule” of people-to-people activities.

    Id., ECF No. [374] ¶ 78. But Carnival has failed to show that its guests only attended evening

    shows after spending a full day engaged in people-to-people exchange. Carnival’s shore excursion

    Guide stated that guests were not required to buy any excursion to exit the ship. Id., ECF No. [326-

    46] at 12. Carnival’s Corporate Representative, Israel, similarly testified that, at one point,

    passengers “did not need to buy tours from us,” although Carnival “encouraged them to buy the

    tours[.]” Id., ECF No. [326-32] at 173. Carnival’s Cuba Operations Compliance Plan did state that

    “[a]ll guests must participate in a people-to-people program on each day in Cuba,” id., ECF No.

    [326-45] at 45, but nowhere does the guide state that guests who did not participate in a people-

    to-people program were prohibited from buying an evening excursion.

           Carnival’s daytime excursions were not people-to-people compliant, in any event. A prime

    example is the “Explore Havana by American Classic Car” tour, which involved a “two-hour

    joyride in an American classic vehicle” through Havana landmarks, ending with a visit at a local

    market, where guests would “enjoy free time to interact with the local souvenir vendors and take

    home [their] very own piece of Cuban memorabilia.” Id., ECF No. [311-38] at 5. In Example 4 to

    the 2016 version of § 515.565(b), OFAC instructed that “[a]n individual [who] plans to travel to

    Cuba to rent a bicycle to explore the streets of Havana, engage in brief exchanges with shopkeepers

    while making purchases, and have casual conversations with waiters at restaurants and hotel staff,”

    has not participated in “educational exchange activities that will result in meaningful interaction

    between the traveler and individuals in Cuba, and the traveler’s trip does not qualify for the general




                                                     121
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 123 of 169




    license.” § 515.565(b) (2016). There is no meaningful distinction between OFAC’s hypothetical

    bike tour and Carnival’s classic car tour—the only difference is the vehicle used.

            Even if Carnival’s daytime excursions were OFAC complaint, neither the TSRA nor the

    CACR support the proposition that a passenger can spend the night at the Cuban nightclub simply

    because they spent the day engaged in people-to-people activities. “Broadly speaking, the

    regulations prohibit, unless specifically authorized, any dealing in any property in which Cuba or

    a Cuban national has an interest of any nature.” Odebrecht, 715 F.3d at 1276. The TSRA defines

    “tourist activities” as anything that falls outside the 12 permissible reasons for travel. § 7209(b)(2).

    The evening excursions are thus “tourist activities,” irrespective of whether daytime activities were

    not.

            In addition, even accepting that Carnival’s excursions had some components of people to

    people exchanges, it was physically impossible for all passengers to string together a full-time

    schedule of people-to-people exchanges by completing one full-day tour or two half-day tours.

    Carnival offered full-day tours of seven hours (with one of 11 hours) and half-day tours of four to

    six-and-a-half hours. Carnival, ECF No. [326-46] at 8–9. Each tour had a maximum capacity,

    ranging from 60 guests to 420 guests. Id.

            In the four-hour “Hemingway’s Havana” tour, guests would “travel by bus to Hemingway’s

    former home, Finca Vigia, and learn about the author’s attachment to Cuba and its people”;

    “[e]xplore with your guide the fishing town of Cojimar, which served as inspiration for the novel,

    The Old Man and the Sea”; and “enjoy a cocktail named in honor of the Pilar’s first mate [t]here.”

    Id., ECF No. 311-28 at 3. The tour also included “[a] visit to a local community will provide guests

    the opportunity to engage with local Cubans working to improve their communities, a mission that

    Papa also strongly believed in.” Id. Travelers would then return to “Old Havana” and “discover




                                                      122
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 124 of 169




    the Plaza de Armas.” Id. The tour description stated that “[t]his is a half day tour, a second tour or

    self-certification activity will need to be completed to meet the 7-8 hour People-to-People

    requirement.” Id.

           The local community visit is the only arguable people-to-people component in the

    excursion. As the show description expressly states, “[t]he community project associated with this

    tour is included to promote further understanding and interaction with the Cuban people,” and

    given “the fluid nature of community projects in Cuba, the location and type of community project

    visited may vary to provide the best experience for our guests.” Id. Therefore, only a portion of

    the four hours is devoted to people-to-people exchanges.

           Similarly, in the “Art in Havana Past & Present” excursion, travelers would “visit the Bellas

    Artes Fine Arts Museum to learn more about Cuban art and styles from an art expert working at

    the museum;” “[t]ravel to Fusterlandia, the neighborhood of artist Jose Fuster, who has turned his

    community into a mosaic playground, with every inch of whimsical fantasy inspired by the works

    of Gaudi and Picasso”; and “visit the Muraleando community project, where local residents have

    used the Arts to improve their impoverished neighborhood.” Id. at 7. Again, the tour description

    states that “[t]he community project associated with this tour is included to promote further

    understanding and interaction with the Cuban people.” Id. But taking that as true, the community

    projects are only portions of a tour that chiefly involved visiting museums and enjoying art—

    primarily tourist activities. Thus, a traveler who booked both the “Hemingway’s Havana” and “Art

    in Havana Past & Present” tours would not be participating in a full-time schedule of people-to-

    people exchanges.

           Further illustrating the point, the eight-hour “Hemingway’s Hangouts & Hideaways”

    excursion was described as follows:




                                                     123
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 125 of 169




           First, travel by bus to Hemingway’s former home, Finca Vigia and learn about the
           author’s attachment to Cuba and its people.

           Explore with your guide the fishing town of Cojimar, which served as inspiration
           for the novel, The Old Man and the Sea.

           Back in Old Havana, a visit to a local graphic arts workshop where various artists
           create and display their work will provide the opportunity to engage with local
           artisans. Enjoy lunch at a local restaurant.

           Discover the Plaza de Armas. This is the center of town and is where Papa
           Hemingway resided when he first moved to Cuba.

           Visit the Plaza de la Catedral in one of the five main squares in Old Havana. Enjoy
           an hour of free time to explore and interact with the locals. Beverage stops will be
           made at the La Bodeguita and El Floridita.

    Id., ECF No. 311-28 at 13.

            Out of the eight-hour tour, only some portions are designated “opportunities” to engage

    with local Cubans, with one of those portions described as “an hour of free time to explore and

    interact with the locals.” Id. (emphasis added). Even taking as true that these opportunities go

    beyond casual conversions and brief exchanges, a guest on these tours would not have engaged in

    a full-time schedule of meaningful interactions with Cuban people. Also, the traveler who booked

    this full-day tour would not have had the opportunity to complete another daytime tour to add

    additional people-to-people components. All that would be left are the nighttime tours, which were

    not people-to-people compliant. Id., ECF Nos. [374] ¶ 78; see id., [326-46] at 12.

           Next, as the Eleventh Circuit has recognized, Havanatur is the “travel agency exclusively

    authorized by Cuba to provide tourist services in Cuba.” United States v. Fuentes-Coba, 738 F.2d

    1191, 1194 (11th Cir. 1984) (emphasis added). Indeed, Havanatur is part of the Cuban

    Government’s Ministry of Tourism. Carnival, ECF Nos. [332] ¶ 31, [374] ¶ 31. As Carnival’s

    Corporate Representative, Israel, testified, Carnival sold excursions to its passengers that Carnival

    had, in turn, purchased from Havanatur. Id., ECF No. [326-32] at 172–74. The fact that Carnival



                                                    124
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 126 of 169




    purchased tours from a tourism excursion provider is powerful, additional evidence that Carnival

    was engaging in tourism.

             In addition, Carnival’s Cuba Operations Compliance Plan stated that guests could engage

    in either self-guided people-to-people activities or purchase Carnival’s daytime activities, which

    “fulfill this requirement.” Id., ECF No. [326-45] at 45. OFAC, however, prohibited sponsoring

    organizations from having travelers “engage in individually selected . . . activities.” §§ 515.565(b)

    (2016) (note). And yet that is exactly what Carnival did: it presented a menu of excursions for

    passengers to pick and choose from. See id., ECF No. [326-46] at 8–9. Carnival’s shore excursion

    Guide stated that it was not mandatory for travelers to buy an excursion to leave the ship, leaving

    open the opportunity for passengers to enter Cuba and engage in non-compliant transactions. Id.

    at 12.

             In the same vein, Carnival impermissibly disclaimed responsibility for passengers who

    traveled to Cuba and did not engage in people-to-people travel. Id. Carnival’s position was that a

    guest may “come in and out as much [as] they want” even if not in compliance with people-to-

    people guidelines. Id. However, the general license allowing for vessels to travel to Cuba indicated

    that vessels may only transport “[p]ersons subject to U.S. jurisdiction who are traveling to or from

    Cuba pursuant to a general license under one of the 12 categories of travel listed in § 515.560 or

    under a specific license from [OFAC].” § 515.572 (note).

             Carnival’s 2015 specific license further shows that Carnival engaged in tourism and that

    licensure in general cannot act as a shield to liability under the LIBERTAD Act. To begin, none of

    the evening excursions Carnival later provided to its guests were included in the “Illustrative Cuba

    Itinerary” Carnival presented to OFAC. See Carnival, ECF No. [326-26] at 16–25. Neither was

    the “Explore Havana by American Classic Car” tour. Id. The activities Carnival presented to OFAC




                                                    125
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 127 of 169




    when seeking a specific license, and the excursions Carnival ultimately offered to guests under the

    general licenses, are glaringly different. Moreover, Carnival represented to OFAC that it would

    monitor and ensure that passengers engage in full-time people-to-people programing while

    onshore in Cuba. Id. at 26. But Carnival’s Guide stated that it was not mandatory for travelers to

    buy an excursion to leave the ship. Id., ECF No. [326-46] at 9.

            In addition, the specific license issued to Carnival contained numerous qualifications

    regarding its limited scope. OFAC stated in the letter granting the specific license that

    “[t]he . . . license does not authorize Carnival to transport any person who will disembark in Cuba

    and who is not authorized by a general license or a separate specific license.” Id., ECF No. [326-

    26] at 33. The letter also informed Carnival that “compliance with the requirements of the CACR

    does not excuse a U.S. person from the need to comply with other provisions of 31 C.F.R. chapter

    V, and with other applicable provisions of law.” Id. The license itself specified that (1) it “does not

    . . . release the Licensees or third parties from civil or criminal liability for violation of any law or

    regulation”; (2) does not “authorize[] any person subject to the jurisdiction of the United States to

    engage in any transaction or activity prohibited by the CACR, or by any other laws and regulations

    administered by [OFAC]”; and (3) “appl[ies] only to the laws and regulations administered by

    OFAC and should not be interpreted to excuse the Licensees from compliance with other laws,

    regulations, orders, or rulings to which they may be subject[.]” Id., ECF No. [326-35] at 4–5. The

    same qualifications apply with equal force to OFAC’s general licenses. See § 515.101.

            One of “the purposes behind the Trading with the Enemy Act and the Cuban Assets Control

    Regulations”is “[t]o deny to Cuba or its nationals hard currency which might be used to promote

    activities inimical to the interests of the United States.” De Cuellar v. Brady, 881 F.2d 1561, 1569

    (11th Cir. 1989); see Regan v. Wald, 468 U.S. 222, 229 (1984) (explaining that the CACRs were




                                                      126
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 128 of 169




    meant to “reduce Cuba’s hard currency earnings from travel by U.S. persons to and within Cuba”).

    “[W]hen it codified and strengthened the embargo by enacting the [LIBERTAD] Act, Congress

    justified the measure by describing Cuba as a threat to national security and making extensive

    findings to that effect.” Plummer, 221 F.3d at 1310 n.8. Yet Carnival paid more than $18 million

    to Cuban Government-owned and controlled entities to use the Terminal. See Carnival, ECF Nos.

    [332] ¶ 32, [374] ¶ 32. Carnival never made any payments in Cuba to anyone or any entity that

    was not affiliated with the Cuban Government. Id., ECF Nos. [332] ¶ 33, [374] ¶ 33. Carnival’s

    cruises constituted tourist activities and not proper people-to-people activities, paying millions of

    dollars to the Cuban Government to engage in impermissible travel.

            Based upon the undisputed facts, the Court determines that from May 2016 to May 2019,

    Carnival did not engage in lawful travel to Cuba under the LIBERTAD Act.39

                      (2) MSC’s Tourist Activities

                          (a) Miami-to-Cuba Cruises by MSC

            The Armonia traveled from Miami to Havana and used the Terminal from December 2018

    to June 2019. MSC, ECF Nos. [224] ¶¶ 40, 48, [253] ¶¶ 40, 48. Thus, the CACR governing people-

    to-people travel amended in November 2017 applies to the Court’s analysis.

            Like Carnival, MSC SA offered on the Armonia Tropicana Cabaret excursion, with

    “dancing girls wearing scanty costumes and feathered headgear”; “[a] live orchestra”; and “music,

    dancing and Havana Club rum.” Id., ECF No. [253-2] at 30. But unlike Carnival, MSC contends

    that the excursion was people-to-people compliant. Iaccarino, the Shore Excursion Business

    Development Manager for MSC SA, characterized the excursion as “not only a cabaret show,” but

    a historical lesson on Cuban music and dance. Id., ECF No. [201-7] at 21.


    39
      Based on this ruling, the Court need not decide whether cruises by Airtours or Costa also fall within the
    lawful travel exception.


                                                       127
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 129 of 169




            MSC’s characterization of the Tropicana Cabaret excursion blurs the line between tourism

    and people-to-people travel. Virtually all music and dance have some historical origin. A tourist

    who cruises to Hawaii and attends a luau performance may witness some brief historical lessons

    on Polynesian culture. But one would be hard-pressed to deem such an excursion anything but

    primarily tourism or conclude that the tourist had a meaningful interaction with native Hawaiians.

    The same common-sense conclusion applies to the Tropicana Cabaret, a “primarily tourist-

    oriented” show. See § 515.565(f) (2017). The show provided, at most, casual contact with some

    Cuban performers and wait staff, which does not qualify as “educational exchange activities that

    will result in meaningful interaction between the traveler and individuals in Cuba.”

    § 515.565(b)(2)–(3) (2017). A contrary conclusion would create disharmony between the TSRA

    and the CACR. See Commodity, 156 F. Supp. 2d at 1333.

            MSC SA’s other excursions fare no better. Like Carnival, MSC SA offered on the Armonia

    a vintage car tour, which involved traveling “around Havana’s historical cityscape in a vintage

    car,” “a Cuban cocktail,” and visits to landmarks. See MSC, ECF No. [253-2] at 30. Iaccarino

    testified: “In every excursion we created the possibility to interact or to discover some commentary

    or social so-called project. In this specific case, although the experience is not from the buses but

    is from cars[.]” Id., ECF No. [201-7] at 21. But there is no meaningful distinction between OFAC’s

    non-compliant hypothetical bike tour and MSC’s classic car tour. § 515.565(b) (note) (2016).40 At

    most, the tour provided an unspecified “possibility to interact or to discover some commentary or

    social so-called project.” Id., ECF No. [201-7] at 21. This is contrary to OFAC’s requirement of a

    “full-time schedule of activities” that “result in meaningful interaction between the traveler and

    individuals in Cuba.” § 515.565(b)(2)–(3) (2017).


    40
      Although the bicycle example was not included in the 2017 version of § 515.565, the Court still finds it
    instructive.


                                                      128
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 130 of 169




           The same conclusion applies to the Armonia’s Cultural Havana, Rum & Cigars excursion,

    which involved watching Cubans roll cigars, taking photos at the Plaza de la Revolución, and

    visiting the “Havana Club Museum to find out how freshly cut sugarcane is distilled into rum.”

    MSC, ECF No. [253-2] at 30. Guests would “enjoy a taste of” rum and have “free time . . . to

    browse for a memento and take more photos before you return to the ship.” Id. These are “primarily

    tourist-oriented” activities. § 515.565(f) (2017). The same is true of the “Hemingway & Havana

    Tour,” which involved visit to Hemingway’s former home; a “pass through the historical fishing

    village of Cojimar”; “a Don Gregorio cocktail at the La Terraza de Cojimar restaurant”; and visits

    to “the historical Ambos Mundos Hotel, San Geronimo University and Plaza de la Catedral en

    route to the Restaurante Floridita for a daiquiri.” Id., ECF No. 253-2 at 30. In the same vein, the

    “Legendario de Guajirito with Guest of Buena Vista” tour involved a “fabulous show at Iberostar

    Habana Riviera Hotel.” Id.

           Notably, MSC SA’s CEO, Onorato, testified that he did not know whether cruise passengers

    were educated about the lack of political freedoms in Cuba or met with Cuban dissidents. MSC,

    ECF No. [201-3] at 53–54.

           In addition, even accepting that MSC SA’s excursions had some components of people-to-

    people exchanges, it was physically impossible for all passengers to string together a full-time

    schedule of people-to-people exchanges by completing one or more tours. The tours on the

    Armonia ranged from 3 hours to 8 hours. Id., ECF No. [253-2] at 29–32. The Armonia made 25

    voyages from Miami to Havana, listing in its manifests 51,908 passengers. Id., ECF Nos. [224] ¶¶

    40, 48, [253] ¶¶ 40, 48. While the tour excursions do not indicate the maximum capacity of each

    tour, each tour would have had a limit, as was the case with other cruise operators. As such, even

    if “every excursion . . . created the possibility to interact or to discover some commentary or social




                                                     129
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 131 of 169




    so-called project,” id., ECF No. [201-7] at 21, or “possessed a predominant cultural or historical

    component,” id., ECF No. [210-18] ¶ 5, the record evidence fails to establish enough tours in a

    single day to fulfill a full-time schedule of meaningful interactions.41

            MSC SA contracted with Cubanacan, which is part of the Cuban Government’s Ministry

    of Tourism, to operate shore excursions in Havana that MSC SA sold to passengers. MSC, ECF

    Nos. [224] ¶ 57, [253] ¶ 57. The Shore Excursion Agreement between MSC SA and Cubanacan

    states that Cubanacan provided tourism-related services. Specifically, the agreement stated that

    “VIAJES CUBANACAN is engaged in the business of organizing, promoting and selling tourist

    excursions in the Cuban national territory.” Id., ECF No. [218-9] at 3 (emphasis added). The

    agreement set forth that Cubanacan is “capable and willing to assume the organization, promotion

    and sale of tourist excursions in the Cuban national territory,” and that it would provide “tourist

    services described below . . . during the term of the operation of THE VESSELS [including the

    Armonia], between December 1, 2018 and November 30, 2019.” Id. at 3–4 (emphasis added). Part

    of Cubanacan’s responsibilities included “[t]o assist. . . the tourists before the authorities of the

    country and in all the necessary legal procedures during the agreed season, for the realization of

    [MSC SA’s] shore excursions in Cuba.” Id. at 5 (emphasis added). MSC SA, in turn, had to, among

    other things, ensure that it communicated to Cubanacan the “[l]anguage of the tourists” who

    bought excursions and “guarantee that the tourists traveling on THE VESSELS and taking the

    tourist excursions with [Cubanacan] have a valid insurance policy.” Id. at 7 (emphasis added).

            In addition, MSC impermissibly disclaimed responsibility for guests who traveled to Cuba

    and did not engage in people-to-people travel. Id., ECF No. [201-7] at 25–26. Iaccarino, the Shore

    Excursion Business Development Manager for MSC SA, id. at 5, testified that it was only “highly


    41
      This conclusion applies with equal force to the Opera cruises, which averaged 2,000 passengers for each
    call to Havana. Id., ECF Nos. [224] ¶ 61, [253] ¶ 61.


                                                      130
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 132 of 169




    recommended” that guests purchase shore excursions; it was ultimately the guests’ responsibility

    to certified that they were traveling for permissible reasons. Id. at 26. Zeller, Vice President of US

    Hotel Operations for MSC SA, likewise stated in an internal email, “we do not police guests, we

    do not check whether a guest has purchased a tour ticket or not, we do not block guests at the

    gangway.” Id., ECF No. [202-47] at 2. The general license allowing for vessels to travel to Cuba

    indicated that vessels may only transport “[p]ersons subject to U.S. jurisdiction who are traveling

    to or from Cuba pursuant to a general license under one of the 12 categories of travel listed in

    § 515.560 or under a specific license from [OFAC].” § 515.572 (note).

                         (b) Cuba-to-Cuba Cruises by MSC

           The Court next analyzes whether the LIBERTAD Act and CACR govern MSC’s Cuba-to-

    Cuba cruises. MSC contends that the LIBERTAD Act does not apply extraterritorially, MSC, ECF

    No. [256] at 13, and that “non-U.S.-based trips . . . were not required to comply with OFAC

    regulations,” id., ECF No. [272] at 9 (emphasis removed). Anticipating that the Court might

    disagree with its first point, MSC argues that Cuba-to-Cuba cruise constitute lawful travel under

    Cuban and Swiss law. Id., ECF No. [256] at 14.

           Havana Docks argues that the LIBERTAD Act does have extraterritorial reach. Id., ECF

    No. [281] at 8. Havana Docks further contends that the LIBERTAD Act applies U.S. law, not

    Cuban or Swiss law. Id., ECF No. [281] at 8–9. Havana Docks does agree that the general licenses

    under the CACR do not apply to Cuba-to-Cuba cruises but interprets that conclusion as meaning

    that the lawful travel exception is inapplicable to Cuba-to-Cuba cruises. Id. at 9.

           The LIBERTAD Act does apply extraterritorially. Indeed, the LIBERTAD Act is broad in

    reach, having “caused an international uproar among United States’ allies due to the extraterritorial

    reach of Title III.” Odebrecht Const., Inc. v. Prasad, 876 F. Supp. 2d 1305, 1311–12 (S.D. Fla.




                                                     131
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 133 of 169




    2012). This reach is what led to the advent of the EU blocking statute and President Bill Clinton

    waiving the right to bring a cause of action. Id. at 1312. But “Congress unquestionably has the

    authority to enforce its laws beyond the territorial boundaries of the United States.” Plummer, 221

    F.3d at 1304.

            The CACR also applies extraterritorially. The CACR places “restrictions on any

    ‘[p]erson . . .subject to the jurisdiction of the United States,’ . . . which is defined by regulation to

    include U.S. corporations, their domestic and foreign subsidiaries, and any foreign company

    owned or controlled by a U.S. citizen.” Odebrecht, 715 F.3d at 1276 (quoting 50 U.S.C.

    § 4305(b)(1) and citing 31 C.F.R. § 515.329). MSC does not argue that it is not subject to the

    jurisdiction of the United States. Moreover, the CACR broadly prohibit “any dealing in any

    property in which Cuba or a Cuban national has an interest of any nature,” including dealings that

    do not originate in the U.S. See id. (explaining that OFAC regulations “apply to exports to Cuba,

    whether from the U.S. or even through offshore dealing by a person or entity subject to the

    CACR”); see also Plummer, 221 F.3d at 1307 (applying CACR prohibition on dealing in Cuban

    merchandise to individual prosecuted for attempting to smuggle Cuban cigars where all predicate

    acts occurred outside of the United States).42

            The general license within § 515.572 does not state otherwise. The licenses states that

    “[p]ersons subject to U.S. jurisdiction are authorized to provide carrier services to, from, or within

    Cuba in connection with travel or transportation, directly or indirectly, between the United States


    42
      The Court recognizes that Magistrate Judge Lauren Louis, when resolving a discovery dispute, found that
    “[t]he shore excursions that took place on . . . Cuba-to-Cuba cruises are not relevant to rebutting [the] lawful
    travel defense” because “[w]hile Defendants indeed argue that the Miami-to-Cuba cruises were made
    pursuant to OFAC licenses and that they complied with the OFAC terms, the OFAC regulations do not
    govern the Cuba-to-Cuba cruises.” Havana Docks Corp. v. MSC Cruises (USA) Inc., No. 1:19-CV-23588,
    2021 WL 4973458, at *4 (S.D. Fla. Aug. 16, 2021). Judge Louis did not analyze the extraterritorial reach
    of the CACR but premised her statement on MSC’s erroneous position that Cuba-to-Cuba cruises fall
    outside the CACR.


                                                         132
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 134 of 169




    and Cuba of persons, baggage, or cargo authorized pursuant to this part.” § 515.572(a)(2)(i)

    (emphasis supplied). Moreover, even if § 515.572 only concerns travel to and from the United

    States and Cuba, § 515.572 simply allows cruises to act as common carriers. Section 515.572 does

    not address at all the permissible reasons for travel, including people-to-people requirements.

            Having established that the LIBERTAD Act and the CACR apply to MSC’s Cuba-to-Cuba

    cruises, it is evident that such cruises present an even clearer case of tourism. Both the Armonia

    and Opera used Cuba as a homeport between 2015 and 2019. MSC, ECF Nos. [224] ¶¶ 35, 37, 38–

    39, [253] ¶¶ 35, 37, 38–39. Thus, the people-to-people OFAC regulations amended in 2015, March

    2016, and November 2017 apply to the Court’s analysis.

            It is undisputed that on Cuba-to-Cuba cruises, MSC SA provided several excursions that

    included activities not just at nightclubs, such as the Tropicana Cabaret, but at the beach. MSC,

    ECF No. [218-17].43 In Example 5 to the 2016 version of § 515.565(b), OFAC advised that an

    individual who “plans to spend a few days engaging in brief exchanges with Cuban food vendors

    while spending time at the beach” would not be engaging in “educational exchange activities that

    will result in meaningful interaction between the traveler and individuals in Cuba. § 515.565 (note)

    (2016). MSC SA’s beach excursions fall squarely within that prohibited example.

            The record reflects that MSC only “highly recommended” that guests purchase shore

    excursions and did not verify whether a guest had purchased a shore excursion before exiting the

    ship. MSC, ECF Nos. [201-7] at 26, [202-47] at 2. OFAC, however, prohibited sponsoring

    organizations from having travelers “engage in individually selected . . . activities.” § 515.565(b)


    43
      It is unclear whether beach excursions were also available in Miami-to-Cuba cruises. MSC contends that
    the beach excursions were only available on the Opera. MSC, ECF No. [253] ¶¶ 102–103. A July 2018
    Excursion Revenue Report for the Armonia shows revenues for the beach excursions. Id., ECF No. [218-
    10] at 2. But the Armonia also engaged in Cuba-to-Cuba cruises. Id., ECF Nos. [224] ¶ 38, [253] ¶ 38.
    Given this factual dispute, the Court did not address the beach excursions in relation to the Miami-to-Cuba
    cruises.


                                                       133
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 135 of 169




    (2016) (note). And yet that is precisely what MSC did: it presented a menu of excursions for

    passengers to choose from, but passengers were not required to select any. MSC, ECF Nos. [201-

    7] at 26, [202-47] at 2.

              As stated, one of the purposes behind CACR is “[t]o deny to Cuba or its nationals hard

    currency which might be used to promote activities inimical to the interests of the United States.”

    De Cuellar, 881 F.2d at 1569; see Regan, 468 U.S. at 229. MSC SA paid more than $16.9 million

    to Cuban Government-owned and controlled entities to use the Terminal. MSC, ECF Nos. [224]

    ¶¶ 55, 59, [253] ¶¶ 55, 59. MSC’s cruises constituted tourist activities and not proper people-to-

    people activities, paying millions of dollars to the Cuban Government to engage in impermissible

    travel.

              Based upon the undisputed facts, the Court determines that from 2015 to June 2019, MSC

    did not engage in lawful travel to Cuba under the LIBERTAD Act.

                      (3) Royal Caribbean’s Tourist Activities

              Royal Caribbean used the Terminal from March 2017 to June 2019. Royal Caribbean, ECF

    Nos. [141] ¶¶ 28, 32, [172] ¶¶ 28, 32. Therefore, the CACR governing people-to-people travel,

    amended in March 2016 and November 2017, apply to the Court’s analysis.

              Like other cruise operators, Royal Caribbean offered guests a visit to the Tropicana

    Cabaret, which involved a 30-minute “Tropicana performance”; “[a] welcome cocktail, 1 bottle of

    rum per table, 1 soft drink, mixed hors d’oeuvre and one tobacco”; and a history lesson on the

    Mafia’s use of the cabaret. Id., ECF No. [131-43] at 17. Royal Caribbean likewise offered a similar

    show at the “Cabaret Parisién.” Id. at 19. Although Royal Caribbean indicated in its shore

    excursion catalog what portions of tours were people-to-people compliant with a “P2P” symbol,

    neither of these tours had a “P2P” designation. Id., ECF No. [131-43] at 6, 17–19.




                                                   134
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 136 of 169




            At her deposition, Shaw, who was involved in shore excursions with Royal Caribbean for

    29 years, id., ECF No. [122-4] at 5, testified that the Tropicana Cabaret involved “a little bit of

    history” and “then at the end, the guests had a chance to participate and come on stage and dance

    [a] little bit with the performers.” Id. at 28. She likewise testified that the Cabaret Parisién involved

    a similar experience: “they would go ahead and talk about the history of Cuba. They’ll talk about

    the performers that had performed at that location. They did different musical routines with

    dancers. And then at the end they would have interactivity with our guests before going back to

    the ship.” Id. at 29.

            Shaw’s description of the excursion amounts to passive history lessons—involving no

    interactions between the travelers and Cuban people—and then casual and brief exchanges in the

    form of guests dancing on stage. Such activities are not consistent with OFAC’s people-to-people

    exchanges, such as a full schedule of “discussions with Cuban artists on community projects,

    exchanges with the founders of a youth arts program, and . . . extended dialogue with local city

    planners and architects to learn about historical restoration projects in Old Havana.” § 515.565(b)

    (2016) (Example 2). To interpret people-to-people travel to include the Tropicana Cabaret and

    Cabaret Parisién is to ignore the regulation’s express distinction between permitted educational

    travel and impermissible tourist travel.

            Royal Caribbean’s excursions with a “P2P” symbol were likewise not people-to-people

    compliant, despite the designation. The designations only underscore that the excursions involved

    “primarily tourist-oriented” activities, §§ 515.565(c) (2016), 515.565(f) (2017), lacking “a full-

    time schedule of activities intended to enhance contact with the Cuban people, support civil society

    in Cuba, or promote the Cuban people’s independence from Cuban authorities,” or that “result[ed]

    in meaningful interaction between the traveler and individuals in Cuba.” § 515.565(b)(1)–(2)




                                                      135
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 137 of 169




    (2016); § 515.565(b)(2)–(3) (2017).

           For example, in Royal Caribbean’s 3.5-hour long cocktail making class, only a 15-minute

    segment was designated as P2P, which stated: “At the end there will be time to interact with the

    training specialists and hear some of their experiences and anecdotes about the profession.” Royal

    Caribbean, ECF No. [131-43] at 29. Having only 15 minutes of a 3.5-hour excursion dedicated to

    people-to-people interactions implicitly acknowledges that the excursion is “primarily tourist-

    oriented.” §§ 515.565(c) (2016), 515.565(f) (2017). In addition, Shaw testified that, during the

    cocktail-making class, some history would be discussed, and then guests were taught how to make

    classic Cuban drinks, like the mojito. Royal Caribbean, ECF No. [122-4] at 30. OFAC, however,

    had already advised that “brief exchanges” and “casual conversations” do not constitute

    meaningful interactions with the Cuban people. See § 515.565(b) (2016).

           Similarly, in The Old Havana Sightseeing and Walking Tour Combination, which lasts 9

    hours, the “P2P” segment is a 90-minute walk through various plazas where guests would “have

    the opportunity to have ongoing exchanges with locals, vendors, artisans, entrepreneurs, and to

    learn about the customs of the residents of Old Havana.” Royal Caribbean, ECF No. [131-43]

    at 33. The remainder of the tour consisted of visits to various photo spots in Havana, with “[t]ime

    to taste an exquisite tobacco, and a rum beverage.” Id. at 32–30. Even if the 90-minute “P2P”

    portion involved more than “brief exchanges with shopkeepers while making purchases,”

    § 515.565(b) (2016), travelers who engaged in this tour spent at least 7.5 hours engaging in

    “primarily tourist-oriented” activities. §§ 515.565(c) (2016), 515.565(f) (2017).

           In addition, even accepting that Royal Caribbean’s excursions had some components of

    people-to-people exchanges, it was physically impossible for all passengers to string together a

    full-time schedule of people-to-people exchanges by completing more than one tour. Tours had a




                                                   136
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 138 of 169




    maximum capacity of 75 to 500 people. Royal Caribbean, ECF No. 131-43 at 4–5. The eight-hour

    “Best of Havana” tour had one 45 minute “P2P” segment (“interact with workers and local

    residents” at the “Fusterlandia community project”) and another 35 minute “P2P” segment (“[t]ime

    for shopping and interact[ing] with artisans and private vendors . . . in the Almacenes de San Jose”).

    Id. at 7. The full day “Best of Havana with Colon Cemetery” tour had the same two people-to-

    people components. See id. at 8. As did the seven hour “Best of Havana with Hemingway’s House”

    tour. See id. at 8–9. No guests taking these full-day tour would have engaged in a full-time schedule

    of people-to-people exchanges.

           Similarly, the four to five hour “Havana Half Day Walking Tour without lunch” excursion

    only had a 90-minute “P2P” segment (“the opportunity to have ongoing exchanges with locals,

    vendors, artisans, entrepreneurs, and to learn about the customs of the residents of Old Havana”).

    Id. at 9. Likewise, the five-and-a-half hour “Havana By Classic American [Car]” tour had a 50

    minute “P2P” segment (“interaction with members of the community” within “the Callejon de

    Hammel, a religious art space”). Id. at 10. And in another example, the four-and-a-half hour “Easy

    Panoramic Havana” tour only included a 45 minute “P2P” component (“[t]ransfer to the

    Fusterlandia community project” to “interact with workers and local residents”). Id. at 11. Even

    taking two half-day tours and then engaging in a nighttime excursion, there simply were not

    enough people-to-people components to piece together a full-time schedule of people-to-people

    exchanges.

           Similar to Carnival, Royal Caribbean contracted with Havanatur to operate shore

    excursions. Royal Caribbean, ECF Nos. [141] ¶ 45, [172] ¶ 45. As explained, Havanatur is the

    “travel agency exclusively authorized by Cuba to provide tourist services in Cuba.” Fuentes-Coba,

    738 F.2d at 1194. The fact that Royal Caribbean purchased tours from a tourism excursion provider




                                                     137
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 139 of 169




    further supports that Royal Caribbean was engaging in tourism.

           The January 2019 email and testimony from Delgado, the Vice President of Global

    Business Development at one of Royal Caribbean’s brands, Royal Caribbean, ECF No. [122-6] at

    10, demonstrates that excursions from Havanatur fell short of the people-to-people travel

    requirement of enhancing contact with the Cuban people, supporting civil society in Cuba, or

    promote the Cuban people’s independence from Cuban authorities. According to Delgado,

    Havanatur’s tour guides had been “hired from the Cuban Ministry of Foreign Relations Academy

    (because of their language skills) [and] these individuals (after being brainwashed for four years)

    come to work for Havanatur believing our guests are not tourists, but the American invaders they

    were told were coming.” Id., ECF No. [123-29] at 4. At deposition, Delgado recalled that during

    the later year of the tours, the tour guides would “enter all kinds of nonsensical discussions with

    our guests on political issues.” Id., ECF No. [122-6] at 27. As Delgado put it, “What they were

    doing basically to our guests was reading the communist party bible on whatever they believe in.”

    Id. Delgado also stated, “I believe that many of these guys got those positions and were trained on

    how to respond to questions from the guests in the way they did, basically brainwash[ed].” Id.

           In addition, the record demonstrates that Royal Caribbean presented a series of excursions

    that travelers could pick and choose from, in the same manner that any other tourist cruising to

    another Caribbean destination would be able to do. See Royal Caribbean, ECF No. [131-43] at 4–

    5. OFAC, however, prohibited sponsoring organizations from having travelers “engage in

    individually selected . . . activities.” §§ 515.565(b) (2016) (note).

           The June 2019 OFAC Cautionary Letter to Royal Caribbean also establishes that Royal

    Caribbean failed to keep proper records, and that it transported passengers to Cuba for

    impermissible purposes. See Royal Caribbean, ECF No. [122-23]. Example 3 to the 2016 version




                                                     138
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 140 of 169




    of § 515.565(b) instructed that “[a] traveler’s failure to keep records means that the individual’s

    activities do not qualify for the general license.” As OFAC advised in the Cautionary Letter,

    “[t]ravel-related transactions to, from, or involving Cuba for any other purpose, or that do not meet

    the full criteria and conditions of one or more of the [12] categories of general licenses, including

    recordkeeping requirements, are prohibited.” Id., ECF No. [122-23] at 4. And yet a sampling of

    passenger affidavits from Royal Caribbean showed that “12 paper certifications failed to either

    select a general travel license or provide a specific license number” and “five certifications . . . had

    hand written comments indicating that the individual traveler did not intend to disembark in Cuba,”

    which was contrary to Royal Caribbean’s “policy that passengers could not embark on a voyage

    to Cuba without providing the general license number that authorized their travel.” Id. at 5.

            As stated, one of the purposes behind the CACR is “[t]o deny to Cuba or its nationals hard

    currency which might be used to promote activities inimical to the interests of the United States.”

    De Cuellar, 881 F.2d at 1569; see Regan, 468 U.S. at 229. Collectively, Royal Caribbean paid

    more than $29.7 million to Cuban Government-owned and controlled entities to use the Terminal.

    Royal Caribbean, ECF Nos. [141] ¶¶ 40, 44, 47, [172] ¶¶ 40, 44, 47. Royal Caribbean’s cruises

    constituted tourist activities and not proper people-to-people activities, paying millions of dollars

    to the Cuban Government to engage in impermissible travel.

            Based upon the undisputed facts, the Court determines that from March 2017 to June 2019,

    Royal Caribbean’s cruises did not engage in lawful travel to Cuba under the LIBERTAD Act.

                      (4) Norwegian’s Tourist Activities

            Norwegian used the Terminal between March 2017 and June 2019. Norwegian, ECF Nos.

    [228] ¶ 15, [282] ¶ 15. Therefore, the people-to-people OFAC regulations, amended in March 2016

    and November 2017, apply to the Court’s analysis.




                                                      139
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 141 of 169




            Like other cruise operators, Norwegian offered excursions at the “The Legendary

    Tropicana Cabaret,” “Parisien Cabaret at the Hotel Nacional de Cuba,” and “Buena Vista Social

    Club at Habana Café.” Id., ECF Nos. [228] ¶ 85, [282] ¶ 85. All three excursions involved musical

    shows, with the Parisien Cabaret being described as “a spectacular Vegas style performance.” Id.,

    ECF No. [217-6] at 6–7. As already stated, these tourist shows fall well short of people-to-people

    exchanges.

            The testimony of Manjencic, who was responsible for shore excursions in Cuba for

    Norwegian, reinforces that conclusion. Manjencic testified that the people-to-people components

    of the Buena Vista Social Club excursion included a “meet and greet by maître d’, wait staff” and

    “a component where our guests met with the artists” and “where guests had the opportunity to

    dance with the artists or partake in the activity that was happening at that time.” Id., ECF No. [214-

    8] at 41. Manjencic testified about the Tropicana Cabaret, adding that “guests could have an

    exchange with the artists, with the performers, with the musicians, the presenters -- so they could

    discuss about the show and about their art history,” and learn salsa at the end of the show. Id.

    Manjencic likewise provided similar testimony regarding the Parisien Cabaret. Id. at 41–42. Yet,

    people-to-people exchanges cannot be interpreted so broadly as to encompass casual conversations

    with wait staff and dancing on stage without completely blurring the line between educational

    travel and tourist travel.

            The testimony of Norwegian’s corporate representative, Parodi, further demonstrates that

    Norwegian provided tourist excursions. Parodi acknowledged at deposition that the Tropicana

    Nightclub was “a great tourist attraction.” Id., ECF No. [214-1] at 34. When asked, “[b]esides the

    Tropicana Nightclub, what other similar type of tourist excursions did Havanatur organize for the

    NCL passengers,” he answered, “I know there are two other shows that we offer through




                                                     140
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 142 of 169




    Havanatur, and then there are the monuments and the local attractions.” Id. Moreover, Parodi was

    not aware of any Norwegian excursion that met with religious leaders, members of the dissident

    movement in Cuba, persons not affiliated with the Cuban Government, or artists not employed by

    a Cuban Government agency. Id. at 35.

           Statements in Norwegian’s Shore Excursion Programs also highlight that Norwegian was

    engaged in tourist activities. The Shore Excursion Program for April 2017 contained a disclaimer

    stating, “the Cruise tourism in Cuba is operated by a Government owned Tour company,” so

    “guides, venues and any means of transportation are selected & provided solely at their own

    discretion.” Id., ECF No. [217-6] at 6 (emphasis added). The disclaimer continued that guests

    should not expect “the same quality and standards . . . as to those other more tourism-developed

    cruise destinations.” Id. (emphasis added). The repeated references to tourism in Norwegian’s own

    shore excursion documents, as well as the warning that a “Government owned Tour company” was

    solely responsible for selecting guides and venues, further demonstrates that Norwegian’s

    excursions did not constitute people-to-people exchanges.

           Norwegian’s January 2019 Shore Excursion Program contained a slightly different

    disclaimer, which removed references to “tourism” and claimed that “[a]ll our shore excursions

    are OFAC compliant.” Id., ECF No. [301-2] at 3. But the substantive changes to the Shore

    Excursion Program only served to underscore that the excursions were primarily tourist-oriented.

    For example, the Tropicana Cabaret excursion stated that the “show may contain sensual dancing.”

    Id. Moreover, the “Modern Havana in an American Classic” excursion warned that “[t]he Vintage

    Car ride is an orientation drive operated by a driver only. Drivers barely [s]peak English and are

    not guides. Information is very limited. However, a tour guide will provide explanations to the

    group at each stop during the bus drive.” Id. In her declaration, Manjencic justified the car tour by




                                                    141
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 143 of 169




    that “passengers were paired with a local Cuban driver.” Id., ECF No. [282-12] ¶ 7. But noticeably

    absent is a representation that the drivers and passengers engaged in meaningful interactions,

    which is not likely given that paired drivers did not speak fluent English.

            Norwegian also offered sightseeing tours that were likewise not OFAC compliant.

    Specifically, Norwegian offered “An Evening Stroll in Colonial Havana” tour, where guests would

    visit Cathedral Square, Arms Square, Old Square, and Sloppy Joe’s Bar. Id., ECF No. [217-6] at

    7. “The Old Colonial Havana” excursion had a similar itinerary, adding that passengers could “visit

    the Almacenes de San Jose and have the opportunity to buy [a] Cuban souvenir.” Id. The “Modern

    Havana in an American Classic” involved visiting various Havana landmarks in a vintage

    automobile. Id. at 6. The “Colors and Flavors in Havana” tour involved guests “visiting a superb

    dance company, sampling Cuban rum paired with cigars, and learning to make classic cocktails

    before dining on Cuban cuisine.” Id., ECF No. [301-1] at 7. And the “Las Terrazas and It’s Nature”

    excursion involved an eight-hour tour of “an environmentally conscious small town where most

    of the activities revolve around nature,” including a visit to a museum, coffee at a café, free time

    to swim in a river. Id. at 2.

            These activities represent classic “primarily tourist-oriented” activities. §§ 515.565(c)

    (2016), 515.565(f) (2017). There is no evidence that travelers engaged in more than “brief

    exchanges” and “casual conversations” between vendors and wait staff. See § 515.565(b) (2016).

    If activities such as sightseeing, purchasing souvenirs, and swimming in a river constitute people-

    to-people exchanges, then the CACR would be inconsistent with the statutory prohibition against

    tourist travel, making the regulations void. United Nat. Bank, 54 F. Supp. 2d at 1312. The Court

    must construe the regulation to avoid such a result. See Marte, 356 F.3d at 1341.

            Norwegian also offered excursions outside of Havana—but for guests on ships that docked




                                                    142
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 144 of 169




    at the Terminal—that did not constitute people-to-people exchanges: the “Submerged Pearl,”

    “Cienfuegos Dolphins,” and “Cienfuegos & Its Nature.” Norwegian, ECF Nos. [221-16], [217-6],

    [228] ¶ 86, [282] ¶ 86. The Cienfuegos Dolphins excursion included a visit to various sites, a

    “[d]olphin show and opportunity to talk to the coaches,” and “free time on the historical Boulevard

    Santa Isabel, where you may browse the shops before returning to the pier.” Id., ECF No. [301-2]

    at 5. The Cienfuegos & Its Nature excursion included an hour and a half “of hiking in the park,”

    “[f]ree time to swim in . . . natural pools,” and a “Creole-style lunch” at a local restaurant. Id.; see

    also id., ECF No. [301-3] at 4 (stating that guests “will have free time for [a] bath in natural settings

    and to take photos”). And “The Submerged Pearl” excursions involved visits to several Cienfuegos

    sites and the opportunity to purchase some souvenirs. Id., ECF No. [221-16] at 6. Sightseeing,

    watching trained dolphins, and swimming are indisputably “primarily tourist-oriented” activities.

    §§ 515.565(c) (2016), 515.565(f) (2017).

            Manjencic’s testimony supports this conclusion. Manjencic states that “Cienfuegos

    Dolphins” allowed passengers to “interact[] with and learn[] from local Cubans who worked with

    dolphins and interacting with the locals at the historic Boulevard Santa Isabel -- a dense urban

    commercial street for pedestrians to interact with local vendors and artisans.” Norwegian, ECF

    No. [282-12] ¶ 10. As to “Cienfuegos & Its Nature,” Manjencic declares that “passengers were led

    by a local Cuban guide through the historically significant Escambray Mountains” and “had an

    opportunity to personally interact with local residents” and eat at a privately owned restaurant. Id.

    ¶¶ 11–12. Manjencic also stated that for “The Submerged Pearl,” “a local Cuban guide facilitated

    exchanges between passengers and locals at various architectural landmarks in Cienfuegos” and

    “passengers had an opportunity to interact with local fishermen about the history and significance

    of this unique area as well as their daily life.” Id. ¶ 13.




                                                      143
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 145 of 169




           Manjencic’s declaration supports that the excursions provided some opportunity for

    interactions between guests and Cubans. However, the evidence does not establish that guests on

    these excursions had “a full-time schedule of activities intended to enhance contact with the Cuban

    people, support civil society in Cuba, or promote the Cuban people’s independence from Cuban

    authorities,” or that “result[ed] in meaningful interaction between the traveler and individuals in

    Cuba.” § 515.565(b)(1)–(2) (2016); § 515.565(b)(2)–(3) (2017).

           In addition, even accepting that Norwegian’s excursions had some components of people-

    to-people exchanges, it was physically impossible for all passengers to string together a full-time

    schedule of people-to-people exchanges by completing more than one tour. The excursions ranged

    from three hours to ten hours. Norwegian, ECF No. [301-2] at 2–6. Although the tours do not

    indicate the exact number of passengers who may attend, the excursions likely had a limit capacity,

    as is the case with the other cruise lines. Moreover, “delays up to 1-2 hours [were] expected and

    quite common.” Id. at 3. Moreover, the regular format of tours provided by Havanatur were either

    half a day or a full day. As explained, Norwegian’s excursions had only limited opportunities that

    would arguably constitute people-to-people exchanges, the rest being primarily tourist oriented.

    Thus, passengers could not piece together enough people-to-people components from enough tours

    to engage in a full-time schedule of people-to-people exchanges.

           That point was perhaps best made by Norwegian’s own President and CEO, Del Rio, during

    the April 2015 Inaugural Cuba Opportunity Summit. When asked about the easing of travel

    restrictions to Cuba under the Obama Administration, Del Rio stated, “it would be difficult for us

    to have a ship with 4,000 tourists -- people let’s call them -- show up in Havana and call that

    people-to-people travel. That would be a stretch of the . . . rules.” Norwegian, ECF No. [221-15]

    at 4. And that is precisely the point: it is a stretch of the people-to-people travel regulation to




                                                   144
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 146 of 169




    encompass tourist activities: visiting landmarks, watching shows, drinking rum, smoking Cuban

    cigars, buying souvenirs, and swimming in natural pools.

           Similar to Carnival and Royal Caribbean, Havanatur operated and organized Norwegian’s

    shore excursions. Norwegian, ECF Nos. [228] ¶ 80, [282] ¶ 80. As noted, one of the purposes

    behind the CACR is “[t]o deny to Cuba or its nationals hard currency which might be used to

    promote activities inimical to the interests of the United States.” De Cuellar, 881 F.2d at 1569; see

    Regan, 468 U.S. at 229. Norwegian paid more than $12 million to use the Terminal. See

    Norwegian, ECF Nos. [228] ¶¶ 26, 30, 35, [282] ¶¶ 26, 30, 35. Norwegian’s cruises constituted

    tourist activities and not proper people-to-people activities, paying millions of dollars to the Cuban

    Government to engage in impermissible travel.

           Based upon the undisputed facts, the Court determines that from March 2017 to June 2019,

    Norwegian did not engage in lawful travel to Cuba under the LIBERTAD Act.

                       “Necessary to the conduct of such travel” Prong

           To be excluded from the definition of trafficking, Title III of the LIBERTAD Act requires

    that “transactions and uses of property” be both “incident to lawful travel to Cuba” and “necessary

    to the conduct of such travel.” § 6023(13)(B)(iii). As shown above, Defendants failed to show that

    their use of the Terminal constituted lawful travel. But even if the Defendants’ use of the Terminal

    was incident to lawful travel, their use of the Terminal was not necessary to the conduct of lawful

    travel to Cuba.

           Defendants submit that “‘necessary’ does not mean having no other alternative.” Carnival,

    ECF No. [330] at 16. Defendants argue that necessity is instead governed by a reasonableness test

    rather than absolute necessity. Id. at 16–17. As such, necessity may include “that which is only

    convenient, useful, appropriate, suitable, proper, or conducive to the end sought.” Id. at 17.




                                                     145
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 147 of 169




    Defendants contend that the proper inquiry is not whether use of the Terminal was necessary to

    travel to Cuba in general, but necessary to the conduct of travel to Havana, where the Terminal is

    located. Id. at 19. Defendants continue that their use of the Terminal was “useful, appropriate,

    helpful, or related to the conduct of the lawful travel at issue.” Id. at 19–20. Alternatively,

    Defendants argue that they also meet the absolute necessity standard because the Cuban

    Government required them to dock at the Terminal when calling on Havana. Id.

           Havana Docks accuses Defendants of “tortur[ing] the plain meaning of the statutory

    language to defend their use of the . . . Terminal as ‘necessary’ to lawful travel.” Id., ECF No. [389]

    at 22. Havana Docks submits that “necessary” means “required, essential, or indispensable.” See

    Carnival, ECF No. [333] at 13–15; MSC, ECF No. [225] at 12–15; Royal Caribbean, ECF No.

    [142] at 13–16; Norwegian, ECF No. [229] at 13–16. According to Havana Docks, Defendants

    could have used, and did use, other Cuban ports. See Carnival, ECF No. [333] at 16–17; MSC,

    ECF No. [225] at 15–17; Royal Caribbean, ECF No. [142] at 16–18; Norwegian, ECF No. [229]

    at 16–18. Havana Docks further argues that Defendants “stretch the rules of grammar to conclude

    that their use of confiscated property needed to be necessary only for travel to Havana, not travel

    to Cuba.” Carnival, ECF No. [389] at 23. Havana Docks points out that none of the regulations

    required that Defendants travel to Havana specifically and disagrees with Defendants that the

    Cuban Government required them to use the Terminal. Id.

           The Court’s analysis begins with the text of the statute. See Catalyst, 14 F.4th at 1307.

    Under the plain text of the LIBERTAD Act, use of the Terminal must have been “incident to lawful

    travel to Cuba” and “necessary to the conduct of such travel,” i.e., “travel to Cuba”

    § 6023(13)(B)(iii) (emphasis added). “Such travel” does not mean “travel to Havana” or any other

    particular part of Cuba. Thus, if it was not necessary for Defendants to use the Terminal to travel




                                                     146
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 148 of 169




    to Cuba, then their use of the Terminal does meet the lawful travel exception.

             “To determine the ordinary meaning of an undefined statutory term, we often look to

    dictionary definitions for guidance.” Spencer v. Specialty Foundry Prod. Inc., 953 F.3d 735, 740

    (11th Cir. 2020) (“internal quotation marks omitted). Also, “we look at how a phrase was defined

    at the time the statute was drafted and enacted.” Sanders v. Jackson, 209 F.3d 998, 1000 (7th Cir.

    2000).

             The Black’s Law Dictionary edition in effect in 1996, when the LIBERTAD Act was

    enacted, states that necessary can have different meanings:

             This word must be considered in the connection in which it is used, as it is a word
             susceptible of various meanings. It may import absolute physical necessity or
             inevitability, or it may import that which is only convenient, useful, appropriate,
             suitable, proper, or conducive to the end sought. It is an adjective expressing
             degrees, and may express mere convenience or that which is indispensable or an
             absolute physical necessity. It may mean something which in the accomplishment
             of a given object cannot be dispensed with, or it may mean something reasonably
             useful and proper, and of greater or lesser benefit or convenience, and its force and
             meaning must be determined with relation to the particular object sought.

    Necessary, Black’s Law Dictionary, 1029 (6th ed. 1990).

             Non-legal dictionaries, however, generally set forth a strict definition of necessary. For

    example, at the time the statute was enacted, the Oxford English Dictionary defined “necessary”

    as “[i]ndispensable, requisite, essential, needful; that cannot be done without.” Necessary, OED

    Online, Oxford University Press (2d. ed. 1989), available at https://www.oed.com/oed2/00156288

    (last visited Mar. 16, 2022). Merriam-Webster’s Collegiate Dictionary defined necessary as “an

    indispensable item: ESSENTIAL.” Necessary, Merriam-Webster’s Collegiate Dictionary, 776

    (10th ed. 1996). And Webster’s New World College Dictionary defined necessary as “that cannot

    be dispensed with,” “essential,” “indispensable,” “that must be done,” “mandatory,” “not

    voluntary,” “not free to choose,” and “compelled by circumstances.” Necessary, Webster’s New




                                                     147
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 149 of 169




    World College Dictionary, 905 (3d ed. 1996).

           The Court finds that the LIBERTAD Act employs the strict definition of the word

    necessary. “Like ordinary English speakers, the common law uses ‘necessary’ in this strict sense

    of essential or indispensable.” Vorchheimer v. Philadelphian Owners Ass’n, 903 F.3d 100, 106 (3d

    Cir. 2018). “[W]hen Congress wants to loosen necessity to mean just ‘sufficiently important,’ it

    uses the phrase ‘reasonably necessary.’” Id. at 107; see Ayestas v. Davis, 138 S. Ct. 1080, 1093

    (2018) (“[18 U.S.C. § 3599” appears to use the term ‘necessary’ to mean something less than

    essential. The provision applies to services that are ‘reasonably necessary,’ but it makes little sense

    to refer to something as being ‘reasonably essential.’”). In the LIBERTAD Act, Congress could

    have easily excluded from the definition of trafficking transactions that were “[reasonably]

    necessary to the conduct of” lawful travel. But Congress did not. Courts “are not allowed to add

    or subtract words from a statute; we cannot rewrite it.” Friends of Everglades v. S. Fla. Water

    Mgmt. Dist., 570 F.3d 1210, 1224 (11th Cir. 2009).

           Moreover, a strict interpretation of necessity would further the LIBERTAD Act’s goal of

    “protect[ing] United States nationals against confiscatory takings and the wrongful trafficking in

    property confiscated by the Castro regime.” § 6022(1), (2), (6). If Defendants’ interpretation of

    necessity is correct, then traffickers in confiscated property may avoid liability by simply showing

    that using the property was convenient.

           With the correct view of necessity in place, the undisputed facts show that it was not

    necessary (i.e., essential) for Defendants to use the Terminal to Cuba—indeed, Defendants were

    not required to travel to Havana at all. Concerning Carnival, it is undisputed that the U.S.

    Government did not require Carnival to cruise to Havana. Carnival, ECF Nos. [332] ¶ 46, [374]

    ¶ 46. Nor did the U.S. Government direct Carnival where to dock its ships in Cuba. Id., ECF Nos.




                                                     148
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 150 of 169




    [332] ¶ 47, [374] ¶ 47. It was not necessary for a Carnival cruise ship to dock at the Terminal to

    cruise to Santiago de Cuba, Cuba, or Cienfuegos, Cuba. Id., ECF Nos. [332] ¶ 50, [374] ¶ 50.

    Carnival could, and did, dock ships and embark and disembark its passengers at Santiago de Cuba

    and Cienfuegos, including by tendering offshore. Id., ECF Nos. [332] ¶¶ 53–54, [374] ¶¶ 53–54.

            Concerning MSC, it is undisputed that the U.S. Government did not require MSC SA to

    cruise to Havana. Id., ECF Nos. [224] ¶ 70, [253] ¶ 70. Nor did the U.S. Government instruct,

    direct or designate MSC SA to use the Terminal in its cruises to Cuba. Id., ECF Nos. [224] ¶ 73,

    [253] ¶ 73. The U.S. Government did not inform MSC SA that it could not go to another port in

    Cuba besides Havana. Id., ECF Nos. [224] ¶ 74, [253] ¶ 74. Moreover, the Cuban Government

    authorized MSC ships to sail to Punta Frances, Isla de la Juventud, Cuba, and to transport

    passengers to and from shore by tender boats. Id., ECF Nos. [224] ¶ 93, [253] ¶ 93. MSC SA could

    and did embark and disembark passengers in Punta Frances. Id., ECF Nos. [224] ¶ 94, [253] ¶ 94.

            Concerning Royal Caribbean, it is undisputed that the U.S. Government did not direct

    Royal Caribbean where to sail in Cuba. Royal Caribbean, ECF Nos. [141] ¶ 59, [172] ¶ 59. Nor

    did the U.S. Government require Royal Caribbean to dock at the Terminal. Id., ECF Nos. [141]

    ¶ 60, [172] ¶ 60. The Cuban Government likewise did not require Royal Caribbean to cruise to

    Havana. Id., ECF Nos. [141] ¶ 61, [172] ¶ 61. Nor did the Cuban Government require that Royal

    Caribbean use the Terminal to cruise to Cuba. Id., ECF Nos. [141] ¶ 62, [172] ¶ 62. In addition,

    the ports of Cienfuegos and Santiago de Cuba have immigration, customs, and medical screening

    capabilities. Id., ECF Nos. [141] ¶ 75, [172] ¶ 75. And it is undisputed that Royal Caribbean ships

    did not need to use the Terminal to sail to Cienfuegos or Santiago. Id., ECF Nos. [141] ¶ 74, [172]

    ¶ 74.

            Concerning Norwegian, it is undisputed that the Cuban Government did not require that




                                                   149
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 151 of 169




    Norwegian stop at a particular port in Cuba on any particular day. Norwegian, ECF Nos. [228]

    ¶ 54, [282] ¶ 54. The Cuban Government authorized Norwegian to berth at Santiago de Cuba and

    Cienfuegos. Id., ECF Nos. [228] ¶ 55, [282] ¶ 55. Norwegian could, and did, dock its ships and

    embark and disembark its passengers at Santiago and Cienfuegos. Id., ECF Nos. [228] ¶ 59, [282]

    ¶ 59. Norwegian’s ships also anchored offshore and tendered passengers to shore in Santiago de

    Cuba and Cienfuegos. Id., ECF Nos. [228] ¶ 60, [282] ¶ 60. The port facilities in the Cuban ports

    of Santiago and Cienfuegos housed medical screening, immigration, and customs services for

    cruise passengers. Id., ECF Nos. [228] ¶ 62, [282] ¶ 62. In addition, Norwegian acknowledges that

    persons could satisfy then-existing OFAC travel-category restrictions by visiting cities in Cuba

    other than Havana. Id., ECF Nos. [228] ¶ 58, [282] ¶ 58.

           It is also notable that other cruise lines sailed to other parts in Cuba. From 2017 to 2019,

    Viking Cruises offered cruises to Cienfuegos that transported passengers to Havana by bus for a

    one or two-day excursion. MSC, ECF Nos. [224] ¶ 90, [253] ¶ 90; Royal Caribbean, ECF Nos.

    [141] ¶ 81, [172] ¶ 81. Other cruise lines, such as Thomson, Fred Olsen, and Noble Caledonia,

    offered cruises to Cuba that stopped in Cienfuegos, Santiago, or Holguin, but did not include a

    stop in Havana. MSC, ECF Nos. [224] ¶ 98, [253] ¶ 98; Royal Caribbean, ECF Nos. [141] ¶ 67,

    [172] ¶ 67.

           Defendants contend, and Havana Docks disputes, that when they traveled to Havana, they

    were required by the Cuban Government to use the Terminal. In their Omnibus Statement of Facts,

    Defendants submit that “[d]uring the time they were sailing to Havana, Defendants’ ships docked

    at Pier 1, which is one of the three piers at the Terminal, and that “[t]he Cuban Government

    required Defendants to dock at that pier, at that terminal, when calling in Havana.” Carnival, ECF

    No. [331] ¶¶ 22–23. According to Defendants, the Cuban Government denied their requests to




                                                   150
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 152 of 169




    tender passengers offshore or dock at other facilities in Havana. Id. ¶ 23. Moreover, Defendants

    contend that Cuban pilots boarded the ships and docked them at Pier 1 themselves, and that

    passengers tendered offshore, if available, would still have had to clear immigration and customs.

    Id. ¶¶ 24–25. Even taking Defendants’ facts as true, travel to the city of Havana was not

    “necessary” for Defendants to conduct lawful travel to the country of Cuba.

           The Court determines that the “necessary” prong has not been established by the

    Defendants, and Defendants have failed to meet their burden on the lawful travel exception

    affirmative defense. For these additional reasons, Havana Docks is entitled to summary judgment

    on Defendants’ lawful travel exception defense. Carnival, ECF No [160] at 18; MSC, ECF No.

    [115] at 16, [133] at 15; Royal Caribbean, ECF No. [59] at 5, Norwegian, ECF No. [107] at 14.

                2. Ex Post Facto Clause

           Defendants contend that in violation of the Ex Post Facto clause (as well as the Fifth

    Amendment Taking and Due Process Clauses), the application of the LIBERTAD Act after its

    suspension and subsequent licensure is impermissibly retroactive. Carnival, ECF No. [330] at 28–

    30. Havana Docks contends that the Court already ruled that Title III does not apply retroactively

    because its effective date was not suspended; rather, the right to bring a cause of action was

    suspended. Id., ECF No. [389] at 30–31. Havana Docks is correct. As this Court previously found,

    “liability for trafficking under Title III attached beginning on November 1, 1996, and the consistent

    suspension of the right to bring an action under Title III did not affect this liability.” Havana Docks

    Corp. v. MSC Cruises SA Co., 484 F. Supp. 3d 1177, 1200 (S.D. Fla. 2020). Accordingly, “the

    imposition of liability under Title III is not retroactive.” Id. Therefore, Havana Docks is entitled to

    summary judgment on Carnival’s sixth affirmative defense, MSC’s sixth affirmative defense,

    Royal Caribbean’s tenth affirmative defense, and Norwegian’s fourth affirmative defense.




                                                     151
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 153 of 169




    Carnival, ECF No. [160] at 19; MSC, ECF No. [115] at 17, [133] at 16; Royal Caribbean, ECF

    No. [59] at 6; Norwegian, ECF No. [107] at 14.

                3. The Fifth Amendment’s Due Process Clause

           Defendants argue that Havana Docks seeks to punish acts that were licensed and

    encouraged, in violation of due process principles. Carnival, ECF No. [330] at 27. Havana Docks

    responds that this Court has already rejected this “encouragement” defense, and that the U.S.

    Government did not license or authorize trafficking in confiscated property. Id., ECF No. [389] at

    29–30. Havana Docks is correct. As this Court previously explained, “[n]either the government’s

    encouragement and licensure nor the history of suspending Title III is sufficient to establish a lack

    of fair notice under the Due Process Clause.” Havana Docks Corp. v. MSC Cruises SA Co., 484 F.

    Supp. 3d 1177, 1201 (S.D. Fla. 2020). “Moreover, the government’s encouragement to travel to

    Cuba and to increase commercial relations with Cuba does not in any way absolve [Defendants]

    of [their] obligations to also comply with federal law—namely, by not trafficking in confiscated

    property without the consent of a Title III claimant.” Id. Therefore, Havana Docks is entitled to

    summary judgment on Carnival’s fourth affirmative defense; MSC’s fourth affirmative defense;

    Royal Caribbean’s third, fourth, eleventh, twenty-fifth, and twenty-sixth affirmative defense; and

    Norwegian’s twenty-first affirmative defenses. Carnival, ECF No. [160] at 18; MSC, ECF No.

    [115] at 16, [133] at 15; Royal Caribbean, ECF No. [59] at 6, 9; Norwegian, ECF No. [107] at 18.

                4. Expiration of the Concession

           Based on binding Eleventh Circuit precedent, this Court has already rejected the argument

    that Defendants could not have trafficked in a time-limited concession that expired in 2004. See

    Havana Docks Corp. v. Royal Caribbean Cruises, Ltd., No. 19-CV-23590, 2020 WL 1905219, at

    *8 (S.D. Fla. Apr. 17, 2020); see also Glen, 450 F.3d at 1255. (“The Helms–Burton Act refers to




                                                    152
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 154 of 169




    the property interest that former owners of confiscated property now have as ownership of a “claim

    to such property.” 22 U.S.C. § 6082(a)(1)(A). When (or if) the portion of Title III that allows

    private litigants to bring lawsuits becomes effective, actions brought pursuant to the new statutory

    scheme would be actions brought “on a claim to the confiscated property” against traffickers in

    the property. 22 U.S.C. § 6082(a)(4)”). Therefore, Havana Docks is entitled to summary judgment

    on Carnival’s fourteenth affirmative defense, MSC’s thirteenth affirmative defense, Royal

    Caribbean’s second affirmative defense, and Norwegian’s twelfth affirmative defense. Carnival,

    ECF No. [160] at 20; MSC, ECF No. [115] at 18, [133] at 17; Royal Caribbean, ECF No. [59] at

    5; Norwegian, ECF No. [107] at 16.

                5. Failure to State a Claim

           Failure to state a claim is not an affirmative defense, and this case survived the motion-to-

    dismiss stage. See Affiliati Network, Inc. v. Wanamaker, No. 18-22576-CIV, 2019 WL 7376766, at

    *8 (S.D. Fla. Nov. 25, 2019), aff’d 847 F. App’x 583 (11th Cir. 2021) (granting summary judgment

    on failure to state a claim defense). Therefore, Havana Docks is entitled to summary judgment on

    Carnival’s fifteenth affirmative defense, MSC’s fourteenth affirmative defenses, Royal

    Caribbean’s twenty-second and twenty-eighth affirmative defense, and Norwegian’s thirteenth

    affirmative defense. Carnival, ECF No. [160] at 20; MSC, ECF No. [115] at 18, [133] at 17; Royal

    Caribbean, ECF No. [59] at 9; Norwegian, ECF No. [107] at 16.

                6. Lack of Knowledge and Intent

           Havana Docks argues that Defendants’ lack of knowledge and intent defense is a mere

    denial. See Carnival, ECF Nos. [336] at 22–23. Defendants do not dispute that assertion. See

    Carnival, [368] at 25–26. Moreover, the Court has already concluded that Defendants knowingly

    and intentionally trafficked as a matter of law. Therefore, Havana Docks is entitled to summary




                                                    153
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 155 of 169




    judgment on MSC’s twelfth affirmative defense, Royal Caribbean’s twenty-first and twenty-

    seventh affirmative defense, and Norwegian’s eleventh affirmative defense. MSC, ECF No. [115]

    at 18, [133] at 17; Royal Caribbean, ECF No. [59] at 9; Norwegian, ECF No. [107] at 16.44

                   7. Lack of Standing Due to Lack of Injury-in-Fact

              This Court has already determined that that Havana Docks suffered injury-in-fact and that

    it has standing to bring its claims. See, e.g., Havana Docks Corp. v. Norwegian Cruise Line

    Holdings, Ltd., 484 F. Supp. 3d 1215, 1227–29 (S.D. Fla. 2020). As the Court explained, Havana

    Docks’ Title III claims satisfy the four elements of injury-in-fact: legally protected interest,

    concreteness, particularization, and imminence. Id. at 1227; see Trichell v. Midland Credit Mgmt.,

    Inc., 964 F.3d 990, 996 (11th Cir. 2020) (setting forth elements necessary to establish injury-in-

    fact). First, under the LIBERTAD Act, “trafficking in confiscated property is an invasion of a

    legally protected interest,” and “[t]he remedy for the violation of that right is compensation from

    third parties for trafficking.” Havana Docks, 484 F. Supp. 3d at 1227. Second, Havana Docks’

    injury was concrete “because it is not receiving the benefit of its interest in the [Terminal] and

    [Defendants’] subsequent trafficking in the confiscated property has undermined [Havana Docks’]

    right to compensation for that expropriation.” Id. at 1228. Third, “Havana Docks’ injuries here are

    particularized because, rather than presenting a generalized harm, Havana Docks’ injury is entirely

    personalized to its interest in its Certified Claim to the [Terminal].” Id. at 1229. Fourth, imminence

    is established because “Havana Docks’ injury . . . is actual and not conjectural.” Id.

              Defendants argue that the intervening case of TransUnion LLC v. Ramirez, 141 S. Ct. 2190

    (2021) shows that Havana Docks lacks standing. TransUnion held that “Congress’s creation of a

    statutory prohibition or obligation and a cause of action does not relieve courts of their



    44
         Carnival withdrew this defense. See Carnival, ECF No. [279] at 4.


                                                        154
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 156 of 169




    responsibility to independently decide whether a plaintiff has suffered a concrete harm under

    Article III[.]” Id. at 2205. But decisions after TransUnion persuasively explain that a LIBERTAD

    Act plaintiff still suffers an injury-in-fact. See Glen v. Am. Airlines, Inc., 7 F.4th 331, 334 (5th Cir.

    2021), cert. denied, 142 S. Ct. 863 (2022); see also Sucesores de Don Carlos Nunez y Dona Pura

    Galvez, Inc. v. Societe Generale, S.A., No. 20-CV-851 (KMW), 2021 WL 6065758, at *7 (S.D.N.Y.

    Dec. 22, 2021). As the court in Societe Generale observed:

            It is not necessary that Defendants benefit from trafficking in ways that correspond
            to an equal and opposite detriment to Plaintiffs. The Fifth Circuit in Glen v.
            American Airlines [7 F.4th 331, 334 (5th Cir. 2021)] held a Helms-Burton Act injury
            to be concrete in a case analogous to this one. In American Airlines, the owner of a
            claim to confiscated beachfront land alleged that the airline trafficked in confiscated
            property by operating a website through which travelers booked twelve reservations
            at hotels built on the confiscated beachfront land. American Airlines, 7 F.4th at 334.
            The Fifth Circuit held the plaintiff’s injury to be concrete even though he would not
            have been entitled to the booking fees from those reservations if he did own and
            control the beachfront property. See id.; see also Trip Advisor, 529 F. Supp. 3d at
            327 (similar). The Court is persuaded that a plaintiff is injured concretely when she
            is shut out wrongfully from the gains produced by exploiting property that is
            rightfully hers. Under the relevant precedents, then, Plaintiffs have alleged a
            sufficient injury in fact for Article III standing.

    Id. at 8.

            Havana Docks alleges an injury that is entirely separate from the confiscation of its

    property rights by the Cuban Government. The use of Havana Docks’ property without its

    authorization constitutes a tangible injury. Accordingly, Havana Docks is entitled to summary

    judgment on Carnival’s eighth affirmative defense, MSC USA’s and MSC SA’s eighth affirmative

    defense, Royal Caribbean’s eighth affirmative defense, and Norwegian’s sixth affirmative defense.

    Carnival, ECF No. [160] at 19; MSC, ECF No. [115] at 17, [133] at 18; Royal Caribbean, ECF

    No. [59] at 6; Norwegian, ECF No. [107] at 15.

                8. Lack of Indemnity Right

            Havana Docks argues that Defendants’ lack of indemnity right defense is a mere denial.



                                                      155
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 157 of 169




    See Carnival, ECF Nos. [336] at 23–24. Defendants do not dispute that assertion. See Carnival,

    [368] at 25–26. Moreover, the Court as already determined that, under the Certified Claim, the

    Cuban Government confiscated Havana Docks’ interest in the Terminal, without just

    compensation. The Certified Claim is now the property interest upon which Havana Docks’ claim

    is premised. See Glen, 450 F.3d at 1255. Therefore, Havana Docks is entitled to summary judgment

    on Carnival’s twenty-fourth affirmative defense, MSC USA’s twentieth affirmative defense, MSC

    SA’s twenty-first affirmative defense, Royal Caribbean’s twenty-fourth affirmative defense, and

    Norwegian’s nineteenth affirmative defense. Carnival, ECF No. [160] at 22; MSC, ECF Nos. [115]

    at 20, [133] at 19; Royal Caribbean, ECF No. [59] at 8; Norwegian, ECF No. [107] at 17.

               9. Lack of Causation

           Havana Docks argues that Defendants’ lack of causation defense is a mere denial. See

    Carnival, ECF Nos. [336] at 24. Defendants do not dispute that assertion. See Carnival, [368] at

    25–26. Moreover, the Court has determined that Havana Docks has established all necessary

    elements for a Title III claim. Therefore, Havana Docks is entitled to summary judgment on

    Carnival’s eighteenth affirmative defense, MSC USA’s and MSC’s seventeenth affirmative

    defense, Royal Caribbean’s ninth affirmative defense, and Norwegian’s sixteenth affirmative

    defense. Carnival, ECF No. [160] at 21; MSC, ECF No. [115] at 19, [133] at 18; Royal Caribbean,

    ECF No. [59] at 9; Norwegian, ECF No. [107] at 17.

              10. Lack of Use of Claimed Property

           Havana Docks argues that Defendants’ defense disputing that they trafficked in all property

    certified by the FCSC is a mere denial. See Carnival, ECF Nos. [336] at 23–24. Defendants do not

    dispute that assertion. See Carnival, ECF No. [368] at 25–26. In addition, as explained in this

    Order, the FCSC certified that Havana Docks had an interest in the Terminal; the Court has also




                                                  156
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 158 of 169




    determined that Defendants knowingly and intentionally trafficked through their use of the

    Terminal. And as the Court previously recognized, the LIBERTAD Act “imposes liability for

    trafficking in . . . broadly defined ‘confiscated property’ — a term that . . . is not limited solely to

    the interest [Havana Docks] originally owned in the [Terminal].” MSC Cruises, 455 F. Supp. 3d at

    1374. Therefore, Havana Docks is entitled to summary judgment on Carnival’s eighth affirmative

    defense, MSC’s fifteenth affirmative defense, Royal Caribbean’s thirteenth affirmative defense,

    and Norwegian’s fourteenth affirmative defense. Carnival, ECF No. [160] at 20; MSC, ECF No.

    [115] at 19, [133] at 17–18; Royal Caribbean, ECF No. [59] at 7; Norwegian, ECF No. [107] at

    16.

               11. Article II of the United States Constitution

           Article II of the United States Constitution vests executive power exclusively with the

    President of the United States. U.S. Const. art. II § 1. Havana Docks moves for summary judgment

    on Defendants’ Article II affirmative defense, arguing that foreign policy decisions by the

    executive branch do not have the force of law, and Title III does not impose liability based on

    foreign policy decisions. Carnival, ECF No. [336] at 27. Defendants respond that the LIBERTAD

    Act violates Article II because “Title III’s private right of action empowers a private plaintiff to

    sue over—and thus asks an Article III court to decide—not only private property rights but the

    validity of foreign policy determinations that are relegated to the Executive Branch.” Id., ECF No.

    [368] at 27. Defendants are incorrect.

           Title III of the LIBERTAD Act does not empower plaintiffs to invalidate foreign policy

    determinations made by the Executive Branch. Rather, Title III provides a private cause of action

    to victims of confiscations by the Cuban Government against persons who traffic in that

    confiscated property. § 6082(a)(1)(A); see Glen, 450 F.3d at 1255. Nor has the Court invalidated




                                                     157
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 159 of 169




    or questioned the foreign policy decisions that led OFAC to amend the CACR to remove

    procedural requirements for people-to-people travel. To the contrary, the Court has analyzed

    whether Defendants complied with the requirements for people-to-people travel under the CACR

    in order to determine whether Defendants engaged in lawful travel to Cuba, an affirmative defense

    in this case. Garcia-Bengochea, 407 F. Supp. 3d at 1286. Although this case necessarily stems

    from the ephemera of various political climates, this Court’s Order does not question or invalidate

    those foreign policy decisions, and thus does not implicate Article II’s power-vesting provision.

            As such, Havana Docks is entitled to summary judgment on Carnival’s seventh affirmative

    defense, MSC USA’s and MSC SA’s seventh affirmative defense, Royal Caribbean’s nineteenth

    affirmative defense, and Norwegian’s fifth affirmative defense. Carnival, ECF No. [160] at 19;

    MSC, ECF No. [115] at 17, [133] at 16; Royal Caribbean, ECF No. [59] at 8; Norwegian, ECF

    No. [107] at 15.

               12. Act of State Doctrine

            As the Eleventh Circuit has held, the LIBERTAD Act “explicitly forecloses use of the act

    of state doctrine as a defense to causes of action for liability for trafficking, the statutory cause of

    action created by 22 U.S.C. § 6082(a)(1).” Glen, 450 F.3d at 1256; see § 6082(a)(6) (“No court of

    the United States shall decline, based upon the act of state doctrine, to make a determination on

    the merits in an action brought under paragraph (1).”). Defendants recognize that binding Eleventh

    Circuit precedent forecloses their defense, but Defendants seek to preserve the defense for

    appellate purposes. Carnival, ECF No. [368] at 30. As such, Havana Docks is entitled to summary

    judgment on Carnival’s nineteenth affirmative defense, MSC USA’s and MSC SA’s eighteenth

    affirmative defense, Royal Caribbean’s sixteenth affirmative defense, and Norwegian’s

    seventeenth affirmative defense. Carnival, ECF No. [160] at 21; MSC, ECF No. [115] at 19, [133]




                                                      158
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 160 of 169




    at 18; Royal Caribbean, ECF No. [59] at 7; Norwegian, ECF No. [107] at 17.

              13. Extraterritorial Application of United States Law

           As explained in this Order, both the LIBERTAD Act and the CACR apply extraterritorially.

    The LIBERTAD Act’s broad reach “caused an international uproar among United States’ allies due

    to the extraterritorial reach of Title III.” Odebrecht, 876 F. Supp. 2d at 1311–12. The CACR places

    “restrictions on any ‘[p]erson . . .subject to the jurisdiction of the United States,’ . . . which is

    defined by regulation to include U.S. corporations, their domestic and foreign subsidiaries, and

    any foreign company owned or controlled by a U.S. citizen.” Odebrecht, 715 F.3d at 1276 (quoting

    50 U.S.C. § 4305(b)(1) and citing 31 C.F.R. § 515.329). Therefore, Havana Docks is entitled to

    summary judgment on Carnival’s fifth affirmative defense, MSC SA’s and MSC USA’s fifth

    affirmative defense, Royal Caribbean’s ninth affirmative defense, and Norwegian’s third

    affirmative defense. Carnival, ECF No. [160] at 19; MSC, ECF No. [115] at 17, [133] at 16; Royal

    Caribbean, ECF No. [59] at 8; Norwegian, ECF No. [107] at 14.

              14. Election of Remedies under Title III

           Title III’s election of remedies provision states:

           (A) any United States national that brings an action under this section may not bring
           any other civil action or proceeding under the common law, Federal law, or the law
           of any of the several States, the District of Columbia, or any commonwealth,
           territory, or possession of the United States, that seeks monetary or nonmonetary
           compensation by reason of the same subject matter; and

           (B) any person who brings, under the common law or any provision of law other
           than this section, a civil action or proceeding for monetary or nonmonetary
           compensation arising out of a claim for which an action would otherwise be
           cognizable under this section may not bring an action under this section on that
           claim.

    § 6082(f)(1).

           Defendants interpret this provision as prohibiting Havana Docks from bringing separate




                                                    159
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 161 of 169




    actions against each Defendant. Carnival, ECF No. [368] at 30. A plain reading of § 6082 belies

    that assertion. Section (A) of § 6082(f)(1) states that a Title III plaintiff cannot bring another civil

    action “under the common law, Federal law, or the law of any of the several States . . . by reason

    of the same subject matter[.]” § 6082(f)(1)(A). Conversely, subsection (B) of § 6082(f)(1) states

    that if a plaintiff brings a cause of action “under the common law or any provision of law other

    than this section . . . for which an action would otherwise be cognizable under this section,” then

    the plaintiff cannot also maintain a Title III action. In other words, a plaintiff must elect to seek

    relief under Title III or relief under other sources, like the common law, but not both. That is the

    reason why the four actions in this case raise only one count: violation of the LIBERTAD Act.

    Defendants’ interpretation would raise form over substance and be unworkable, forcing Title III

    plaintiffs to sue all persons who may have trafficked in confiscated property in one case, regardless

    of how different the individual facts may be.

            Accordingly, Havana Docks is entitled to summary judgment on Carnival’s seventeenth

    affirmative defense, MSC USA’s sixteenth affirmative defense, MSC SA’s sixteenth affirmative

    defense, Royal Caribbean’s fourteenth affirmative defense, and Norwegian’s fifteenth affirmative

    defense. Carnival, ECF No. [160] at 20–21; MSC, ECF No. [115] at 19, [133] at 18; Royal

    Caribbean, ECF No. [59] at 7; Norwegian, ECF No. [107] at 16.

               15. Failure to Join an Indispensable Party

            Each Defendant raised an affirmative defense contending that Havana Docks’ President,

    Mickael Behn, is an indispensable party to this action. Carnival, ECF No. [160] at 21; MSC, ECF

    No. [115], [133] at 17; Royal Caribbean, ECF No. [59] at 7; Norwegian, ECF No. [107] at 18–19.

    Havana Docks contends that Behn is not an indispensable party because only Havana Docks owns

    a claim for confiscated property. Carnival, ECF No. [336] at 30–31. Defendants do not address




                                                      160
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 162 of 169




    this affirmative defense in their response to Havana Docks’ summary judgment motion, waiving

    the issue. See Transamerica Leasing, Inc. v. Inst. of London Underwriters, 267 F.3d 1303, 1308

    n.1 (11th Cir. 2001). In any event, Behn’s joinder is not necessary to afford the parties’ complete

    relief. See Fed. R. Civ. P. 19(a)(1)(A). Havana Docks has always been the owner of the Certified

    Claim. Carnival, ECF Nos. [337] ¶¶ 40–41, [367] ¶¶ 40–41.

           Therefore, Havana Docks is entitled to summary judgment on Carnival’s twenty-first

    affirmative defense, MSC USA’s and MSC SA’s eleventh affirmative defense, Royal Caribbean’s

    fifteenth affirmative defense, and Norwegian’s twenty-second affirmative defense. Carnival, ECF

    No. [160] at 21; MSC, ECF No. [115] at 18, [133] at 17; Royal Caribbean, ECF No. [59] at 7;

    Norwegian, ECF No. [107] at 18–19.

              16. Purpose of Certified Claim

           Carnival, MSC SA, MSC USA, and Royal Caribbean contend as affirmative defenses that

    a Certified Claim used to obtain reparations from the Cuban Government cannot be used later in a

    civil lawsuit against a third party. This defense amounts to a mere denial of Havana Docks’ claims.

    Therefore, Havana Docks is entitled to summary judgment on Carnival’s twenty-eighth affirmative

    defense, MSC SA’s and MSC USA’s twentieth affirmative defense, and Royal Caribbean’s

    eighteenth affirmative defense. Carnival, ECF No. [160] at 23; MSC, ECF Nos. [115] at 20, [133]

    at 19; Royal Caribbean, ECF No. [59] at 8.

              17. Statute of Limitations or Repose

           Title III of the LIBERTAD Act states that “[a]n action under section 6082 of this title may

    not be brought more than 2 years after the trafficking giving rise to the action has ceased to occur.”

    22 U.S.C. § 6084. Carnival argues in its Individual Motion For Summary Judgment that § 6084 is

    a statute of repose, not a statute of limitations, barring a claim for pre-2004 conduct—i.e., those




                                                     161
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 163 of 169




    involving Airtours and Costa. See Carnival, ECF No. [324] at 14–18. Carnival further contends

    that the continuing violation doctrine does not apply to statutes of repose. Id. at 17–18.

            Havana Docks responds that under the plain language § 6084, Defendants’ trafficking did

    not “cease to occur” until May or June of 2019. Carnival, ECF No. [333] at 17–18; MSC, ECF No.

    [225] at 17–18; Royal Caribbean, ECF No. [142] at 21; Norwegian, ECF No. [229] at 19.

    Alternatively, Havana Docks argues that § 6084 is a statute of limitations subject to equitable

    tolling. Carnival, ECF No. [378] at 9–14.45

            MSC raises a different statute of limitations argument, which targets only the Cuba-to-

    Cuba cruises. MSC, ECF No. [256] at 11–12. MSC contends that it stopped homeporting in Havana

    in March 2019, but Havana Docks did not advance a Cuba-to-Cuba trafficking theory until June

    2021 at the earliest, when it sought discovery regarding Cuba-to-Cuba cruises. Id. MSC also

    contends that an amendment to include Cuba-to-Cuba cruises would not relate back to the filing

    of the original complaint. Id. at 12 n.6.

            Royal Caribbean has withdrawn its statute of limitations defense. Royal Caribbean, ECF

    No. [173] at 7.46 Therefore, Havana Docks is entitled to summary judgment on Royal Caribbean’s

    twenty-third affirmative defense. Similarly, Norwegian did not respond to Havana Docks’ statute

    of limitations arguments. See Norwegian, ECF No. [281]. Therefore, Havana Docks is entitled to

    summary judgment on Norwegian’s twentieth affirmative defense.


    45
      Havana Docks also argues that Carnival waived the statute of repose defense when it stated, in a motion
    to dismiss, that Havana Docks has a “cause of action against anyone who used the port between 1996 and
    2004.” Carnival, ECF No. [378] at 8; see id., ECF No. [17] at 22 n.3. The Court disagrees. Carnival was
    merely expressing its position that Havana Docks has no cause of action after the Concession expired. The
    statement was not an express waiver of a statute of repose defense.
    46
      Royal Caribbean has also withdrawn its ninth affirmative defense (foreign government conduct) and
    twelfth affirmative defense (improper venue), Royal Caribbean, ECF No. [173] at 7. Therefore, summary
    judgment is entered against Royal Caribbean on those defenses.



                                                      162
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 164 of 169




            Concerning Carnival, as already noted, Carnival’s alleged trafficking through Airtours and

    Costa is an academic question. Carnival is liable under the LIBERTAD Act for using the Terminal

    from 2016 to 2019, regardless of Airtours’ and Costa’s use of the Terminal before those dates.

    Consequently, the Court need not address the statute of limitations/repose issue relative to

    Carnival, and summary judgment on that defense is denied as moot.47

            As to MSC, as the Court already explained, Havana Docks’ Second Amended Complaint,

    which was filed in September 2020, encompasses Cuba-to-Cuba cruises. See MSC, ECF No. [104].

    Claims regarding Cuba-to-Cuba cruises were therefore filed within the two-year statute of

    limitation period. Havana Docks is entitled to summary judgment on MSC USA’s and MSC SA’s

    third affirmative defense. MSC, ECF Nos. [115] at 16, [133] at 15.48

               18. Eighth Amendment

            Carnival, Royal Caribbean, and Norwegian raise the Eighth Amendment of the U.S.

    Constitution as an affirmative defense. Carnival, ECF No. [160] at 20 (Def. No. 12); Royal

    Caribbean, ECF No. [59] at 8 (Def. No. 20); Norwegian, ECF No. [107] at 16 (Def. No. 10).

    Havana Docks argues that the Eighth Amendment’s Excessive Fines Clause does not apply to



    47
       Nor does not Court have to address Carnival’s twenty-second affirmative defense that the trading or
    holding of publicly traded securities is not actionable under the LIBERTAD Act. Carnival, ECF No. [160]
    at 22.
    48
       Havana Docks also moved for summary judgment regarding MSC SA’s twenty-third affirmative defense
    (licensing), twenty-fourth affirmative defense (waiver), and twenty-fifth affirmative defense (equitable
    estoppel), and twenty-sixth affirmative defense (laches). MSC, ECF No. [225] at 9–21. In a footnote, and
    only relative to Cuba-to-Cuba cruises, MSC states that the defenses apply because Havana Docks “never
    notified MSC Cruises S.A. or objected to its use of the Terminal for four years.” MSC, ECF No. [256] at
    12. However, “[w]hen a federal statute enumerates defenses to liability, without specifying that other
    unenumerated defenses are available, the enumerated statutory defenses are generally deemed to be the
    exclusive defenses available under the statute.” United States v. Barlow, 576 F. Supp. 2d 1375, 1381 (S.D.
    Fla. 2008). The LIBERTAD Act already provides for a limitations period, and Havana Docks’ claims were
    brought within that period. Moreover, as the Court has already explained, licensure is not an absolute
    defense in this case. Havana Docks is thus entitled to summary judgment on MSC SA’s twenty-third
    through twenty-sixth affirmative defense. MSC, ECF No. [133] at 19–20.


                                                      163
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 165 of 169




    awards of money damages in a civil action. Carnival, ECF No. [333] at 18; Royal Caribbean, ECF

    No. [142] at 20–21; Norwegian, ECF No. [229] at 18–19. Carnival, Royal Caribbean, and

    Norwegian disagree, positing that the LIBERTAD Act allows for an excessive civil penalty to

    further the Government’s goal of punishing and deterring trafficking in confiscated property.

    Carnival, ECF No. [373] at 23–24; Royal Caribbean, ECF No. [173] at 17–18; Norwegian, ECF

    No. [281] at 19–20.

           Defendants also argue that disproportionate damages violate the Fifth Amendment’s Due

    Process Clause. Carnival, ECF No. [330] at 30–31. Defendants raise the disproportionate damages

    issue within their due process affirmative defenses. Carnival, ECF No. [160] at 20 (eleventh

    affirmative defense); MSC, ECF Nos. [115] at 16 (MSC USA’s fourth affirmative defense), [133]

    at 15 (MSC SA’s fourth affirmative defense); Royal Caribbean, ECF No. [59] at 6 (Royal

    Caribbean’s fifth affirmative defense); Norwegian, ECF No. [107] at 15 (Def. No. 9).

           Under the Eighth Amendment, “[e]xcessive bail shall not be required, nor excessive fines

    imposed, nor cruel and unusual punishments inflicted.” U.S. Const., amdt. 8. The Excessive Fines

    Clause “does not constrain an award of money damages in a civil suit when the government neither

    has prosecuted the action nor has any right to receive a share of the damages awarded.” Exxon

    Shipping Co. v. Baker, 554 U.S. 471, 505 n.18 (2008); see Yates v. Pinellas Hematology &

    Oncology, P.A., 21 F.4th 1288, 1308 (11th Cir. 2021) (explaining that “the Excessive Fines Clause

    applies only to payments imposed by the United States (or the States) and payable to it (or them)”).

    Here, the U.S. Government has not prosecuted this action nor has the right to receive a share of

    the damages.

           In addition, the Court also already determined that whether a statutory penalty is excessive

    may not be determined until there is a damages award. See Havana Docks Corp. v. MSC Cruises




                                                    164
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 166 of 169




    SA Co., 484 F. Supp. 3d 1177, 1203 (S.D. Fla. 2020). Although Havana Docks seeks damages in

    excess of the Certified Claim total of $9,179,700.88 (plus interest), the LIBERTAD Act states that

    the certified amount is the presumed measure of damages unless the fair market value of the

    property is shown, by clear and convincing evidence, to be the most appropriate measure of

    damages. See § 6082. A jury may determine that Havana Docks is entitled to no more than the

    FCSC certified amount of $9,179,700.88, plus six percent annual interest from the date of the loss.

    See Carnival, ECF No. [149-1] at 4. As such, Defendants’ disproportionate-award argument would

    likely be moot.

            For these reasons, Havana Docks is entitled to summary judgment on Carnival’s eleventh

    and twelfth affirmative defense, Royal Caribbean’s fifth and twentieth affirmative defense,

    Norwegian’s ninth and tenth affirmative defense, and MSC’s fourth affirmative defense. Carnival,

    ECF No. [160] at 20; Royal Caribbean, ECF No. [59] at 8; Norwegian, ECF No. [107] at 15–16;

    MSC, ECF Nos. [115] at 16, [133] at 15.

                19. Non-U.S. Sailings

           Under its twenty-ninth affirmative defense, Carnival argues that cruises from Airtours and

    Costa were legal under foreign law. Carnival, ECF No. [373] at 24–26. Explained previously,

    whether Carnival trafficked through Airtours and Costa is irrelevant to determine whether Carnival

    is liable for trafficking through its direct use of the Terminal. Therefore, summary judgment on

    Carnival’s twenty-ninth affirmative defense is denied as moot.

    VI.    CONCLUSION

           As set forth above, it is ORDERED AND ADJUDGED as follows:

           1.       Defendants’ Omnibus Motion for Summary Judgment, Havana Docks Corp. v.

    Carnival Corporation, No. 19-cv-21724, ECF No. [330]; Havana Docks Corp. v. MSC Cruises,




                                                   165
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 167 of 169




    SA, et al., No. 19-cv-23588, ECF No. [216]; Havana Docks Corp. v. Royal Caribbean Cruises

    Ltd., No. 19-cv-23590, ECF No. [137]; Havana Docks Corp. v Norwegian Cruise Line Holdings,

    Ltd., No. 19-cv-23591, ECF No. [227], is DENIED.

           2.     Plaintiff Havana Docks Corporation’s Omnibus Motion for Partial Summary

    Judgment, Havana Docks Corp. v. Carnival Corporation, No. 19-cv-21724, ECF No. [336];

    Havana Docks Corp. v. MSC Cruises, SA, et al., No. 19-cv-23588, ECF No. [222]; Havana Docks

    Corp. v. Royal Caribbean Cruises Ltd., No. 19-cv-23590, ECF No. [143]; Havana Docks Corp. v

    Norwegian Cruise Line Holdings, Ltd., No. 19-cv-23591, ECF No. [232], is GRANTED.

           3.     Carnival Corporation’s Individual Motion for Summary Judgment, Havana Docks

    Corp. v. Carnival Corporation, No. 19-cv-21724, ECF No. [324], is DENIED.

           4.     Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

    against Carnival Corporation, Havana Docks Corp. v. Carnival Corporation, No. 19-cv-21724,

    ECF No. [333], is GRANTED IN PART AND DENIED IN PART. The motion is denied as moot

    as to Carnival’s third affirmative defense (statute of limitations or repose) and twenty-ninth

    affirmative defense (Non-U.S. Sailings). The motion is otherwise granted.

           5.     MSC Cruises’ Individual Motion for Summary Judgment, Havana Docks Corp. v.

    MSC Cruises, SA, et al., No. 19-cv-23588, ECF No. [209], is GRANTED IN PART AND

    DENIED IN PART. The motion is granted as to MSC Co., but denied in all other respects.

           6.     Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

    against MSC Cruises, SA & MSC Cruise (USA). Inc., Havana Docks Corp. v. MSC Cruises, SA,

    et al., No. 19-cv-23588, ECF No. [225], is GRANTED.

           7.     Defendant’s [Royal Caribbean Cruises, Ltd.] Individual Motion for Summary

    Judgment, Havana Docks Corp. v. Royal Caribbean Cruises Ltd., No. 19-cv-23590, ECF No.




                                                  166
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 168 of 169




    [132], is DENIED.

           8.      Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

    Against Royal Caribbean Cruises, Ltd., Havana Docks Corp. v. Royal Caribbean Cruises Ltd., No.

    19-cv-23590, ECF No. [142], is GRANTED.

           9.      Plaintiff Havana Docks Corporation’s Individual Motion for Summary Judgment

    against Defendant Norwegian Cruise Line, Ltd., Havana Docks Corp. v Norwegian Cruise Line

    Holdings, Ltd., No. 19-cv-23591, ECF No. [229], is GRANTED.

           10.     Norwegian’s Individual Motion for Summary Judgment, Havana Docks Corp. v

    Norwegian Cruise Line Holdings, Ltd., No. 19-cv-23591, ECF No. [230], is DENIED.

           11.     Havana Docks’ Motion to Exclude the Expert Opinions of Julian Ackert and Pablo

    Spiller. Havana Docks Corp. v. Carnival Corporation, No. 19-cv-21724, ECF No. [328]; Havana

    Docks Corp. v. MSC Cruises, SA, et al., No. 19-cv-23588, ECF No. [214]; Havana Docks Corp.

    v. Royal Caribbean Cruises Ltd., No. 19-cv-23590, ECF No. [138]; Havana Docks Corp. v.

    Norwegian Cruise Line Holdings, Ltd., No. 19-cv-23591, ECF No. [226], is DENIED as to Julian

    Ackert. Magistrate Judge Chris M. McAliley’s Report and Recommendation, Havana Docks Corp.

    v. Carnival Corporation, No. 19-cv-21724, ECF No. [425], is ADOPTED. Accepting each of

    Julian Ackert’s opinions, the Court determines that they do not create a genuine issue of material

    fact as to Plaintiff’s statutory standing. As such, the Court need not consider Havana Docks’ partial

    Objections. Havana Docks Corp. v. Carnival Corporation, No. 19-cv-21724, ECF No. [430].

           12.     Consistent with this Court’s Order, the trials scheduled in each case shall proceed

    solely on the issue of Havana Docks’ damages.




                                                    167
Case 1:19-cv-23591-BB Document 367 Entered on FLSD Docket 03/21/2022 Page 169 of 169




           DONE AND ORDERED in Chambers at Miami, Florida on March 21, 2022.




                                                 ____________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

    Copies to:

    Counsel of Record




                                           168
